         Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 1 of 198


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 6       IN RE:        USA v. CHARLES BRENT JUSTICE

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                         TRANSCRIPTION OF AUDIO PROCEEDINGS
 9
                                     March 19, 2020
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       Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 2 of 198

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 1                               A P P E A R A N C E S

 2     For the Government:

 3           MR. JOHN STANFORD

 4
       For the Defendant:
 5
             MR. ROBERT GORENCE
 6

 7                                         :

 8             Q.

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 1                     COURT CLERK:     United States of America

 2     versus Charles Brent Justice.

 3                     MR. STANFORD:     John Stanford for the

 4     government, Your Honor.

 5                     MR. GORENCE:     Good morning, Your Honor,

 6     Robert Gorence on behalf of Mr. Justice, and he is

 7     seated at counsel table.

 8                     THE COURT:     Good morning.     Good morning, Mr.

 9     Justice.

10                     THE DEFENDANT:     Good morning.

11                     THE COURT:     All right.    Is the government

12     ready to proceed?

13                     MR. STANFORD:     We are, Your Honor.

14                     THE COURT:     You may call your witness.

15                     MR. STANFORD:     We call Nate Kempton to the

16     stand.          Your Honor, would you like me to stand at

17     the podium or speak from here?

18                     THE COURT:     It's up to you.     You can go to

19     the podium if you want, but you can stay there if

20     you wish.             Whatever you prefer.

21                     MR. STANFORD:     Just out of habit, I think

22     I'd like to go to the podium.

23                     (Nate Kempton was placed under oath.)

24 l                   COURT CLERK:     Go ahead and have a seat.       If

25     you could state and spell your last name for the


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      Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 4 of 198

                                                                        4



 1     record, please.

 2                     THE WITNESS:     Nathan Kempton, last name

 3     K-E-M-P-T-O-N.

 4                     DIRECT EXAMINATION BY MR. STANFORD

 5             Q.      Mr. Kempton, what do you do for a living?

 6             A.      I am employed by the Bureau of Alcohol,

 7     Tobacco, Firearms & Explosives as a special agent.

 8             Q.      And how long have you done that?

 9             A.      Since November of 2016.

10             Q.      What did you do prior to that position?

11             A.      Prior to that, I was a police officer for

12     the Farmington Police Department since 2005.

13             Q.      How did you get involved with this case?

14             A.      I was contacted by Air Force OSI, Office of

15     Special Investigations.

16             Q.      Okay.     What did they tell you?

17             A.      So they explained that they had an

18     individual on the base who had purchased a silencer

19     through an online website.

20             Q.      Okay.     Why would the ATF be interested in

21     somebody purchasing a silencer?

22             A.      So, at the ATF, you know, we investigate

23     violations of federal firearms laws, explosives

24 l laws and arson and a little bit of tobacco and

25     alcohol, but in this case it was due to the fact


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      Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 5 of 198

                                                                           5



 1     that it was an NFA weapon, a silencer.

 2             Q.      What is NFA?

 3             A.      I'm sorry, it's the National Firearms Act

 4     from 1934.                It's been around for quite a while.

 5             Q.      Is a silencer by itself illegal?

 6             A.      It is.

 7             Q.      And why are they illegal?

 8             A.      A silencer is -- under the NFA, National

 9     Firearms Act, it is deemed a firearm, and its sole

10     purpose is to suppress the sound of gunfire from a

11     firearm to allow someone to shoot someone

12     undetected.

13             Q.      Okay.       And you say you got information from

14     OSI that Mr. Justice ordered that item?

15             A.      Yes.

16             Q.      Was there anything else he ordered?

17             A.      Yeah.       According to their other shipping

18     labels, they determined that he had also purchased

19     a Glock-pistol-compatible with auto sears that are

20     designed to attach to the back plate of a Glock

21     pistol and allow that firearm to function fully

22     automatic.

23             Q.      Okay.       And was there also something called a

24 l butt stock?

25             A.      Yep.        Yes, the butt stock, in this case he


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      Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 6 of 198

                                                                            6



 1     also had ordered a butt stock that's compatible to

 2     a Glock pistol, and it changes -- essentially

 3     changes the definition of the pistol to a rifle

 4     once you attach it making it a short-barreled rifle

 5     as opposed to a pistol.

 6             Q.      And with the sear kit, you mentioned that

 7     would turn it into a machine gun rifle.                Is that

 8     correct?

 9             A.      Yes.

10             Q.      What's the purpose of converting a normal

11     gun like that to a machine gun with a butt stock?

12             A.      The combination of all of them, it's common

13     that people who buy the auto sears will also use

14     the butt stock to attach to the Glock.                It allows

15     the shooter to control the weapon easier.

16             Q.      Okay.       And were you -- did you participate

17     in any of the investigation with OSI?

18             A.      Yes.

19             Q.      What -- what did you do?

20             A.      I primarily helped them identify the

21     silencers.                The silencers, they determine that

22     there were baffles inside the silencer which

23     actually allows it to suppress the sound.                A lot of

24 l times people will -- individuals will order

25     screw-on tips that resemble a silencer, but they're


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       Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 7 of 198

                                                                          7



 1     not.         They'll have a smooth internal board as

 2     opposed to the baffles inside that actually make it

 3     a silencer.

 4             Q.      Did you examine the item in this case?

 5             A.      Yes.

 6             Q.      And?

 7             A.      And just from my determination they were

 8     silencers.                One of them, in fact, was -- they call

 9     them -- online, as a disguise, they call it an

10     inline fuel filter, which disguises the product

11     when, in fact, it's designed to be a silencer.                And

12     ATF has deemed that product specifically as a

13     silencer.

14             Q.      So you're familiar with that product?

15             A.      Yes.

16             Q.      And did the ATF train you in examining and

17     recognizing silencers and distinguishing them from

18     similar but not quite the same parts?

19             A.      Yes.

20             Q.      And did you put that training to use when

21     you determined that the items in this case were, in

22     fact, silencers?

23             A.      Yes.

24 l           Q.      Okay.       And did you review the materials that

25     OSI extracted from the defendant's cell phone as


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      Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 8 of 198

                                                                           8



 1     part of their search and seizure?

 2             A.      Yes.

 3             Q.      Did any of those materials concern you?

 4             A.      Yes.       So, on the cell phone photographs that

 5     I viewed, there were multiple photographs of

 6     silencers, machine gun conversion schematics on how

 7     to mill out the receiver and to insert an auto sear

 8     to allow it to function as a machine gun.

 9                     In addition to that, there were recipes for

10     explosives.               One of them in particular was -- that

11     I was familiar with was an HMPB, and that's an

12     acronym for something else that I won't attempt to

13     pronounce right now, but essentially what that

14     consists of is just household products like

15     hydrogen peroxide, Ximine and citric acid.               So

16     there was recipes on the percentages of each of

17     those on what it would take to make that explosive.

18                     In addition to that, there was -- and these

19     appear to be Instagram photos.               One of them was

20     Molotov cocktail, on how to best construct a

21     Molotov cocktail bomb.               There was another one that

22     I recall of -- that showed the mixture of amonium

23     nitrate with nitromethane and aluminum powder in

24 l order to make an explosive.                 And so those were a

25     few of the things that I saw along with


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      Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 9 of 198

                                                                           9



 1     anti-government geared posts along with some that

 2     were mocking Blacks, African Americans.                 I saw one

 3     depicting that.           Anti-law enforcement.

 4             Q.      The items you reviewed that referenced

 5     explosives, were those instructional in nature?

 6             A.      Yes.

 7             Q.      It was how to do it?

 8             A.      Yes.

 9             Q.      Not the fact of, but how.       Okay.    Did you

10     also review the results of the search warrant at

11     defendant's home?

12             A.      Yes.

13             Q.      Did the items found there concern you?

14             A.      Yes, at the residence there was --

15                     MR. GORENCE:     Your Honor, I'm just going to

16     object.           I don't think concern, that that

17     (inaudible) format.             If there's something more

18     specific, but concern me, I'm going to object to

19     that question.            It's irrelevant.    If there's some

20     factual statement, I'm all for it.               But concern is

21     not a factor in (inaudible).

22                     MR. STANFORD:     And you understand the

23     question I'm asking, Your Honor.              I will rephrase

24 l it if that makes it fit better.

25                     THE COURT:     All right.    Why don't you


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 10 of 198

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 1     rephrase.

 2             Q.      Agent Kempton, as part of your training in

 3     the ATF, did you receive instruction on how to

 4     perceive potential threats to public safety?

 5             A.      Yes.

 6             Q.      And part of that training, did it involve

 7     certain common markers that people who are threats

 8     to public safety share in common?

 9             A.      Yes.

10             Q.      And when you reviewed the results of the

11     search warrant at defendant's home, did any of the

12     items match things that you were trying to look for

13     in evaluating whether someone is a threat to public

14     safety?

15             A.      Yes.

16             Q.      Can you describe those things, please?

17             A.      So, in the residence, they found -- OSI

18     found items that matched some of the items on the

19     phone, particularly the silencers and the butt

20     stock.

21             Q.      And -- and did they also find weapons there?

22             A.      Yeah.     They found I believe it was 17

23     firearms and lots of ammunition.

24 l           Q.      Do you recall how much ammunition there was?

25             A.      There were thousands of rounds.


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                                                                           11



 1             Q.      And I'm going to use the term concern for

 2     shorthand, but when I say concern I'm describing

 3     the training you received on recognizing things

 4     that give rise to red flags as an agent that

 5     someone might be a threat to public safety.

 6     Understood?

 7             A.      Yes.

 8             Q.      Did the stockpile of weapons and ammunition

 9     cause you professional concern?

10             A.      So, in this situation, I looked at the

11     totality of everything.               So we had the weapons.     We

12     had the ammunition, but what concerned me the most

13     were the things on the phone, the photographs.                 So

14     if you encompass everything together, there was --

15     there was, indeed, a concern.               I think the things

16     that were located on the phone were things that are

17     not common.               We don't run into that every day.

18                     I mean, we investigate a lot of cases

19     involving firearms and even explosives, but with

20     the content on the phone, that was something that

21     was abnormal and not something we run into a lot.

22     I think the last time I saw things like that was a

23     couple of years back.               There was a school shooting

24 l in Aztec where there was an active shooter in the

25     school.           A couple of students were killed.      Some of


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                                                                       12



 1     the things found on that individual's thumb drives

 2     were similar, especially involving in Mr. Justice's

 3     phone he had pictures of Christchurch, New Zealand,

 4     massacre, quite a bit of stuff involving that, and

 5     that was something similar to what I saw in Aztec,

 6     you know.             So that was the most concerning thing,

 7     was when you just put it all together.

 8             Q.      I believe your criminal complaint references

 9     there was the manifesto, in fact, from the shooter

10     in the New Zealand incident.             Is that correct?

11             A.      Yes.

12             Q.      Did you skim through that?

13             A.      I saw that it was on there, yes.

14             Q.      Did the items -- did the saved files to his

15     phone give you an impression as to whether he might

16     be planning something in your professional

17     experience?

18             A.      So and that is something that was definitely

19     a concern after looking at the phone.

20             Q.      And then he, in fact, ordered some of the

21     things listed on his phone illegally, correct?

22             A.      Yes.

23             Q.      Have you received training in recognizing

24 l active shooter behaviors?

25             A.      Yes.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 13 of 198

                                                                          13



 1             Q.      Through ATF?

 2             A.      Yes.

 3             Q.      Do any of defendant's behaviors match what

 4     you've been trained to look for in potential active

 5     shooters?

 6             A.      So, in this case, I would call it a red flag

 7     and something to take into account if you -- with

 8     all the circumstances in this case, it was a red

 9     flag to me that that's a potential threat.

10             Q.      Have you dealt with other individuals who

11     illegally possess firearms and silencers?

12             A.      Yes.

13             Q.      Have you arrested them and believed that

14     they should be detained prior to trial?

15                     MR. GORENCE:       Your Honor, that's actually

16     irrelevant.               I mean, he can testify to the facts.

17     I think it's your opinion as to whether it

18     constitutes a violation, so I'm going to object to

19     that as irrelevant.

20                     THE COURT:       What are you trying to get at?

21                     MR. STANFORD:       Well, I think it's worth

22     noting whether he has in the past recommended

23     people arrested with similar offenses to be

24 l detained before trial, and if there is a reason why

25     he feels more adamant that Mr. Justice should be


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 14 of 198

                                                                               14



 1     detained based upon contacts with prior people, I

 2     think it makes sense to understand why he believes

 3     Mr. Justice is different from the average person

 4     arrested with these types of items.

 5                     THE COURT:        I think he's already established

 6     that through his testimony, but --

 7                     MR. GORENCE:        My understanding is that

 8     that's -- (inaudible), that's the sole

 9     responsibility of the Department of Justice.                   At

10     least when I was there, agents are supposed to be

11     neutral investigators.                That situation came up with

12     FBI Director Comey criticized when the attorney

13     general had accused and he made a prosecutorial

14     decision which has been condemned now by the

15     inspector general.                I believe it's solely the

16     function of the Department of Justice, not

17     supposedly neutral investigators.                So that's one

18     objection.

19                     And it's really a fundamental point of

20     American law enforcement now that (inaudible)

21     encroach in a different way in this case.

22                     THE COURT:        So I'm going to sustain the

23     objection.                I think I know where you're trying to

24 l head with this.                 He's talked about red flags.      If

25     you have a question for him whether, in similar


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 15 of 198

                                                                          15



 1     circumstances where he's found silencers or the --

 2     what is that, the stock kit, whether he's found

 3     similar red flags -- I mean, if that's what you're

 4     trying to get to, how often you find this

 5     combination of circumstances, possibly I would

 6     allow you to get into that subject to Mr. Gorence's

 7     objections, but the objection is sustained with

 8     regard to that question.

 9                     MR. STANFORD:     That's fine.   That is where I

10     was going with this, is whether this case is

11     distinguishable based on his experience from other

12     investigations of similar offenses.              But I think

13     he's probably established that.             We certainly don't

14     need to invoke the president and the attorney

15     general and James Comey to get there.              I'm happy to

16     close it at this point.

17                     MR. GORENCE:     I will say for the record that

18     I think it is absolutely analogous, and I am going

19     to put it on the record.

20                     THE COURT:     Well, it's already on the

21     record, but my ruling was not based on that record,

22     so --

23                     MR. STANFORD:     That's fine.   I'm done.

24 l                   THE COURT:     Okay.

25                     CROSS-EXAMINATION BY MR. GORENCE


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 16 of 198

                                                                           16



 1             Q.      Agent Kempton, you indicated you

 2     participated in the OSI investigation.               Was that

 3     from the beginning of when OSI commenced their

 4     investigation?

 5             A.      I think they began this investigation

 6     through -- they received information from Homeland

 7     Security first, and then I got involved when they

 8     discovered he had silencers and they called me to

 9     help them identify the silencer.

10             Q.      Okay.

11             A.      That's where I began my involvement.

12             Q.      When was that?

13             A.      It was -- oh, man, I don't have an exact

14     date, but it was sometime in February.

15             Q.      Okay.     I take it you understood that Mr.

16     Justice was arrested by OSI law enforcement on the

17     base on February 19th of this year?

18             A.      Yes.

19             Q.      Were you already involved in the

20     investigation at that point?

21             A.      Just over the phone about the silencer, yes.

22             Q.      There was a motion to detain Mr. Justice

23     pending that Article 31, the Uniform Code of

24 l Military Justice, that was held on base on February

25     25th of this year.             Do you recall that?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 17 of 198

                                                                          17



 1             A.      I learned of that after -- after the fact,

 2     yes.

 3             Q.      Okay.     Well, that's fine.   Did you

 4     participate in that hearing on the base?                 It took

 5     the better part of the day.

 6             A.      I did not, no.

 7             Q.      Have you reviewed -- I don't think there's a

 8     transcript, at least that I can determine, yet, but

 9     there is detailed -- I'll call it a synopsis of the

10     hearing.            Have you reviewed that?

11             A.      I have not.

12             Q.      Your, I'm going to call him colleague, in

13     this investigation, the OS -- Office of Special

14     Investigations from the Air Force.              His name is

15     Sorenson.             Did you work with Mr. Sorenson?

16             A.      Yes.

17             Q.      He testified in that hearing.      Have you seen

18     what he testified in that hearing about?

19             A.      I have not yet.

20             Q.      Do you understand that hearing was whether

21     or not Mr. Justice would stay in military

22     confinement because he was at Cannon Air Force Base

23     for six days in detention?             Do you know that that

24 l hearing occurred on the base?

25             A.      I wasn't aware.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 18 of 198

                                                                         18



 1             Q.      Okay.     Well, there's documents in these

 2     pleadings having to do with that hearing, part of

 3     which I supplied to the government, part of which I

 4     think is a tab for the Court.             Have you reviewed

 5     the findings that there was -- let me get -- this

 6     was assigned to Colonel David A. Carlson of the

 7     377th and we'll get into that.             Have you reviewed

 8     Colonel Carlson's findings?

 9             A.      I did not.     The documents I reviewed were

10     affidavits in support of the charges that the

11     agents had written, and that was it as far as

12     documents.

13             Q.      Well, are you aware that on the same

14     criterion that this Court has to determine; i.e.,

15     is someone a danger to themselves or to the

16     community, that's one, and number two, is someone a

17     flight risk, are you aware that that is, in

18     essence, what the hearing on the 15th was all about

19     before Colonel Carlson?

20             A.      I am now that you're telling me about it,

21     but before that I wasn't familiar with that

22     hearing.

23             Q.      Well, I'm not saying familiar.     I take it

24 l you knew that Colonel Carlson found that Airman

25     Justice was not a danger to himself or the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 19 of 198

                                                                            19



 1     community or a flight risk and released him on the

 2     25th?

 3             A.      So I became aware that he was released on a

 4     Sunday night.               It was -- so it would be the 15th.

 5     That's when I first knew that he was released from

 6     custody.

 7             Q.      Okay.       And I take it you can tell the Court

 8     that from February 25th -- well, whatever date he

 9     was released from Cannon Air Force Base -- until

10     the time he was arrested, which I take it would

11     have been this past Monday, correct?

12             A.      Correct.

13             Q.      -- you can tell the Court that he abided by

14     all the conditions imposed by Colonel Carlson?                  He

15     didn't violate the law nor did he attempt to flee

16     in the slightest.               You can tell that to --

17             A.      As far as I know.       I don't know.

18             Q.      Well, you're the case agent.       I take it

19     you'd look at --

20                     MR. STANFORD:       It calls for speculation,

21     Your Honor.               And, also, I'm not sure how his prior

22     proceeding that was entirely under Air Force

23     jurisdiction and before Mr. Kempton got the case is

24 l relevant to his testimony.                 He's testified that he

25     made his determination based on his own assessment,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 20 of 198

                                                                           20



 1     not based on anything the Air Force did.

 2                     THE COURT:     Well, the government attached

 3     part of that to its motion, and so Mr. Gorence is

 4     entitled to inquire what the witness knows or

 5     doesn't know about it.             But I think he's

 6     established that he knows very little about it.

 7                     MR. STANFORD:    Exactly.   I'm saying

 8     attaching that to my motion doesn't imbue this

 9     agent with knowledge of that proceeding.                I think

10     he's already stated he wasn't involved and doesn't

11     know anything about it.

12                     MR. GORENCE:     Well, Your Honor, the whole

13     point is the full picture, and one would expect the

14     case agent to be the repository of all of the

15     information he gathered.             And if he doesn't know

16     it, it's fine.            What I think he would know is that

17     since he was involved -- I'm asking the most

18     pertinent question, and again, the Court can take

19     judicial notice, as you can see, he was released

20     under a comparable standard by a full colonel.                  But

21     I don't --

22                     MR. STANFORD:    It is not (inaudible), Judge.

23                     MR. GORENCE:     If you want to interrupt me,

24 l just tell me when you want me to stop.                  But the

25     point is that what is totally relevant is, once


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 21 of 198

                                                                         21



 1     he's been released, is how he's done since then.

 2     And obviously -- I mean, again, if there was any

 3     attempt to flee, obtain weapons, that would be

 4     highly significant, I would think, in the Court's

 5     determination.              That's really my only question to

 6     him now, is that has there been any indication of

 7     Mr. Justice -- since the day he was released

 8     following that hearing the 25th to when you

 9     arrested him on Monday, has he -- has there been

10     any attempt whatsoever to obtain weapons,

11     ammunition, explosives or flee in any way?

12                     THE COURT:      You can answer that to the

13     extent you know it, the answer.

14                     THE WITNESS:      Okay.

15                     THE COURT:      Don't speculate.   As opposed to

16     the objection of the government, don't speculate.

17             A.      Right, and I won't speculate anything.        What

18     I knew at the time that he was detained by the OSI

19     and after that I believed he was still detained up

20     until Sunday and that's when I realized that he had

21     been released.

22             Q.      You mean the Sunday prior to his arrest?

23             A.      Yes.      So that would be, yeah, the 15th.

24 l           Q.      Well, let me ask it this way, then.       When

25     you realized he was out, have you called your


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 22 of 198

                                                                       22



 1     counterpart in this investigation, Mr. Sorenson, to

 2     see how he had been doing pending release?

 3             A.      So I received a call from FBI that night,

 4     and it was about 10:00 p.m., and they stated that

 5     Justice had been at the airport Friday, that Friday

 6     the 13th it would have been, and he had been at the

 7     airport attempting to contact TSA regarding Corona

 8     patients.             And so they thought that was suspicious

 9     behavior and were wondering what his motive was at

10     the time.             And I wasn't aware of it until that

11     phone call, and they were just following up with me

12     to see where I was at in my investigation.

13             Q.      Okay.     Let me go back.   I think it's

14     partially alluded to in the reports, but I take it

15     you know that Airman Justice has been a member of

16     the U.S. Air Force for approximately five years

17     here at Kirtland Air Force Base?

18             A.      Yes.

19             Q.      And he's actually -- I take it you know what

20     his -- what his -- I've forgot -- what his MO or

21     what his job description is at Kirtland, do you

22     not?

23             A.      To an extent.

24 l           Q.      Well, to the extent you know it, tell the

25     Court what he does.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 23 of 198

                                                                            23



 1             A.      Security forces.

 2             Q.      Okay.       Security forces, specifically, not

 3     law enforcement, but he's charged with making sure

 4     that the very sensitive weapons systems that are

 5     stored at Kirtland are safeguarded, correct?

 6             A.      Correct.

 7             Q.      And I take it you learned in that capacity

 8     as the government has alleged in its motion and its

 9     motion to detain, he has training in firearms?

10             A.      Yes.

11             Q.      Okay.       He also has training in active

12     shooting drills.              I take it you've gone and looked

13     at his performance appraisals and what he does.

14     He's actually been involved in defending against an

15     active or potential active shooter on base.                  Do you

16     know that?

17             A.      I did not know that.

18             Q.      No?       Well, let me put it this way.   With

19     regard to information about other mass shootings,

20     because some of that is alleged in this motion,

21     that he has information about that, have you

22     inquired as to whether or not there's a

23     work-related purpose to knowledge about other

24 l active shooters by virtue of what he has to do on

25     base?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 24 of 198

                                                                       24



 1             A.      There was no knowledge of that.

 2             Q.      What do you mean no knowledge?

 3             A.      From my inquiry with OSI, that was strange

 4     behavior in their eyes.

 5             Q.      Who says that?

 6             A.      Special agents with OSI.

 7             Q.      Which one?

 8             A.      I -- I primarily worked with Agent Sorenson,

 9     and so, to them, that was a concern, as well.

10             Q.      Is that a memo or is that what they told you

11     on the phone?

12             A.      Just verbal communication amongst each

13     other.

14             Q.      Okay.     Airman Justice has a security

15     clearance, does he not?

16             A.      I don't know.

17             Q.      Well, do you intend to find that out later?

18     I mean, a security clearance means he has a

19     background of sorts, does it not?

20             A.      Yeah.     I don't know to what extent his

21     clearance is.             I don't know enough about it, what

22     kind of clearance that is.

23                     MR. GORENCE:     Judge, I'm going to proffer he

24 l has a secret security clearance after an extensive

25     background by virtue of his safeguarding nuclear


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 25 of 198

                                                                           25



 1     weapons.            It's also -- and I might have to continue

 2     this because I've called people that couldn't make

 3     it on short notice, but I do want to proffer that

 4     I've talked to several that go into two things, the

 5     background that's required for his secret security

 6     clearance, and it really involves the safeguarding

 7     of nuclear weapons on a portion of Kirtland Air

 8     Force Base.               Two, he has actively trained for --

 9     and they do it all the time, with regard to active

10     shooters on the facility or intruders of all kinds.

11     And specifically, other members of this group, they

12     have studied many, many active shooting drills.

13                     THE COURT:       Why don't we -- why don't we

14     address the proffer after --

15                     MR. GORENCE:       Yes, Your Honor.

16                     THE COURT:       -- you've completed the

17     cross-examination of the --

18                     MR. STANFORD:       He has a secret clearance.

19     We'll stipulate to that.                 We don't need a

20     continuance for that.

21                     THE COURT:       Okay.   Well, let's get through

22     this witness' testimony and what he knows and then

23     we'll move on to proffers and whether we need to

24 l continue this hearing.

25                     MR. GORENCE:       Yes, Your Honor.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 26 of 198

                                                                        26



 1             Q.      So I want to touch on allegations that this

 2     was -- and it's at page five on the motion to

 3     detain.           It's also the idea that this is a Chinese

 4     website.            I take it you have seen from the OSI

 5     investigation that Mr. Justice utilized a website

 6     called Wish.com?

 7             A.      Correct.

 8             Q.      And we can say now that Wish.com was the

 9     website that was used to purchase materials that

10     are alleged in this criminal complaint, correct?

11             A.      At least some of them, yes.

12             Q.      Well, let's just take what you -- we will

13     talk about what you called silencer, and I'm

14     going -- we'll get into that later.             Those were

15     purchased off of the Wish.com website; is that

16     correct?

17             A.      Correct.

18             Q.      Now, that is not a Chinese website, is it?

19             A.      I don't know about the website, but I do

20     know that many of the items that ship from that

21     website come from China.

22             Q.      Okay.     Well, it's alleged in the

23     government's response that it's a Chinese website.

24 l This actually was a big issue on the February 25th

25     hearing with Special Agent Sorenson.             You know


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 27 of 198

                                                                         27



 1     that?         He told you that, wasn't it?

 2             A.      Again, the details I had was from their

 3     affidavit, and as far as the website and where the

 4     items were shipped, I do know through the shipping

 5     labels that the site provided it was coming from

 6     China, the items that were shipped.             But I don't

 7     know enough about the website, headquarters or

 8     where they operate from.

 9             Q.      Well, I want to get into this because that

10     has some nefariousness if you're going to be

11     dealing with -- well, first of all, we can conclude

12     that Wish.com is not part of what would be called

13     the dark web, is it?

14             A.      It's easy to access.

15             Q.      Okay.     Well, if it's easy to access, it's

16     not -- as was alluded to in Sorenson's affidavit,

17     they called it a dark web.             You saw that, right?

18             A.      Yes.

19             Q.      Okay.     And I take it you know that he

20     retracted that in the actual hearing when he was

21     cross-examined, that Wish.com is a U.S. company

22     based out of San Francisco.             Has he told you that?

23             A.      No.

24 l                   MR. GORENCE:     This is why we may have to

25     continue this, Your Honor, because I want the full


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 28 of 198

                                                                         28



 1     facts of how this -- this allegation --

 2                     THE COURT:     I don't -- I don't even recall

 3     in the motion reviewing anything about an affidavit

 4     by Mr. Sorenson.

 5                     MR. STANFORD:    Your Honor, we're not resting

 6     anything on the notion that it was a Chinese

 7     website.            The items came from China.   That is the

 8     fact that we intended to put in evidence.             We'd be

 9     happy to stipulate that the website may, in fact,

10     be based in the United States.             It has little

11     bearing on the weight of the evidence in this case.

12                     MR. GORENCE:     Your Honor, it has lots of

13     bearing because, if this is a normal commercial

14     transaction by a company licensed to do business,

15     for which we're going to get in, he uses his name,

16     uses a debit card in his name -- and we'll get into

17     the transaction itself where it's held out.                This

18     has many different items.             I just looked at it

19     yesterday as a matter of fact.             It's biggest

20     proponent is it sells all the LA Laker gear.

21     They're the sole franchise to do all of this.

22                     So what it does is it refutes the idea that

23     you're going somewhere in a nefarious way to find

24 l products that couldn't be sold.               And we'll get into

25     in terms of what they really are, but I'm just


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 29 of 198

                                                                          29



 1     saying, again, Chinese websites and all of this,

 2     Amazon supplies products throughout the world.

 3     Well, one assumes when we buy it it has some

 4     legitimacy of being legal, and I want to get out

 5     the fact that this is not -- as a terrorist, we

 6     look at everything as trying to be secretive.                You

 7     want to hide it from the government what you're

 8     doing or what you're buying or all the rest of it.

 9     So I think it is quite relevant on the issue of

10     detention.

11                     THE COURT:     Well, I think it's true that

12     some people try to do things more secretly than

13     others --

14                     MR. GORENCE:     It just goes --

15                     THE COURT:     -- but I didn't -- I didn't read

16     anything in this motion to be suggesting that the

17     importation of the silencers from China was somehow

18     brought into this motion to suggest that there was

19     some connection with China other than establishing

20     the interstate nexus that's needed.                But certainly,

21     if you have questions -- I mean, I hear where

22     you're trying to go with this.             It sounds like

23     you're trying to suggest that Mr. Justice may have

24 l thought this was perfectly legal because this was

25     on an open website.            I mean, you can ask


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 30 of 198

                                                                         30



 1     questions --

 2                     MR. GORENCE:     I'm just going to make the

 3     record, Your Honor --

 4                     THE COURT:     Okay.

 5                     MR. GORENCE:     -- because I think it is

 6     relevant.             Again, if this was purchased off a Silk

 7     Road website with some difficulty to get there, you

 8     have some idea that its contraband and illegal.

 9     There was an allegation, not here, but again it was

10     in the underlying OSI investigation, that it was

11     paid in bitcoin.

12             Q.      You know that's not true, I take it.

13     There's credit card receipts for those two

14     purchases from Wish.com.               Have you seen those?

15             A.      No.

16                     THE COURT:     Why don't we -- Mr. Stanford,

17     are there certain things about this line of

18     questioning that you know and are willing to

19     stipulate to so we can get past this?

20                     MR. STANFORD:     We can stipulate that he

21     didn't order of the dark web, he didn't order off a

22     nefarious site.             The source of his order is of no

23     importance to the government.               It crossed an

24 l international border and a state line in order to

25     achieve a nexus.             We don't really care how he got


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 31 of 198

                                                                              31



 1     it.       The fact of him having it is the crime.            It

 2     doesn't make it more of a crime if he gets it from

 3     the dark web.             It makes it a little sketchy, but it

 4     doesn't go to establishing the elements of the

 5     crime.          So we're not getting into any of that.            We

 6     don't care about that.

 7                     MR. GORENCE:      Okay.   And this isn't a

 8     preliminary hearing because in a preliminary

 9     hearing that would be a valid objection.                 This is a

10     detention hearing.              We've stipulated to --

11                     THE COURT:      Well, he's not objecting.     He's

12     stipulated that it wasn't purchased off a dark

13     website.            It wasn't secretly purchased, and from

14     the government's perspective, with regard to the

15     motion to detain they filed, they brought up the

16     China connection for purposes of the nexus, not to

17     suggest that there was any secretive purchase being

18     undertaken.

19                     MR. GORENCE:      And I think the nexus is just

20     importation.              There has to be no other nexus other

21     than, you know, the importation charge.               Let me go

22     back, then.

23             Q.      So, again, you're saying you don't know how

24 l he paid for it or when they were ordered?

25             A.      Yeah, I didn't look into those details yet.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 32 of 198

                                                                           32



 1                     MR. GORENCE:        Well, with the government

 2     stipulating they were bought under his own name,

 3     with a debit card in his name, with his address,

 4     because I believe that if someone was trying to

 5     engage in the secretive acquisition of weaponry for

 6     a nefarious purpose, we can at least stipulate that

 7     didn't occur here.

 8                     THE COURT:        I don't --

 9                     MR. GORENCE:        Otherwise, I'm going to have

10     to get someone in to make that record, which I have

11     someone who is going to testify to that or I want

12     to bring Sorenson because Sorenson --

13                     THE COURT:        Well, you asked the government

14     to stipulate.               There were multiple facts in that

15     statement that you were asking the government to

16     stipulate to.

17                     MR. GORENCE:        Stipulate that they were

18     purchased in his name.

19                     THE COURT:        All right.   Do you know that?

20     Do you know whether the guns were purchased in his

21     name with a debit card?

22                     MR. STANFORD:        I'm pretty sure that's

23     correct.            I couldn't swear.      This is on a criminal

24 l complaint.                  He hasn't concluded his investigation.

25     I'm not possessed with all of the facts of the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 33 of 198

                                                                            33



 1     investigation.               I'm pretty sure that it was

 2     purchased in his name.                We are not alleging that he

 3     purchased the silencer through a false identity or

 4     using a false address.

 5                     The reason I do have the (inaudible) is

 6     because his name and base address is on the return

 7     address of the package, so that would lend me to

 8     believe -- that would lead me to believe that it

 9     was ordered that way, too.

10                     THE COURT:        Okay, so --

11                     MR. STANFORD:        I don't know if I'm prepared

12     to stipulate, but I can say I'm not going to --

13                     THE COURT:        You're not going to object to

14     the proffer that Mr. Gorence has made --

15                     MR. STANFORD:        No.

16                     THE COURT:        -- that the silencer and the

17     stock kit were purchased in his name using his

18     debit card.               Okay.   So, for purposes of the

19     detention hearing, the government will not object

20     to that proffer.

21                     MR. GORENCE:        Yes, Your Honor.   Let me move

22     on.

23             Q.      Okay.       I take it you don't know how much was

24 l paid?           I mean, if you saw the invoices, it's 42 for

25     both of the alleged silencers and $12 for this


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 34 of 198

                                                                           34



 1     alleged what they call butt stock.

 2             A.      You're right, I wasn't certain on prices.

 3             Q.      All right.        Now, let's go to the butt stock.

 4     There's a picture of it, and we'll get into the

 5     photographs from the house.                First of all, that

 6     wasn't attached when it was found in Mr. Justice's

 7     residence?                It wasn't attached to the pistol, was

 8     it?

 9             A.      Well, through testimony of another

10     individual, which I'm sure will come up in this

11     case, there was knowledge that it was attached.

12             Q.      My question was, when you found it, it

13     wasn't attached?

14             A.      When it was found by OSI, it wasn't

15     attached.

16             Q.      Okay.       And that was -- actually, you call it

17     butt stock.               That was entirely plastic, was it not?

18             A.      Yeah, I'm not even sure on all the materials

19     but it's a butt stock.                It's compatible to a Glock

20     pistol.

21             Q.      Compatible.        And if you look at that, that's

22     actually -- the material is not -- is not

23     ordinarily what a butt stock is made out of, is it?

24 l Usually, if you're going to use it, it's made out

25     of metal?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 35 of 198

                                                                        35



 1             A.      Well, there's a lot of polymer -- there's a

 2     lot of different butt stocks out there.              This one

 3     is specifically for that type of a pistol and it's

 4     common with the Glocks.

 5             Q.      Okay.     Have you seen any screws -- did you

 6     examine that to see if it was ever attached or

 7     could have been attached?

 8             A.      So, in this case, I just saw the photographs

 9     of this butt stock, and I've seen those exact same

10     ones in person and I've handled them before.

11             Q.      I understand, but there's a way to determine

12     whether it's ever been threaded to a weapon.              You

13     know that, if you examine it, you can see if it

14     actually has any -- it's a screw-like apparatus to

15     go into the back of a pistol.              You know that, don't

16     you?

17             A.      Yes.      But, again, you know, just from the

18     testimony that I -- from another individual that

19     witnessed it attached --

20             Q.      Who is that?

21             A.      -- and -- it was another airman.

22             Q.      Well, did you talk to this airman?      Is this

23     coming --

24 l           A.      It was from an affidavit.

25                     THE COURT:      There was some reference in --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 36 of 198

                                                                              36



 1                     THE WITNESS:        Right.

 2                     THE COURT:     -- one of the exhibits, I

 3     thought, to testimony by somebody at that prior

 4     hearing who said that he had -- he had shot --

 5                     MR. GORENCE:        Silencer.

 6                     THE COURT:     --     with the silencer.

 7                     MR. GORENCE:        Yeah, it's about the silencer.

 8     I haven't seen anything about the butt stock.

 9                     THE WITNESS:        Yes, it is in there, as well,

10     about the butt stock.

11             Q.      Now, an auto sear, there's no records of

12     that being purchased from Wish.com, correct?

13             A.      Yes, there is.

14             Q.      He wasn't charged on base with that.          Are

15     you saying there's records that he purchased that?

16             A.      Correct.

17             Q.      Have you seen them?

18             A.      I just -- from the OSI investigation, they

19     received their initial information from Homeland

20     Security, and in that they had shipping documents

21     that showed that it was shipped to Mr. Justice.

22     But you're right, it wasn't on scene at the search.

23     It wasn't at the residence.                  Those items weren't

24 l found.

25             Q.      Okay.     An auto sear was not found and you're


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 37 of 198

                                                                       37



 1     saying that there is a document?             Because there's

 2     no allegation of that in the -- in the Article 31

 3     military code, the idea that that -- have you

 4     actually seen those documents or are you saying

 5     someone told you that?

 6             A.      So the shipping labels were testified --

 7     well, they were in the affidavit that -- affidavit

 8     that OSI wrote.           And speaking to them I received

 9     that information from OSI that those items had been

10     shipped on a prior occasion to Mr. Justice.

11                     MR. GORENCE:     Well, Your Honor, I'm going to

12     need Sorenson for the continuation because he

13     has -- that affidavit, first of all, says there's a

14     dark web, bitcoin paid for this, and he refuted

15     that and he refutes that there's an auto sear.

16             Q.      Have you talked to him?     He's actually said

17     there was no auto sear paperwork?             Do you know

18     that?

19             A.      There was a shipping label that showed it

20     was shipped to Mr. Justice on another occasion.                It

21     just wasn't located in the search.

22             Q.      From Wish.com?

23             A.      I'm not 100 percent, but that information

24 l originally came from HSI that it was shipped to Mr.

25     Justice, that product.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 38 of 198

                                                                         38



 1             Q.      And again, you have not seen the label, and

 2     this is just then secondhand information from

 3     Sorenson?

 4             A.      Yes.

 5             Q.      And there's no photograph of an auto sear on

 6     any of the photographs from Mr. Mr. Justice's

 7     phone, correct?

 8             A.      No, there is on his phone.

 9             Q.      There's schematics.

10             A.      Schematics.

11             Q.      We'll get into that.     We'll get into the

12     schematics that are on Google with regard to that.

13     I'm saying there's not a photograph of what would

14     actually constitute an auto sear, correct?

15             A.      I'm sorry, I'm not -- I want to answer this

16     correctly here.           Are you saying an actual

17     photograph of a specific one, a Glock one?             Is that

18     what we're talking about?

19             Q.      Something that would have been ordered --

20     you're saying there's an idea.             And this is very

21     important, the idea that somebody is trying to get

22     a fully automatic weapon.             And we'll get into the

23     photographs because those are right off of Google.

24 l I actually Googled them all last night, and

25     everything on that, they're screen shots.             We will


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 39 of 198

                                                                             39



 1     get into it.              Those are all screen shots off of

 2     Google.           You know that, don't you?

 3             A.      Well, I know you can access that on the

 4     internet, schematics.

 5             Q.      Well, we'll get into what's a schematic.              My

 6     question is, is there any photograph of an actual

 7     auto sear device that theoretically could have been

 8     purchased?

 9             A.      The one purchased, I don't recall.

10             Q.      I'm just talking about the photographs that

11     are on his phone.

12                     THE COURT:      Well, why don't we --

13                     MR. STANFORD:      (Inaudible).

14                     THE COURT:      Yeah.     We have some photographs

15     that were attached as exhibits.

16                     MR. STANFORD:      I've got copies.

17                     THE COURT:      Why don't you -- if you want to

18     ask him that question -- he clearly doesn't recall.

19     Why don't we refresh his recollection with the

20     photos that we have, and you can ask him whether

21     there are any photographs in these exhibits of an

22     actual auto sear.

23                     MR. GORENCE:      I'm going to go through every

24 l photograph, Your Honor.                   I'm going to go through

25     each and every one that the government thought was


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 40 of 198

                                                                            40



 1     relevant.

 2                     THE COURT:     Okay.     Let's move on to that,

 3     then --

 4                     MR. GORENCE:     Okay.

 5                     THE COURT:     -- instead of asking him to

 6     guess.

 7                     MR. GORENCE:     I'm not asking him to guess,

 8     but let me just get the facts.

 9             Q.      So when was -- one wasn't recovered at his

10     house?

11             A.      Right.

12                     THE COURT:     That's been established.     There

13     was not one --

14             Q.      Okay.     And there's no one who says they

15     witnessed an auto sear.                All of the people -- he

16     shoots frequently as a recreational shooter.                You

17     know that.

18             A.      I don't know how often he does that, no.

19             Q.      Okay.     Well, let me put it this way.

20     Multiple colleagues of Airman Justice say they

21     recreationally shoot, and you've seen that in

22     affidavits.

23             A.      Yes.

24 l           Q.      Okay.     And all of those people who say they

25     have shot with him, no one has said he's ever had a


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                                                                         41



 1     fully automatic weapon, correct?

 2             A.      Correct.

 3             Q.      Okay.

 4                     MR. GORENCE:     If you -- do you have -- can

 5     you give me Exhibit A to your motion?               I only have

 6     mine.

 7                     MR. STANFORD:     I was just asking, you're

 8     asking me to give it to him or to you?

 9             Q.      Okay.     I just want to look through it.     So,

10     if you take the first page on the left, that is the

11     bump stock, correct?

12             A.      Well, not a bump stock.     That is just a butt

13     stock for a Glock.

14             Q.      Excuse me, I meant to say a butt stock.         Is

15     this the actual picture or is this coming off line?

16             A.      To me, it looks like an online photograph.

17                     THE COURT:     Why don't we -- so that we're

18     clear we're talking about the same thing, we're

19     talking about page one from the photo album, a

20     photo that also has a caption, "You can't shake the

21     taste of the blood"?

22                     MR. GORENCE:     Yes, Your Honor.

23                     THE COURT:     Okay.

24 l                   MR. GORENCE:     So I want to just -- let's

25     just mark that as one.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 42 of 198

                                                                            42



 1                     THE COURT:      Well, this is already an exhibit

 2     and they've been docketed and they have numbers on

 3     them from the docket.              The pages that he received,

 4     those don't have the docket --

 5                     THE WITNESS:      No.

 6                     THE COURT:      I think, for purposes of

 7     clarity, maybe we should just use the docket.

 8                     MR. GORENCE:      I don't have the docket.

 9                     THE COURT:      Okay.

10                     MR. GORENCE:      What I have -- that will be

11     helpful.

12                     THE COURT:      We can make sure we have all --

13     we've got the document, but we have -- you're going

14     to be going through every single photograph --

15                     MR. GORENCE:      Yep.

16                     THE COURT:      -- and asking him questions

17     about it?             Okay.   And this is just for Exhibit A?

18                     MR. GORENCE:      And F.     F, I don't have a

19     question on every photograph, but I have some.                   You

20     know what would help?              I just don't have the

21     numbers.

22                     THE COURT:      Okay.    We're going to get those.

23     We'll make them available.                 That will make it

24 l easier.             Unless he wants to hold it up, and then I

25     can see and make sure it's -- okay.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 43 of 198

                                                                       43



 1                     MR. GORENCE:     What is the page on the docket

 2     of this document, Your Honor?

 3                     THE COURT:     The first page is, it's docket

 4     9-1, page two of 44.

 5                     MR. GORENCE:     Page two of 44, okay.

 6             Q.      So this -- just so the Court knows what

 7     we're looking at, do you think on the left-hand

 8     side -- and this is off the website for what would

 9     be the bump stock?

10             A.      The stock, yes, butt stock.

11             Q.      Butt stock.     I've got to get -- excuse me.

12     And I take it this correlates to the photographs

13     or, I should say, what was actually found in Mr.

14     Justice's residence?

15             A.      Yes.

16             Q.      And then, "You can't shake the taste of the

17     blood," where did that come from?             Was that side by

18     side or that was just a screen shot?

19             A.      So, as far as the order goes, I'm not

20     exactly sure if that was the exact order or not.                I

21     just know that it's a photograph from the phone.

22     Whether it's a screen shot or a photo, these are

23     from phone photos.

24 l           Q.      Okay.     Have you -- I guess you haven't

25     personally, but do you know if Special Agent


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 44 of 198

                                                                         44



 1     Sorenson has talked to any of Airman Justice's

 2     colleagues in the 377th Security Division about all

 3     these common memes and statements in terms of being

 4     passed around within that particular group?

 5             A.      So, as far as what divisions or whatever,

 6     I'm not sure, but he has talked to individuals on

 7     the base who knew him, yes.

 8             Q.      Now, the statement "You can't shake the

 9     taste of the blood," that doesn't indicate future

10     terrorist activity, does it?

11             A.      Not in itself.

12             Q.      Okay.     Now, the next photograph which is

13     yours -- I have mine on both sides.             Can I see

14     yours?          If you'd put it up, what page?

15                     MR. STANFORD:     In the interest of saving us

16     all time, our next witness is, in fact, Sorenson.

17                     THE COURT:     Uh-huh.

18                     MR. STANFORD:     And he will establish that

19     Agent Kempton came in on the back end of this

20     thing.          We're just here on a criminal complaint.

21     He hasn't completed his investigation.             And we

22     could spend two days asking questions of him that

23     he doesn't know the answer to because he didn't

24 l collect these photos.               Sorenson collected the

25     photos, and he's my next witness.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 45 of 198

                                                                            45



 1                     MR. GORENCE:      Okay.

 2                     THE COURT:      Okay.

 3                     MR. GORENCE:      Maybe that would be better,

 4     Your Honor.

 5                     THE COURT:      Does Sorenson --

 6                     MR. GORENCE:      I'll resume the cross later,

 7     but if they want to do that with Sorenson, that's

 8     fine.

 9                     THE COURT:      Okay.     So I'll let you step down

10     at this point.              We're going to move on to Sorenson

11     if we can get him on the phone.

12                     MR. STANFORD:      Okay.

13                     MR. GORENCE:      Your Honor, can we take a

14     brief break?              It's not that -- there's no water in

15     here, and I have to go --

16                     THE COURT:      We can, sure.

17                     MR. GORENCE:      Five minutes.     I just have to

18     get a bottle of water.

19                     THE COURT:      Yes, we can take a break while

20     we get Mr. Sorenson on the phone.                 And, also, I

21     guess, since he's going to be questioned about

22     these photographs, let's make sure he's got them.

23     You can e-mail him the motion and it will actually

24 l have the docket -- if you download the motion with

25     the exhibits and with the docket banner --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 46 of 198

                                                                          46



 1                     MR. STANFORD:     Hold on.     I'm not capable of

 2     listening.

 3                     COURT CLERK:     I can e-mail him what's filed.

 4                     THE COURT:     And then it will have the

 5     actual --

 6                     COURT CLERK:     Yes.

 7                     THE COURT:     It will have that?

 8                     COURT CLERK:     Yes.

 9                     THE COURT:     Okay.     So why don't you do this.

10     Why don't you e-mail John Stanford, Bob Gorence and

11     Mr. Sorenson the filed --

12                     COURT CLERK:     Okay.

13                     THE COURT:     -- motion and then they can all

14     be looking at the same thing.

15                     MR. GORENCE:     So, while you're doing that,

16     can we take a five-minutes break?

17                     THE COURT:     We can.     Do you want -- do you

18     want Carla to e-mail you the filed motion so that

19     you can pull up on your phone the actual -- you

20     already have it.

21                     MR. STANFORD:     I don't have the -- I could,

22     yeah.         I could --

23                     THE COURT:     She'll e-mail it to you, too.

24 l                   MR. STANFORD:     I was just going to ask, can

25     we let Mr. Gorence finish his questioning with


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 47 of 198

                                                                        47



 1     Agent Kempton?             He doesn't need to sit here through

 2     Sorenson.             I suspect everything he wants to ask

 3     Kempton is really for Sorenson, and I hate to make

 4     him sit around here.             If he doesn't have a lot more

 5     on the items that would be covered by Sorenson,

 6     just in the interest of --

 7                     MR. GORENCE:     I have a lot more.

 8                     MR. STANFORD:     With Kempton?

 9                     MR. GORENCE:     A fair amount in terms of

10     criminal history and other things.

11                     THE COURT:     Okay.   Well, why don't we move

12     on to those questions for Agent Kempton.              I mean,

13     my only concern about having Agent Kempton excused

14     is that, if it turns out that some of the questions

15     that Mr. Gorence thought he was getting through Mr.

16     Sorenson weren't answered and he has to question

17     Mr. Kempton and we can't find him, then we're in a

18     position of potentially having to continue this

19     again.

20                     MR. STANFORD:     Yeah.

21                     THE COURT:     As long as he can make himself

22     available to return within 20 minutes.

23                     MR. STANFORD:     I'm sure he can.

24 l                   THE COURT:     Okay.   So, Agent Kempton, you're

25     still under oath.             We're going to continue your


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 48 of 198

                                                                       48



 1     cross-examination.             Mr. Gorence is going to move on

 2     past the photographs.

 3                     MR. GORENCE:     Yes, Your Honor.

 4             Q.      I take it you have taken custody of the

 5     alleged silencers?

 6             A.      No.

 7             Q.      Okay.     So there's been no ATF reported

 8     examination to see if they actually function as a

 9     silencer?

10             A.      Correct, as in sent for an official

11     determination.

12             Q.      Well, we --

13             A.      Through our ATF experts, it has to get

14     shipped off, and then they examine it very, very

15     thoroughly.

16             Q.      Well, what they do is they fire a firearm

17     without it and measure the decibels, and then they

18     fire it with the device and see if it actually has

19     the type of decibel reduction -- and there's

20     regulations with regard to that -- to essentially

21     enable it to be a silencer.             Until then, it's not a

22     silencer, right?

23             A.      Well, it still could be a silencer.     That's

24 l what we've determined as of now, that it is, but

25     it's going to go through that official


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 49 of 198

                                                                              49



 1     determination.

 2             Q.      Well, the official -- I mean, it has to do

 3     with whether or not it actually -- statutorily and

 4     by your regulations, you can have things that look

 5     like a silencer and they're called barrel

 6     extensions.               There are all kinds of things.

 7             A.      Sure.

 8             Q.      And even if they have baffles, what we're

 9     going to call vents, they have to have material

10     inside so that the gas is diffused -- right?

11             A.      Correct.

12             Q.      -- and it captures that in such a way that

13     you don't have, in essence, the difference in

14     pressure to create noise as a projectile emits from

15     the end of a barrel.               That's how it works?

16             A.      Well, you're the expert, not me.          You're

17     correct.

18             Q.      Okay.       Now, in this case you've indicated

19     that you -- have you visually examined them or only

20     in photographs?

21             A.      They were photographs --

22             Q.      Okay.

23             A.      -- of the internal and then the descriptions

24 l given to me by OSI.

25             Q.      Well, let's turn to that one particular


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 50 of 198

                                                                            50



 1     photograph, and that is in the F series.                Again, I

 2     don't have the pagination because I -- have you

 3     seen a picture of the silencers, Agent Kempton,

 4     that were taken by OSI?

 5             A.      Yes.

 6             Q.      There's only one picture, correct?        Let me

 7     pull it.

 8             A.      There are other photos.

 9             Q.      Well, I'm just talking about what was

10     attached as Exhibit F to this motion because that's

11     all we have.              Do you have -- can you pull that up?

12                     MR. STANFORD:      I don't have that.    I put it

13     back on there.

14                     MR. GORENCE:      You only have A, not F?

15                     MR. STANFORD:      I didn't intend to ask him

16     about that.

17                     MR. GORENCE:      Okay.    Well, bear with me.       We

18     might need the Court's copy.

19                     THE COURT:      Is this the photo array search

20     of the residence and vehicle?

21                     MR. STANFORD:      Yeah.

22                     THE COURT:      Okay.

23             Q.      While I'm looking, let me ask you, you've

24 l done a criminal history check of Airman Justice,

25     have you not?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 51 of 198

                                                                         51



 1             A.      Yes.

 2             Q.      He's not a prohibited person from possessing

 3     any one of the 17 firearms, is he?

 4             A.      He is not prohibited to possess firearms.

 5             Q.      All right.       And outside of the allegation of

 6     the silencers, none of these guns, none of the 17

 7     violated the NFA, the National Firearms Act, or any

 8     other statute, correct?

 9             A.      Correct.      The only two were the butt stock

10     and the silencers.               Those were the only two

11     prohibited items.

12             Q.      Well, the butt stock, to be prohibited, has

13     to be attached to a firearm?

14             A.      Correct.

15             Q.      So, in this case, it wasn't, so it's not

16     prohibited.               We can agree on that, right?

17             A.      Well, there were -- like I said before,

18     there was a statement given to where a witness had

19     seen him use it in that fashion.

20             Q.      Okay.       What I'm saying is that, as found, it

21     wasn't illegal?

22             A.      Yes.

23             Q.      Now, if you want to rely on someone's

24 l testimony that that's exactly what they saw, it's a

25     different matter.               But the question is, in his


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 52 of 198

                                                                        52



 1     house, it was not a firearm because it wasn't

 2     attached?

 3             A.      Yes.

 4             Q.      And I guess I'll ask Agent Sorenson in terms

 5     of the location.             You do know the firearms were

 6     moved out of safes and things of that nature,

 7     correct?

 8             A.      Correct.

 9                     THE COURT:     I have Exhibit F.    I can give it

10     to the agent as long as he won't take it out of

11     order and you can see if you can find the

12     photograph of the silencers.

13                     MR. GORENCE:     I have --

14                     THE COURT:     Do you want me to do that?

15                     MR. GORENCE:     That would be --

16                     THE COURT:     I'm willing to lend him my copy

17     as long as you don't take it out of order, and then

18     you can identify it by page number and you can hold

19     up the photo.

20                     MR. GORENCE:     I have mine out of order.

21                     (Discussion off the record.)

22                     MR. GORENCE:     I found it.

23                     THE COURT:     Okay.

24 l                   MR. GORENCE:     But I don't know what page it

25     is.       Can I --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 53 of 198

                                                                             53



 1                     THE COURT:        Sure.

 2             Q.      Agent --

 3             A.      Yes.

 4             Q.      -- this one -- and I don't have the pages.

 5     It says exterior and then firearm silencer.                  Look

 6     through all of it.                This is the only picture I can

 7     see of a silencer.

 8             A.      One or more photograph was attached to the

 9     firearm itself.

10                     THE COURT:        You're not looking at the back

11     pages.          Those are double-sided.

12                     THE WITNESS:        Oh, they are?    Thank you.

13             Q.      I want you to look through, and if you

14     would -- I found one.                They're actually together.

15     And we'll get the page on this, but it just says

16     exterior.             Agent, I want you to pull this one out,

17     which is exterior firearm silencer, and then

18     there's another one of the picture --

19                     (Discussion off the record.)

20                     THE COURT:        We're going to see if we can get

21     IT to just pull up the exhibits on these screens

22     and that will make it easier for all of us.

23             A.      And I apologize.          I'm digging here for the

24 l right one.                  That's pretty -- so there's one -- I

25     don't want to lose the page -- that's affixed to


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 54 of 198

                                                                            54



 1     the rifle.

 2                     THE COURT:       Could you tell us what the

 3     docket number is?               It's nine --

 4                     MR. GORENCE:       This is 44, 9-6.

 5                     THE COURT:       Okay.   44.   It's page 44 of

 6     docket entry 9-6.

 7                     MR. STANFORD:       You're looking at a

 8     suppressor?               Is that what this is?

 9                     THE WITNESS:       It's attached in one of the

10     photos.

11             Q.      All right.       Agent --

12             A.      Yes, sir, these are all connected.

13             Q.      Okay.       And did you find the other one?

14             A.      I'm still looking for that.

15                     THE COURT:       He's still looking.     We'll get

16     them identified and then we'll -- we'll either pull

17     them up on the screen or we'll copy them so that

18     you're speaking about two pages.                  We all have the

19     two pages.

20                     MR. GORENCE:       Your Honor, what's the Court's

21     intention about the noon hour?

22                     THE COURT:       I would like to just power

23     through.

24 l                   MR. GORENCE:       Then we will.

25                     THE COURT:       I consulted with the marshal


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 55 of 198

                                                                             55



 1     service and they have a deputy --

 2                     MR. GORENCE:        I want to try to get a bottle

 3     of water at some point.                   Obviously, for health

 4     reasons -- oh, water has been taken off.

 5                     (Discussion off the record.)

 6                     THE WITNESS:        I think I found that other

 7     one.

 8                     THE COURT:        Okay.     What is the -- it's 9-6

 9     and then tell us the page number.

10                     THE WITNESS:        Okay.     So 9- -- page 83 of 85.

11                     THE COURT:        83, okay.

12             Q.      Okay.     83 --

13                     THE COURT:        I didn't print out the color

14     pages.

15             A.      Okay.

16             Q.      Okay.     The only question --

17                     MR. GORENCE:        Can I show him the copy?

18                     THE COURT:        Sure.

19             Q.      Okay.     Let's start with 44, page five.         You

20     can see -- I'll ask you a question about that.

21                     THE COURT:        All right.     I think -- you need

22     to speak into the microphone so that the recording

23     device will pick up your voice.

24 l           Q.      Agent, you can see on that photograph that's

25     a .22 rifle, is it not?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 56 of 198

                                                                         56



 1             A.      Yes.

 2             Q.      And that device at the end of that rifle,

 3     that's not one of the products that were ordered

 4     and delivered from Wish.com.             You know that, don't

 5     you?

 6             A.      Yeah.     You know, I'm not sure on that

 7     particular one.

 8                     THE COURT:     Are you talking about page 44?

 9                     THE WITNESS:     Yes.

10                     THE COURT:     Okay.

11             Q.      When you say you're not sure, you can see

12     that that has no baffles on it and it's not vented.

13             A.      Well, you know, you'd have to pull it off

14     and examine the inside.

15             Q.      Well, but it looks like a solid tube that

16     would extend -- that's a barrel extension from one

17     side to the other, but it looks -- let me -- you're

18     not sure or you know that's not from Wish.com?

19             A.      I'm not sure where this one came from, which

20     website it was ordered from.

21             Q.      Okay.     So this isn't one of the charged

22     silencers?

23             A.      It is one of the charged silencers.        It was

24 l one that was seized up at the house.

25             Q.      Okay.     So you're saying there's the -- there


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 57 of 198

                                                                         57



 1     were two that were ordered and this is the third

 2     silencer?

 3             A.      So there was one silencer out of three in

 4     particular that had -- that ATF made a bulletin of

 5     deeming it being illegal given the name of it,

 6     inline fuel filter.            So, if you ordered it, that's

 7     how you would order it, as an inline fuel filter to

 8     disguise what it is.             And so ATF had sent a

 9     bulletin and OSI, I let them see the bulletin, and

10     they were able to match one of them that he

11     purchased as that product.

12             Q.      We're talking about -- yes.     But if you'd

13     go -- so you're saying you're not sure, but can you

14     tell if this doesn't look like what is in the other

15     photograph which is --

16                     THE COURT:     Page 83.

17             Q.      -- 83, those are wrapped.     So you're saying

18     you don't know if this was ordered, but I want to

19     show you -- if you go to page --

20                     MR. GORENCE:     This is Exhibit A and I think

21     it's the third page, Your Honor.             I don't have the

22     page reference.

23             Q.      Let me show you.     I'll give you my copy.

24 l                   THE COURT:     Why don't you find what you're

25     looking at in the marked pages so that you can


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 58 of 198

                                                                           58



 1     identify for the record what page it is.

 2                     So, Agent Kempton --

 3                     THE WITNESS:     Yes.

 4                     THE COURT:     -- if you could find the

 5     document you're looking at that you're going to be

 6     testifying about and identify what it is by page

 7     number.

 8             Q.      And it's right in the very beginning.       I

 9     think it's the third page.               So, if you start from

10     the beginning, it's like the third image.

11             A.      I looked at the beginning.       It's not one of

12     those.

13                     MR. GORENCE:     Your Honor, I need A.

14                     THE COURT:     Oh, you're back at A?

15                     MR. GORENCE:     Yes.

16                     THE COURT:     So are we done with Exhibit F?

17                     MR. GORENCE:     No.    It's going to compare it

18     to an Exhibit A exhibit, Your Honor.

19                     THE COURT:     So you're asking him to compare

20     page 83 of Exhibit F to a document in Exhibit A?

21                     MR. GORENCE:     Are yours paginated?

22                     MR. STANFORD:     No.

23                     MR. GORENCE:     It's going to be right in the

24 l beginning.

25                     THE COURT:     So is this -- are you talking


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 59 of 198

                                                                             59



 1     about this document with somebody holding --

 2                     MR. GORENCE:       Yes.

 3                     THE COURT:       Okay.    This is document 9-1,

 4     page four of 44, and, here, you can have mine.

 5     Just return it to me.

 6             Q.      I was close.       I said three.    It turned out

 7     to be four.               Now, if you see the shooter at this

 8     range, you see he's got the same -- it's a .22

 9     rifle with the same, we'll call it device, at the

10     end of the barrel, correct?

11             A.      Correct.

12             Q.      And you call it a silencer, but you haven't

13     physically examined that device which was found in

14     Airman Justice's residence, correct?

15             A.      Correct.

16             Q.      You haven't even held -- you haven't looked

17     at it.          You've only seen the photograph?

18             A.      Correct.

19             Q.      Now, this photograph gives you a better

20     indication and it's in color.                 Mine is in -- do you

21     have that one in color?

22             A.      I have seen the colored one.

23             Q.      Okay.       Based on your training and

24 l experience, you can see that it's just nothing but

25     a cylinder cut on both ends without baffles,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 60 of 198

                                                                         60



 1     correct?

 2             A.      Well, you can't see the baffles, whether it

 3     was real or not.              You have to see inside.

 4             Q.      Okay.       Some of them are vented externally.

 5     Some are not.               That's how they work, correct?

 6             A.      I haven't seen those external vented.

 7             Q.      Well, in this case, if you haven't examined

 8     them, you have no idea if it has baffles or not?

 9             A.      Yeah, it's very hard to determine whether

10     that is a silencer just by looking at it without

11     hearing or examining the inside.

12             Q.      Thank you for that because that's what I'm

13     getting at.               You're telling the Court now it's very

14     hard to even say it's a silencer, yet it's charged

15     as a silencer.               You know that, right?

16             A.      Well, only the ones that were determined.

17             Q.      Well, there's three.       Excuse me, I cut you

18     off.         You said there were three silencers found,

19     the two that were ordered off a website and this

20     being the third.              Do you recall that earlier?

21             A.      I said there was one that was attached to a

22     rifle which is in this photo, page 44.

23             Q.      And that is the same as page four of Exhibit

24 l A.        You've just told us that.

25                     THE COURT:       Well, I don't know if he said


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 61 of 198

                                                                            61



 1     that.

 2             A.      No.

 3                     THE COURT:     The photograph on page four,

 4     there's a human in that photograph.                Do you know

 5     who that human is?

 6                     THE WITNESS:     I do not.

 7             Q.      Okay.     Well, my question is, and I thought

 8     you had agreed, that that looks like the same .22

 9     rifle with the same silencer.                We get a better view

10     of it.

11             A.      Well, the firearms don't look identical, but

12     the silencers do look similar.

13             Q.      Okay.     And can we at least agree that you

14     don't know one way or the other whether this

15     picture -- this is page four of Exhibit A and

16     page -- what is that one?             44, you said --

17             A.      Correct.

18             Q.      -- Exhibit F.     You don't know one way or

19     another just by the photographs alone whether it

20     would actually be -- it would constitute a

21     silencer?

22             A.      Yes.

23             Q.      So, given that, would you want to amend the

24 l complaint to say there's not three silencers?                  We

25     don't know that one way or the other.                Would that


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 62 of 198

                                                                       62



 1     be a fair statement?

 2             A.      No, absolutely not.     The statement in the

 3     affidavit the Air Force comprised they mentioned

 4     there were three of them.             Agent Sorenson, who

 5     would be -- who can testify to this, showed a photo

 6     to me of the inside to inspect the baffles inside,

 7     and they appeared to be silencers.             And that's what

 8     they based that off of.          They insured that it was

 9     consistent to a silencer before they determined it

10     was one.

11             Q.      And maybe I should get this from Sorenson,

12     but there were no explosives found in Mr. Justice's

13     residence of any kind, were there?

14             A.      No.

15             Q.      There were no statements indicating that he

16     was actually planning any kind of attack, any kind

17     of violence towards anyone, correct?

18             A.      No statements.

19             Q.      Well, I mean nothing on the internet,

20     nothing on his phone, nothing of that nature that

21     he actually -- outside of -- well, we'll talk about

22     the sourcing of documents.             Maybe I'll ask Sorenson

23     since he found it, but what I'm getting at, you're

24 l not aware of one actual threat, not one actual step

25     in furtherance of any conduct that would constitute


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 63 of 198

                                                                            63



 1     an act of terrorism or the actual illegal -- the

 2     actual use of a firearm to harm others?

 3             A.      So, to clarify, the photographs, that's all

 4     we have right now, are the photographs from the

 5     phone of what I've testified already.                That's what

 6     I have knowledge of.                Now, the rest of the phone,

 7     the forensic evidence in other aspects of the phone

 8     such as text messages, websites, et cetera, those

 9     are under analysis.                So those -- that's ongoing.

10     But as far as the photos go, this is what we've

11     got, what I've testified to.

12             Q.      Right.        And I might have to come back

13     because I think Sorenson might have more direct

14     knowledge.                But what I'm asking is, on the state of

15     your investigation today, from starting in February

16     slightly before he was arrested, you don't have one

17     shred of evidence that he's actually thinking --

18     well, let me put it this way, taking a step, a step

19     with conduct or with words, to commit an act of

20     violence or domestic terrorism or anything of that

21     nature, do you?

22             A.      Like I said before, I believe that there was

23     red flags, things to be concerned about and to take

24 l caution with and to open the scope of our

25     investigation further.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 64 of 198

                                                                           64



 1             Q.      I understand, but that's not my question.             A

 2     caution is that there seems to be atypical things,

 3     you know, whether they're open sourced and all the

 4     rest of it were sourced with Sorenson, but I want

 5     you to listen to this because I want to say it, do

 6     you have one piece of evidence, notwithstanding a

 7     red flag, that he had taken one affirmative step --

 8     and I know you understand that term as a special

 9     agent with ATF.           Do you have one e-mail, witness

10     statement, anything that would show that he

11     actually was taking a step towards an act of

12     violence or domestic terrorism?                Can you answer

13     that?

14             A.      It's a very long question, and I'm trying to

15     be very precise with my answer, but it could be a

16     step.         I feel safe to say it could be a step

17     towards that direction.                But it's a long question,

18     sir, and I'm trying to answer that honestly.

19                     MR. GORENCE:     Your Honor, I don't want him

20     released and I'm sure he can come back, but at this

21     point I think it might be most prudent and

22     efficient to hear from Special Agent Sorenson.

23                     THE COURT:     Okay.     So how far -- how long

24 l would it take you to get back to the courthouse if

25     we let you be --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 65 of 198

                                                                         65



 1                     THE WITNESS:     15 minutes at the most.

 2                     THE COURT:     Okay.    So you have some -- yes.

 3                     MR. GORENCE:     Your Honor, my client needs to

 4     use the restroom so can we take a break?               This will

 5     take five minutes.             My cross will take a lot

 6     longer.

 7                     MR. STANFORD:     No, no, five minutes to

 8     redirect the agent, and then we'll take a recess.

 9                     MR. GORENCE:     Oh, okay.

10                     REDIRECT EXAMINATION BY MR. STANFORD

11             Q.      Agent Kempton, this case is merely at the

12     early stage of investigation, is it not?

13             A.      Yes.

14             Q.      And we're merely at the criminal complaint

15     phase, correct?

16             A.      Correct.

17                     MR. GORENCE:     Your Honor, I'm going to

18     object.           This is actually a detention hearing.

19     I've already stipulated to the proffering of

20     probable cause in the affidavit.               So this is not a

21     preliminary hearing.             This is a detention hearing.

22                     MR. STANFORD:     You've spent a lot of time

23     indicting the lack of completion of some steps.

24 l                   THE COURT:     Right.

25                     MR. STANFORD:     I think I'm entitled --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 66 of 198

                                                                         66



 1                     MR. GORENCE:     I understand.

 2                     MR. STANFORD:     -- to respond to that.

 3                     THE COURT:     Overruled.   Let him address

 4     that.         I think that's where he's going and it's

 5     clear that's where he's going.

 6             Q.      Have you turned in --

 7                     THE COURT:     I can also take judicial notice

 8     of this.

 9                     MR. STANFORD:     If the Court is willing to do

10     that, I know the Court --

11                     MR. GORENCE:     I'll stipulate it's

12     (inaudible).

13                     THE COURT:     All right.   Okay.

14                     MR. STANFORD:     Okay.

15             Q.      Earlier you mentioned the silencer was

16     advertised as something other than a silencer; is

17     that correct?

18             A.      Correct.

19             Q.      Is that a common practice in your

20     experience?

21             A.      Yes.

22                     MR. GORENCE:     Your Honor, I'm going to

23     object on foundation.             He said he hasn't looked at

24 l the Wish.com.               I'm going to object on foundation in

25     terms of it's unusual he got to see how it's


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 67 of 198

                                                                         67



 1     advertised.               He's clearly said he hasn't even seen

 2     it.

 3                     MR. STANFORD:       I don't know how many

 4     questions he asked him about the Wish.com website

 5     as though he authored it himself.                I'm merely

 6     asking if he recognizes what was advertised as

 7     common practice.              I'm not saying anything about the

 8     website.

 9                     THE COURT:       Okay.

10                     MR. GORENCE:       The foundation that says he's

11     seen what was advertised.

12                     THE COURT:       Okay.   Ask him that question and

13     then ask him the next question.

14             Q.      Okay.       Have you seen -- well, earlier you

15     mentioned that the silencer in this case, at least

16     one silencer in this case, was advertised as

17     something other than a silencer?

18             A.      Yes.

19             Q.      Have you seen advertisements for items that

20     call themselves something else and yet they're

21     really a silencer?

22             A.      Yes.       And I believe before I testified that

23     I wasn't aware of the origin of Wish.com, but I am

24 l familiar with that being a website and I am

25     familiar with how they advertise products through


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 68 of 198

                                                                            68



 1     that, through bulletins and through -- I've checked

 2     out the website before, but I just didn't know more

 3     about the origins of it, just to clarify that from

 4     earlier.

 5             Q.      Okay.     And what was it that they claimed the

 6     silencer was?             What was the disguising term they

 7     used?

 8             A.      An inline fuel filter.

 9             Q.      Why would the seller call it that?

10             A.      To disguise what the product actually is.

11             Q.      Did the silencers -- did any of the

12     silencers found in Mr. Justice's possession or the

13     one he ordered match the information on the

14     silencers researched on his phone?

15             A.      Yes.

16             Q.      Could the photos of the silencers and

17     manifesto found on his phone constitute a plan?

18             A.      It could.

19             Q.      And would the ordering of those silencers

20     and auto sears conversion into a machine gun kit

21     constitute a step towards that plan?

22             A.      It could.

23                     MR. STANFORD:     Okay.     That's all I have.

24 l                   THE COURT:     All right.     Agent Kempton, you

25     may step down.             You're free to leave, but you need


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 69 of 198

                                                                               69



 1     to make sure to answer your -- would it be -- you

 2     would be contacting him by his cell phone?

 3                     MR. STANFORD:     I'll text him.

 4                     THE COURT:     And get over here quickly,

 5     within that 15-or-so-minute window that you've

 6     indicated you can get --

 7                     THE WITNESS:     Yes, Your Honor.        And were

 8     some of these yours?

 9                     THE COURT:     They're all mine.

10                     THE WITNESS:     And I kept them from getting

11     messed up, I'm pretty sure.                Yep.

12                     THE COURT:     Yeah.

13                     THE WITNESS:     Yeah, just like that.

14                     THE COURT:     Okay.     Thanks.

15                     THE WITNESS:     They're not upside down?

16                     THE COURT:     That's okay.        I can turn them

17     the right way.

18                     THE WITNESS:     Okay.     But they're in order.

19                     THE COURT:     Okay.     And then that's mine,

20     too.

21                     THE WITNESS:     Four, 44.        Thank you.

22                     THE COURT:     All right.     We can take a break.

23     Mr. Justice needs to use the restroom, and let's

24 l try to get Mr. Sorenson on the phone set up.                     Are

25     you okay with going through or do you want to take


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                                                                         70



 1     a break for lunch?

 2                     COURT CLERK:     I'm all right.

 3                     THE COURT:     Would you all prefer to take a

 4     break until 1:00 because the defendant needs to be

 5     fed or would you prefer that we go through the noon

 6     hour?

 7                     MR. STANFORD:     I'm good, Your Honor.

 8                     THE COURT:     What about the marshal service?

 9                     MR. GORENCE:     Your Honor, I would like to

10     have a break.             I'm trying to really -- if we're

11     going to go to 2:00, I don't want to go to 2:00

12     straight.             So an hour, whatever, that would be

13     fine.

14                     THE COURT:     Is Mr. Sorenson available if we

15     come back at 12:45, so we take a half-hour break?

16                     MR. STANFORD:     I'm texting as we speak.

17                     THE COURT:     Okay.   Half an hour should be

18     enough time for everyone?              All right.   We're going

19     off the record.

20                     (A recess was held.)

21                     THE COURT:     Back on the record in United

22     States of America versus Charles Brent Justice.

23     Before we move on to the next witness, let me just

24 l ask, is there a reason that the motion to detain

25     the defendant was filed under seal?


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                                                                            71



 1                     MR. STANFORD:       I didn't intend to file it

 2     under seal.               I just intended to file it parties

 3     only, not the public.               There's some inflammatory

 4     stuff I thought was in the interest of all of us

 5     not to have out there.               That can certainly be

 6     redesignated.

 7                     COURT CLERK:       And he did do it just case

 8     participants only.

 9                     THE COURT:       Right, but it's sealed from the

10     public, and we need to -- I will leave it under

11     seal but it -- you need to figure out which

12     portions of this need to be sealed.                I mean, we are

13     a court of public record.

14                     MR. STANFORD:       Sure.   Well, I can undo that.

15                     THE COURT:       I mean, what you can do, if

16     there are certain portions of the exhibits that you

17     believe need to remain under seal, you can file a

18     motion, whether opposed or unopposed, to keep it

19     sealed from the public.               I mean, it is case

20     participants, but that means it's sealed.

21                     MR. STANFORD:       Sure.

22                     THE COURT:       And, typically, we will -- you

23     know, the Court requires, although parties don't

24 l always follow the practice, that any sealed

25     pleadings only be sealed by leave of Court.                  I


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 72 of 198

                                                                            72



 1     understand this was quickly developing and a quick

 2     turnaround so --

 3                     MR. STANFORD:        That's really the way it was,

 4     and I'm okay with it being unsealed.

 5                     THE COURT:        Is there any portion of it, Mr.

 6     Gorence, that you believe needs to be sealed?

 7                     MR. GORENCE:        I didn't even know it was

 8     sealed, so I haven't spoke to my client.                I don't

 9     think there's any legal basis that I could claim a

10     seal.

11                     THE COURT:        I didn't see any of the normal

12     stuff that we would redact.                I didn't notice that

13     there was anything in there.                And again, certainly

14     the Court will consider concealing things if

15     there's a reason, and so I'm not asking you to, at

16     this moment, make that determination.                We'll keep

17     it under seal.                How much time do you need to either

18     file a motion or have us unseal it?

19                     MR. STANFORD:        By Monday should be fine.

20     But I think you've hit the nail on the head, that

21     this was a rapidly developing and evolving

22     situation.                The facts were coming in, you know, so

23     quickly that we're still getting stuff in and we

24 l didn't know what needed to be protected.                  But

25     that's fine.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 73 of 198

                                                                            73



 1                     MR. GORENCE:     Your Honor, can I consult with

 2     my client because I didn't know that and now that

 3     explains some things going on.                 But it makes it

 4     seem as if it's nefarious in a different way, the

 5     very fact that it's sealed, and so I would like to

 6     consult with my client, should we seal the whole

 7     thing, because there's a presumption that it's

 8     open.         I don't want to wait for a longer period of

 9     time.         I don't think -- I think it's actually

10     his -- unless the government has something, but all

11     of this is pretty much public and is coming out.

12     No one is here, but could I have one minute to

13     consult with him on this?

14                     THE COURT:     Sure.   On the question of

15     whether I give the government till Monday?

16                     MR. GORENCE:     Yeah, because I --

17                     THE COURT:     Okay.   Sure.    Consult with him.

18                     MR. STANFORD:     And I'm not sure, Your Honor,

19     that I need that time.

20                     THE COURT:     Okay.

21                     MR. GORENCE:     Yeah, we're not moving for any

22     of it to be sealed, Your Honor.                And I think the

23     sealing makes it look, as I said, that there's

24 l something nefarious there that the public can't

25     even know about, so we're not requesting it.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 74 of 198

                                                                        74



 1                     MR. STANFORD:   And I was just reminded that

 2     one of the reasons we kept it to case participants

 3     only is there was some discussion of the collection

 4     methods of the interception of the mail package,

 5     and those oftentimes the agencies like to keep

 6     secret.           But I think that was already revealed in

 7     the criminal complaint, if I recall correctly, and

 8     so we wouldn't really have any further basis for

 9     needing it sealed.

10                     THE COURT:   Okay.   Well, do you want, after

11     today's hearing, to look at that, and if you

12     haven't filed a motion to seal by 5:00 we unseal

13     it, or by tomorrow morning?

14                     MR. STANFORD:   I think tomorrow morning

15     would be fine if that's all right with counsel.              I

16     don't -- I wanted to just ask the agencies if

17     there's anything they want to try to keep secret

18     about that method.           But like I said, if it's in the

19     complaint, the cat is out of the bag.

20                     THE COURT:   Okay.   So I'll keep it -- we'll

21     keep it under seal until noon tomorrow.

22                     MR. STANFORD:   That will be good.

23                     THE COURT:   Except that if there's a motion

24 l to seal it, which will be opposed, or to seal

25     portions of it, just get it filed by noon, and in


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 75 of 198

                                                                          75



 1     that case we'll keep it sealed until the Court

 2     rules on that motion.

 3                     MR. STANFORD:     Yes, Your Honor.

 4                     THE COURT:     Okay.     So are you ready to

 5     proceed with your next witness?

 6                     MR. STANFORD:     I am, Your Honor.      The

 7     government would call Nathaniel Sorenson as a

 8     witness in this case.             He's appearing

 9     telephonically due to his being quarantined as a

10     result of the current pandemic.

11                     THE COURT:     All right.     Mr. Sorenson?

12                     THE WITNESS:     Yes, Your Honor.

13                     THE COURT:     And do we have --

14                     THE WITNESS:     Yes, Your Honor.

15                     THE COURT:     We have him not just by the

16     phone.          We're not just listening to him through the

17     phone speaker.            He's actually on this.

18                     COURT CLERK:     Yeah.

19                     THE COURT:     Okay.     All right.   You're going

20     to be asked to take an oath.

21                     THE WITNESS:     Yes, ma'am.

22                     (NATHANIEL SORENSON was sworn in.)

23                     COURT CLERK:     If you could state and spell

24 l your last name for the record, please.

25                     THE WITNESS:     Nathaniel Michael Sorenson,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 76 of 198

                                                                          76



 1     S-O-R-E-N-S-E-N -- S-O-N, forgive me.

 2                     THE COURT:     All right.   You may proceed.

 3                     DIRECT EXAMINATION BY MR. STANFORD

 4             Q.      Mr. Sorenson, would you tell me what you do

 5     for a living, please?

 6             A.      I'm a special agent with the Office of

 7     Special Investigations.

 8             Q.      And what are your duties as a special agent

 9     with the Office -- let me clarify.              That is the Air

10     Force Office of Special Investigations, correct?

11             A.      Yes, sir, that is correct.

12             Q.      And what does the Air Force Office of

13     Special Investigations do?

14             A.      We conduct ground level criminal

15     investigations, as well as fraud investigations,

16     and we also conduct counterintelligence for the Air

17     Force.

18             Q.      What was the last thing?

19             A.      Counterintelligence.

20             Q.      Counterintelligence, okay.      Thank you.     And

21     what are your duties within the OSI?

22             A.      I am a criminal investigator, sir.

23             Q.      Okay.     And how are you involved in the case

24 l against Charles Justice?

25             A.      I am the lead case agent.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 77 of 198

                                                                      77



 1             Q.      Did you know Mr. Justice prior to this case?

 2             A.      I did not.

 3             Q.      Are you aware that he has a secret level

 4     clearance?

 5             A.      I am.

 6             Q.      Is it unusual for an airman to have a secret

 7     level clearance?

 8             A.      It is not, sir.     Most everyone in the Air

 9     Force has at least that level of clearance.

10             Q.      Are you aware of what unit Mr. Justice is

11     assigned to?

12             A.      I am.

13             Q.      What unit is that?

14             A.      The 377th Squadron, systems security

15     squadron.

16             Q.      And what is the duty assignment?     What is

17     the MOS, I believe is the term, of that unit?

18             A.      The 377th security squadron provides

19     security for certain weapons assets that we have

20     here on Kirtland Air Force Base.

21             Q.      Okay.     Is that unit charged with responding

22     to active shooters?

23             A.      They would only be charged with that when

24 l and if an active shooter occurred in their place of

25     responsibility.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 78 of 198

                                                                         78



 1             Q.      And what was Mr. Justice's place of

 2     responsibility?

 3             A.      He was controller, and so basically he

 4     operated (inaudible) and did infantry control

 5     procedures and things of that nature.

 6             Q.      Okay.     Would it be within the scope of his

 7     duties to investigate potential active shooters?

 8             A.      It would not, sir.

 9             Q.      How did you become involved in this case?

10             A.      The Office of Special Investigations team

11     was notified by Homeland Security investigators

12     that a package was intercepted at JFK Airport in

13     customs that was addressed to Mr. Justice with his

14     full name and his home address.             Contained in that

15     package was a detected firearm silencer.             It was

16     later confirmed to be a firearm silencer, so that's

17     when the case was referred to us being that he was

18     in Albuquerque.

19             Q.      And why would it be referred to you?

20             A.      Because we have the primary jurisdiction

21     over all Air Force personnel.

22             Q.      Okay.     You said that was a silencer.   Did

23     you confirm that the person to whom it was

24 l addressed was the same Charles Justice that was

25     stationed at Kirtland Air Force Base?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 79 of 198

                                                                         79



 1             A.      Yes, sir.     The name on the package was

 2     Charles Brent Justice, and it had his home address

 3     labeled on the front of it as 760 Bravo Silver

 4     Berry Circle, Southeast, Albuquerque, New Mexico,

 5     87116, which also, through our military and law

 6     enforcement database, we were able to confirm that

 7     that is, in fact, Mr. Justice's home address.

 8             Q.      And is it a violation of -- we'll call it

 9     military law.             I may be using the wrong term.    But

10     is it a violation of military law for him to

11     possess that silencer?

12             A.      It is if he does not follow the NFA regs --

13     regulation process.

14             Q.      And in his position, would he be aware of

15     the process to get cleared to possess that

16     silencer?

17             A.      Yes, sir, he would.

18             Q.      Is that, in fact, well known to an airman in

19     his position?

20             A.      Yes, sir, I would say it is.

21             Q.      What was the next step in your

22     investigation?

23             A.      The next step in my investigation was to

24 l conduct law enforcement records checks to verify

25     whether Airman Justice had any criminal history.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 80 of 198

                                                                         80



 1     And then shortly after that we received

 2     notification from HSI that they had a listing of

 3     other items that Airman Justice had ordered to his

 4     residence, and they relayed to us that there were

 5     approximately 30 other firearms-related items which

 6     he had ordered from China that had come through

 7     customs and to his on-base residence which they

 8     suspected at least four or five of those could be

 9     NFA-regulated items.

10                     So we drafted a search authorization and

11     were granted authority to search Airman Justice's

12     on-base residence as well as his vehicles for those

13     items.

14             Q.      Okay.     And will you tell me a little bit

15     more about those 30 items that HSI advised he had

16     ordered previously?             And my first question is they

17     were not in transit.             Are you saying they had

18     already been ordered and, as far as one can tell,

19     delivered to him?

20             A.      That is correct, sir.

21             Q.      Okay.     And what were the items?

22             A.      Some of the items that I can recall would be

23     other firearm suppressors as well as an auto sear

24 l for a Glock handgun which makes the handgun capable

25     of automatic fire, as well as a stock or a butt


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 81 of 198

                                                                      81



 1     stock for a Glock handgun that would allow the

 2     handgun to be shoulder fired.

 3             Q.      Okay.     And then you said a search warrant

 4     was authorized for his residence.             Did you

 5     participate in the search of the house?

 6             A.      I -- I did, sir.

 7             Q.      What items of significance were found during

 8     the search?

 9             A.      Items of significance that were found, we

10     found two other firearm suppressors inside of

11     Airman Justice's home as well as a third firearm

12     suppressor which was affixed to the muzzle of

13     another rifle which was inside his vehicle parked

14     out at the weapons storage area.

15                     As well, we found 17 firearms and just under

16     7,000 rounds of ammunition.

17             Q.      Okay.     Were there any other items that were

18     significant to the team uncovered during the search

19     that maybe weren't guns or ammo?

20             A.      Yes, sir.     As I recall, we found

21     approximately 200 pieces of government equipment,

22     you know, a mixture of between tactical

23     communications headsets, we found approximately 166

24 l of those, as well as armor plating and gas masks

25     and helmets and things that are commonly issued to


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 82 of 198

                                                                       82



 1     military personnel, just not in the quantities that

 2     we found in his home, such as 166 of the tactical

 3     headsets.             There was three helmets, three or four

 4     sets of armor, as well as two gas masks which are

 5     not issued to most military personnel at home

 6     station generally.

 7             Q.      Okay.     Would these things be difficult to

 8     requisition if he needed them?

 9             A.      Can you rephrase your question, sir?     I'm

10     not exactly sure what you mean.

11             Q.      Would he be able to get these things through

12     official channels if he followed the regulations?

13             A.      No, sir.    It definitely wouldn't be granted

14     for somebody to go source this amount of equipment

15     in their personal residence.

16             Q.      Okay.     Is it usual in your experience for an

17     airman to have 17 weapons and 7,000 rounds of

18     ammunition and all the body armor and stuff?

19             A.      I think what I find unusual about it, sir,

20     is it is a base procedure for, if you are going to

21     store firearms in your on-base residence, you have

22     to receive authorization from the chain of command,

23     and Airman Justice had not received that from his

24 l chain of command.               So none of the firearms that we

25     found were registered with the installation.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 83 of 198

                                                                            83



 1             Q.      Is there any chance he simply didn't know

 2     that he was supposed to get authorization for that

 3     stuff?

 4                     MR. GORENCE:       Your Honor, I'm going to

 5     object to that given that it's vague and there's no

 6     foundation and it calls for speculation, what's in

 7     his mind.

 8                     THE COURT:       All right.   Sustained.   Why

 9     don't you have him lay a foundation.

10                     MR. STANFORD:       Sure.

11             Q.      How long have you been in the Air Force?

12             A.      I've been in the Air Force just under seven

13     years, sir.

14             Q.      And are airmen in the Air Force given due

15     notice of the requirements for them to possess

16     items such as the ones found in his residence?

17                     MR. GORENCE:       Your Honor, again, I'd like a

18     foundation.               We'll get into the regs, but there's a

19     very big difference, a big difference between

20     dormitories and a private residence on base, and

21     I'm sure Mr. Stanford, I presume, would know that.

22     So I'd ask for the foundation in terms of the

23     residence that he's in because they're night and

24 l day different, as I'm sure Agent Sorenson knows.

25                     MR. STANFORD:       We're only talking about the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 84 of 198

                                                                        84



 1     residence that he's in.

 2                     THE COURT:     Okay.

 3                     MR. GORENCE:     Well, the regulations are

 4     different, so you asked it broadly about would they

 5     know the regulations.             I would like it specific to

 6     a private duplex.

 7                     MR. STANFORD:     Okay.

 8                     MR. GORENCE:     A residence, not a dormitory.

 9             Q.      Agent Sorenson, are Air Force personnel

10     given due notice of the regulations required to

11     possess items such as those found in Mr. Justice's

12     residence in various places, be it a dormitory, in

13     a Hum-V while riding to work, a personal residence

14     such as where Mr. Justice lives or other areas?

15     Are they given notice of the regulations required

16     for them to possess weapons and items like you

17     found in those various locations?

18             A.      Yes, sir, they are given those.

19             Q.      How difficult would it have been for him to

20     get authorization to possess the weapons and

21     ammunition that you found at his residence?

22             A.      All it is is a form he needs to fill out

23     with the make, model and serial number of each

24 l firearm that he had.               He'd get it signed by his

25     chain of command and turn it in to the armory.


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                                                                         85



 1             Q.      As the investigator, lead investigator on

 2     this case, given how easy it would have been for

 3     him to get permission to have all those things, did

 4     you form an investigative conclusion as to his

 5     intentions of him having them without the

 6     authorization?

 7                     MR. GORENCE:     Objection, Your Honor, calls

 8     for speculation, his intentions --

 9                     THE COURT:     Overruled.

10                     MR. GORENCE:     -- unless there's a basis.

11             Q.      Can you answer the question?

12             A.      Yes, sir.     My -- my thought process would be

13     that he chose not to register them because he wants

14     to conceal the fact that he has them.

15             Q.      Okay.     Did you interview Mr. Justice

16     pursuant to your investigation?

17             A.      I did.

18             Q.      Tell me if --

19                     MR. GORENCE:     Your Honor, I would ask for --

20     pursuant to Rule 26.2, I don't have -- I've seen

21     records that he's been interviewed.             He's going to

22     ask them.             I'd like a foundation as to whether or

23     not that's been codified to a document.             If so, I'm

24 l entitled to it, even at a detention hearing.                So I

25     would ask -- if there's no document or recording,


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                                                                            86



 1     then, of course, I'm not, but I have reason to

 2     believe there is, and if so, I'm clearly entitled

 3     to it if he's going to ask him about a statement.

 4                     THE COURT:        Well, you're not entitled to it

 5     if he's not going to testify about his own

 6     statement.                If he's asking about the defendant's

 7     statement --

 8                     MR. GORENCE:        I think that's what the

 9     question was, did he make a statement, and he's

10     going to say what did he say, so I'd like a copy of

11     the statement.

12                     THE COURT:        Right, but you're not entitled

13     to that under the rule.                Why don't you ask if there

14     was a recording of the defendant's statement.

15             Q.      Did you record that interview?

16             A.      Yes, sir, it was recorded.

17             Q.      Okay.       And I'm going to ask you about the --

18     Mr. Justice's responses to your questions.

19                     MR. GORENCE:        Well, can I get a copy of

20     that, then, Your Honor?                I'd like to continue this

21     hearing because now I am entitled to it.                It's his

22     statement, and I don't know what it says, and I

23     would like a copy of that.                And I can't

24 l cross-examine in terms of what he's going to say

25     because supposedly he's going to say something


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 87 of 198

                                                                             87



 1     about it, and we have the recording, and I don't

 2     have it.

 3                     THE COURT:       Well, but the defendant is not

 4     testifying.               It's not -- it's not the agent's

 5     statement that he's testifying about.                 It's the

 6     defendant's statement.

 7                     MR. GORENCE:       I agree, Your Honor, but this

 8     is not his statement.               It's something that I'm

 9     entitled to at this hearing.                 It exists and I can

10     see whether his statement accurately comports with

11     what the recording says.

12                     MR. STANFORD:       Well, I think if that comes

13     to bear, Mr. Gorence can file for a

14     reconsideration, but I think we're entitled to get

15     the answers from this agent at this time regarding

16     what he personally observed and heard from the

17     defendant.

18                     THE COURT:       Well, 26.2 pertains to the

19     statement of the witness and --

20                     MR. GORENCE:       Well --

21                     THE COURT:       -- the defendant is not the

22     witness.

23                     MR. GORENCE:       But I believe, Your Honor,

24 l that his statement would be incorporated in his

25     report.           That's his statement.        I don't have the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 88 of 198

                                                                              88



 1     full investigative report which would include the

 2     defendant's -- I've seen references to it along

 3     with attachments.             I don't have it, but clearly his

 4     statement is his report in its entirety.                  Within

 5     that report will be some attachments upon which

 6     he's based, so I'm making a request for his report

 7     which clearly would be within the ambit of the Rule

 8     26.2.         Technically -- okay.

 9                     THE COURT:     Okay.     So, under Rule 26.2(f),

10     statement is defined as a written statement that

11     the witness makes and signs or otherwise adopts or

12     approves.             Mr. Gorence is arguing -- we haven't

13     heard this testimony yet so we don't know whether

14     this agent, this witness, has even made a written

15     statement about the defendant's interview.                  So why

16     don't you ask that question, and then we'll take up

17     the question of whether you're entitled to that

18     written statement.             But you're not entitled to it

19     until after the direct examination anyway if, in

20     fact, the statement qualifies under Rule 26.2,

21     which we haven't established.

22                     MR. GORENCE:     And just for the record, Your

23     Honor, I agree we can wait.                I can take a

24 l continuance to read it.                  That's certainly true just

25     like at trial.             It's the same rule.     But my point


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 89 of 198

                                                                         89



 1     is that it's not limited to whether or not Agent

 2     Sorenson wrote a statement reflecting what he heard

 3     from the tape recording.             I'm requesting -- his

 4     statement is his report, and I'm requesting the

 5     report because I believe that -- and, again, I

 6     might not get it before cross-examination, but

 7     that's what I'm requesting, is his entire report

 8     along with attachments.

 9                     THE COURT:   Okay.

10                     MR. STANFORD:   He can still testify as to

11     what his impressions were of the defendant.             We're

12     not putting the agent's statement in issue.             I

13     haven't even asked a single question.

14                     THE COURT:   Okay.   You can make your motion

15     under rule 26.2 after the direct examination has

16     concluded, and then we'll sort out whether there's

17     any document to be turned over under the rule.

18             Q.      Agent Sorenson --

19             A.      Yes, sir.

20             Q.      -- so, as you can tell, we're not going to

21     get into exactly your statements to the defendant

22     and possibly even exactly what he -- what he said

23     in response to your questions.             What I wanted to

24 l ask you was whether, as the lead investigator in

25     this case, anything about your interview with Mr.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 90 of 198

                                                                        90



 1     Justice gave you professional concern regarding Mr.

 2     Justice?

 3             A.      Yes, sir.     There were some things that gave

 4     me concern as far as his statements.

 5             Q.      Can you tell me what gave you concern?

 6             A.      What gave me concern, sir, is, based upon my

 7     training and experience in doing hundreds, if not

 8     thousands, of interviews, while I was interviewing

 9     Airman Justice his responses seemed rehearsed in

10     that he knew what he was going to tell me and he

11     knew the questions I was going to ask and he knew

12     what answers he was going to say before I even

13     asked them and he would hold to those.             And that's

14     what gave me concern, sir, that he had taken this

15     and had forethought, knowingly doing the things

16     that he did and thought out how he was going to

17     explain those actions to law enforcement.

18             Q.      Okay.     Did you find him to be credible?

19                     MR. GORENCE:     Your Honor, I'm going to

20     object to that in terms of his basis for

21     familiarity, his ability to operate as a human lie

22     detector.             I've never heard that question asked of

23     an agent before.            It's certainly not admissible in

24 l any other forum, and it's opinion testimony without

25     any basis as an expert.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 91 of 198

                                                                            91



 1                     THE COURT:        All right.   Why don't you ask

 2     him whether there was anything about the -- about

 3     Mr. Justice's statements or answers that led him to

 4     believe that Mr. Justice was not being truthful.

 5                     MR. STANFORD:        And I can go back and lay

 6     some foundation --

 7                     THE COURT:        Okay.

 8                     MR. STANFORD:        -- but this question is asked

 9     of nearly every agent regarding an interview, and

10     this is also not a trial.

11                     THE COURT:        Okay.   One other -- one other

12     thing I want before you continue on the

13     questioning.                Just for purposes of getting through

14     this more quickly, under Rule 26.2, after a witness

15     other than the defendant has testified on direct

16     examination, the Court, on the motion of the party

17     who didn't call the witness, must order an attorney

18     for the government to produce for the examination

19     and use of the moving party any statement of the

20     witness that is in their possession and that

21     relates to the subject matter of the witness'

22     testimony.

23                     So Mr. Gorence is asking for any reports, if

24 l there's any written report relating to his

25     testimony.                I mean, the Court is going to grant


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 92 of 198

                                                                         92



 1     that motion.              So, if, in fact, there is a written

 2     report that this witness has made and signed or

 3     otherwise adopted or approved and you know about

 4     that, can we get the process going to get those

 5     documents over here so we can continue this

 6     hearing?

 7                     MR. STANFORD:      Why don't I ask the witness

 8     if we have that.

 9                     THE COURT:      Okay.

10             Q.      Agent Sorenson, did you write a report which

11     involved you making a statement where you assessed

12     Mr. Justice's credibility, which is what I just

13     asked?

14                     THE COURT:      Nope, nope, not limited to that.

15     Any -- any written statement that relates to the

16     subject of his testimony.               He's talked about other

17     things, as well, up to this point.

18             Q.      Okay.     Did you hear the judge's question?

19             A.      Yes, I did, sir.

20             Q.      Regarding the questions I've asked you so

21     far today, did you write a report that speaks to

22     the testimony you've made here?

23             A.      So the way I will answer is I had a report

24 l in work.              Our investigation is still ongoing.     That

25     report is an all-encompassing of everything we've


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 93 of 198

                                                                          93



 1     done, and we have not completed all of our steps

 2     yet.         So that report is a draft copy right now and

 3     is not finalized.

 4             Q.      And does that report, does it list kind of

 5     what you did, we executed the search warrant, we

 6     found these items, or does it also include your

 7     mental impressions of the way all this stuff

 8     worked?

 9             A.      It includes both of those things.

10                     THE COURT:     Well, let me just ask the

11     witness so we can cut to the chase.              Your

12     incomplete report, have you signed it?

13                     THE WITNESS:     No, ma'am.

14                     THE COURT:     Have you adopted or approved it

15     at this point in the stage that it's in in draft

16     form?

17                     THE WITNESS:     No, ma'am.

18                     THE COURT:     I'm sorry, I didn't hear your

19     answer.

20                     THE WITNESS:     No, no.   It's only a draft

21     form at this point.

22                     THE COURT:     Okay.   Then it doesn't qualify,

23     so let's continue.

24 l           Q.      Okay.     So you had mentioned a minute ago

25     that you'd done hundreds and perhaps thousands of


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 94 of 198

                                                                        94



 1     interviews like this.            Did I hear that right?

 2             A.      That's correct, sir.

 3             Q.      And as an OSI agent, are you trained to

 4     detect when someone you're interviewing is not

 5     being candid or is trying to lie?

 6             A.      Yes, sir, we are -- we are trained in signs

 7     of deception.

 8             Q.      And when you were interviewing Mr. Justice,

 9     were you applying the training that you have

10     learned in this area and also applying the

11     experience of having conducted hundreds, if not

12     thousands, of interviews?

13             A.      I was, sir.

14             Q.      And based on that, did you find his answers

15     to your questions to be credible?

16                     MR. GORENCE:     Your Honor, I have the same

17     objection, and I think the foundation, has he made

18     a statement that has proven to be false?             The

19     opinion testimony -- and I've only been doing this

20     for 37 years, but I've never heard an agent be able

21     to opine on credibility at a detention hearing or

22     trial.

23                     THE COURT:     Well, the rules of evidence

24 l don't apply in the detention hearing.

25                     MR. GORENCE:     I understand.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 95 of 198

                                                                          95



 1                     THE COURT:      I'm going to let the witness

 2     answer the question.

 3                     MR. GORENCE:      Okay.

 4             Q.      Okay.

 5             A.      You'll have to -- do you mind asking me the

 6     question again, sir?

 7             Q.      I'm sorry.      Based on your training and

 8     experience, did you find his answers credible?

 9             A.      No, sir.

10             Q.      Why?      Why was that?

11             A.      One that comes to mind clearly is, when I

12     was discussing one of the firearm silencers with

13     Airman Justice, he told me that the use of that

14     silencer was to prevent the smell of gun cleaning

15     supplies because it bothered his spouse.

16     Subsequent to that interview, I saw a video with my

17     own eyes of that very same firearm suppressor being

18     affixed to the muzzle of a firearm and shot through

19     which is directly contrary to what Airman Justice

20     explained to me that that device was used for.

21             Q.      Okay.     So if I can -- if I can restate that

22     accurately, he denied having used the silencer as

23     it's designed to suppress a firearm, you know,

24 l report, and then you later saw a video that

25     contradicted what he said?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 96 of 198

                                                                         96



 1                     MR. GORENCE:     Your Honor, I'm going to say

 2     that's not what the agent said.              It

 3     mischaracterizes his testimony.              But if he can

 4     answer it the way it's been asked, I guess it's

 5     okay, but that isn't exactly what he said.

 6             Q.      If I had that wrong, would you mind

 7     clarifying it for us?

 8                     THE COURT:     Overruled.

 9                     MR. GORENCE:     On top of that, he's leading.

10                     THE COURT:     Okay.   Overruled.   You can

11     answer the question, and if he mischaracterized it

12     you can clarify.

13                     THE WITNESS:     I think I understand what he's

14     trying to ask, ma'am.

15             A.      The device that I was asking Airman Justice

16     about in the interview, he told me it was used to

17     prevent the smell of the gun, gun cleaning

18     supplies, and he said that he did not use it as a

19     firearm suppressor.             Yet I watched the video with

20     my own eyes watching that firearm suppressor being

21     affixed to the end of a rifle and shot through and

22     fired through, which is exactly or directly on the

23     contrary of what Airman Justice told me that

24 l firearm was used for, and he even said he did not

25     use it for that purpose.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 97 of 198

                                                                      97



 1             Q.      Did you -- were you able to identify the

 2     person in the video who was shooting that silencer

 3     or that silencer on the end of a rifle?

 4             A.      I was.

 5             Q.      And who was it?

 6             A.      That was Technical Sergeant Taboada, and his

 7     first name is slipping my mind at the moment.

 8             Q.      And are you aware of whether or not Mr.

 9     Justice and that individual are acquainted?

10             A.      I am aware.

11             Q.      Are they?

12             A.      They are.

13             Q.      Where -- what was the source of that video?

14             A.      Based upon the witnesses I interviewed who

15     were captured within that video, Airman Justice was

16     the videographer and made that video himself.

17             Q.      Where did you find that video?

18             A.      It was on a YouTube site.   It was on

19     YouTube.dd out of Germany.

20             Q.      And who was the -- what was the user name of

21     the video posting?

22             A.      The user name was C. Justice 2016.

23             Q.      Any idea why that was posted on a German

24 l YouTube?

25             A.      I don't know why it would be posted there,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 98 of 198

                                                                       98



 1     sir.         The only thing I can speculate is that it was

 2     put there to stay off of American viewed YouTubes

 3     to possibly hide its source of origin.

 4             Q.      Did you ask Airman Justice about that video?

 5             A.      I -- that video was brought to my attention

 6     after the interview, and at that point Airman

 7     Justice had invoked his right to legal counsel.

 8             Q.      Okay.     And after that, did you try to find

 9     the video again?

10             A.      I have, yes.

11             Q.      And is it still present on German YouTube?

12             A.      It is not.     When I was trying to find that

13     video again, it said the video was removed by the

14     user.

15             Q.      I want to go back to the search a little

16     bit.         Did you find any silencers attributable to

17     Mr. Justice other than the ones in his residence?

18             A.      Yes, sir, we found one in his vehicle which

19     was affixed to the muzzle of a rifle.

20             Q.      And where was the vehicle when you found

21     that silencer on the rifle?

22             A.      The vehicle was parked out at the 377th

23     weapons systems security squadron which is a

24 l national security area.

25             Q.      Okay.     What kind of rifle was it?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 99 of 198

                                                                            99



 1             A.      It was a .22-caliber single-load-shot rifle.

 2             Q.      Okay.       Did you review the files saved to Mr.

 3     Justice's phone?

 4             A.      I did.

 5             Q.      And you examined those yourself?

 6             A.      Yes, sir.

 7             Q.      Did you find any of those files disturbing

 8     in any way?

 9             A.      Yes, sir.

10             Q.      Which ones?

11             A.      Specifically, I found approximately 42

12     images of manufacturing methods for improvised

13     explosive devices to include Molotov cocktails,

14     tri-acetone tri-peroxide or TATP, as well as a

15     couple of others such as a homemade plastic

16     explosive.                Some other things I noticed is there

17     was multiple images depicting anti-law enforcement

18     and anti-government type statements either calling

19     law enforcement officers profane names, joking of

20     their death, saying that law enforcement officers

21     beat their wives and as well as some

22     anti-government stuff, making jokes at the death of

23     politicians and things of that nature, sir.

24 l                   One thing that probably concerned me the

25     most out of any of it, though, as I was scrolling,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 100 of 198

                                                                    100



 1     which was before all of the research on how to make

 2     IED, there was a photograph which depicted the

 3     license plate of one of my work colleagues, who is

 4     also an OSI agent, and the video appears -- or the

 5     photograph appeared to be taken in the parking lot

 6     of OSI 14.

 7                     Some of the other stuff I noticed was there

 8     was some -- a document saved to phone called The

 9     Great Replacement.

10             Q.      Okay.

11             A.      That document is a known white supremacy

12     document, and it's known to have insight into the

13     mass shootings of both Christchurch, New Zealand,

14     as well as the mass shooting last year in El Paso,

15     Texas.          Both of those shooters referenced that

16     document as being their -- one of their

17     motivations.

18                     Also in the documents on his phone was a

19     document which describes in detail of how to create

20     a submachine, a 9-millimeter submachine gun, with

21     parts you could buy at a hardware store just at

22     home.         And that document was also locked on his

23     phone and I had to have a pass code in which to get

24 l to it, so it appeared that he had made attempts to

25     hide that from anyone who would be able to look at


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 101 of 198

                                                                      101



 1     his phone.

 2             Q.      Okay.     Did you -- did you share with your

 3     colleagues the fact that he had a photograph of one

 4     of their license plates?

 5             A.      Yes, sir, right away.

 6             Q.      And did that cause concern among the group?

 7             A.      Absolutely, sir.

 8             Q.      Did you have an investigative conclusion as

 9     to why he might have that license plate?

10             A.      To identify a person or a vehicle which he

11     planned to do something with in the future or

12     somehow to save it for reference for some reason.

13             Q.      Is there any job-related reason an airman in

14     Mr. Justice's position would research hate crimes

15     or hate speech and save it to his phone?

16             A.      Absolutely not.

17             Q.      Is there any legitimate reason an airman

18     would store anti-government rhetoric on his phone?

19             A.      Absolutely not.

20             Q.      What about racist rhetoric?

21             A.      Absolutely not, sir.

22             Q.      And what about storing instructions for

23     making explosives?

24 l           A.      No, sir, no reason for that.

25             Q.      Is there any reason that his professional


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 102 of 198

                                                                    102



 1     curiosity, for lack of a better word, might justify

 2     storing that on his phone?

 3             A.      Well, I would say no, sir.   And my basis on

 4     that is, if he did have professional curiosity, I

 5     imagine he would have researched these things maybe

 6     at the beginning of his job or something to look

 7     for these signs or these IED documents in his

 8     workplace, but he did all of this research on the

 9     20th of January this year and he's near to

10     separating from the Air Force.          So I'm not sure why

11     he would decide to review all this at this point

12     being that he's gone the last almost six years

13     without needing to look at it.

14                     As well, the Air Force has bomb experts,

15     explosive experts and official training avenues in

16     which he would be able to get this training, but

17     all of those explosive and IED manufacturing

18     techniques were retrieved from an Instagram group

19     which is called Free Rope Ride, and the photo icon

20     for that group is a hangman's noose, and all

21     throughout that group is white supremacism, racism,

22     anti-law enforcement, how to make machine guns, how

23     to make bombs, that's all that that group is for,

24 l and that's where he screen-shotted and saved these

25     IED manufacturing techniques.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 103 of 198

                                                                       103



 1             Q.      Okay.     So you're saying, if he had

 2     professional curiosity, the Air Force has fellow

 3     airmen who could instruct him who are pros at doing

 4     this if he wanted to learn how to do this?

 5             A.      Yes, sir.     And it's also a biannual

 6     requirement that airmen receive IED recognition

 7     training from the base, from the experts.                He

 8     received this training anyway.

 9             Q.      So he already got that two times a year?

10             A.      That's correct, sir.     He would have received

11     that approximately three times throughout his

12     enlistment.

13             Q.      And in your job as an OSI agent, have you

14     ever run across other airmen who have saved files

15     like these to their personal devices?

16             A.      No, sir.

17             Q.      Did you, in the course of the search of his

18     residence, also recover anything else like thumb

19     drives, computers?

20             A.      Yes, sir, we did.

21             Q.      And has anyone had a chance to go through

22     those to see if there are similar materials stored

23     on those devices?

24 l           A.      I -- I believe we have gone through a couple

25     of them.            I have not personally, but I know the --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 104 of 198

                                                                    104



 1     I know the criminal agent who called me had

 2     reviewed some of those digital media, as well, but

 3     I don't believe anything else has been found.

 4             Q.      Okay.     Are airmen, in fact, discouraged from

 5     looking at those kinds of things?

 6             A.      Absolutely, sir.

 7             Q.      And from storing them on their personal

 8     devices like a phone?

 9             A.      That would be correct.

10             Q.      Is there any legitimate purpose that Mr.

11     Justice would have for possessing a silencer?

12             A.      No, sir.

13             Q.      What about a kit to convert a Glock to a

14     machine gun with a butt stock?

15             A.      No, sir.

16             Q.      Do you believe -- based on your involvement

17     with this case and your prior experience, do you

18     believe Mr. Justice is a flight risk?

19             A.      I do.

20             Q.      And why is that?

21             A.      I'm basing that on the fact that during the

22     review of his phone I found a bug-out checklist, if

23     you will, where Airman Justice had forethought and

24 l planned out what he would need to do when he met a

25     situation which warranted him having to flee, what


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 105 of 198

                                                                     105



 1     items he needed to bring with him, what he would

 2     need for his wife, what he needs for his children,

 3     what firearms, ammo, food and clothes they would

 4     need.         He had a thought-out and planned-out

 5     checklist with which to do so.

 6             Q.      Could that list also be for an innocent

 7     purpose?

 8             A.      I suppose that it could, sir, but I think in

 9     general the fact that he had forethought and plan

10     to flee gives him the -- not only the ability to do

11     so but the ability to do so quickly.

12             Q.      Does Mr. Justice have any specialized

13     training that makes him prepared to escape or evade

14     law enforcement?

15             A.      Yes, sir, he does.

16             Q.      Tell me about that training, please.

17             A.      So, through the United States Air Force,

18     they require training that we receive to -- and the

19     training is called survival (inaudible), and he was

20     trained.            And that is a cyber-based training that

21     is given to all airmen, especially ones in airman

22     status.           And what that training does, it teaches

23     people to survive in noncivilized environments,

24 l teaches people to escape capture, to resist capture

25     and to evade capture of the enemy.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 106 of 198

                                                                       106



 1             Q.      Okay.     Do you believe that he presents a

 2     danger to the community?

 3             A.      I do.

 4             Q.      Why is that?

 5             A.      Because of his training and experience, all

 6     of the documents that we found on his phone where

 7     he is researching the same documents that other

 8     mass shooters researched.             He has photographs of

 9     AR-15 magazines with mass shooters' names written

10     on them.            He has multiple firearms.   He's received

11     countless days and hours of firearms and weapons

12     training.             He's researching how to make IEDs and

13     explosives, and, based upon all of that, I did not

14     believe that he would be a safe member of society.

15             Q.      Have you received training on identifying

16     active shooters?

17             A.      I have.

18             Q.      Does Mr. Justice meet that criteria?

19                     MR. GORENCE:     Your Honor, I'd like a

20     foundation of what the criteria is and whether it's

21     actually what he's talking about with an active

22     shooter.

23                     THE COURT:     Why don't you ask a little bit

24 l about the training.

25                     MR. STANFORD:     Okay.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 107 of 198

                                                                      107



 1             Q.      Agent Sorenson, tell me a little bit about

 2     the training that you've received on identifying

 3     active shooters and some of the things you've been

 4     taught to look for when evaluating someone as a

 5     potential risk for active shootings.

 6             A.      Okay.     The training I received was through

 7     the federal law enforcement training center in

 8     Glynco, Georgia.            We spent multiple hours going on,

 9     researching prior active shooters and what signs

10     they exhibited, as well as we went through live

11     trainings of how to deal with mass shooters in a

12     live environment, as well as case studies and

13     readings and lectures.

14                     And the second part of your question, sir,

15     was what signs did I see in Airman Justice with

16     that training.             The fact that he is researching

17     other mass shootings to find their fault, the fact

18     that he is stockpiling the amount of weapons and

19     ammo to do so, as well as he has enlisted in the

20     Armed Forces and received the training to be able

21     to do so, which is normally a very honorable thing,

22     but we have seen in the past other active shooter

23     successfully -- for example, there was one in Texas

24 l a couple of years ago, the church shooting, who was

25     a prior Air Force member.             And we have seen these


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 108 of 198

                                                                     108



 1     people have enlisted in the Armed Forces merely to

 2     receive the firearms and weapons training on the

 3     taxpayers' dime to be able to use that for a

 4     nefarious purpose.             As well as his forethought

 5     during my interview, with him having all of his

 6     answers predetermined and rehearsed, telling me

 7     exactly what he thought I needed to hear, all of

 8     those signs put together make me believe that he is

 9     a threat to society.

10             Q.      Okay.     I'm nearly finished here.   I want to

11     go in a little bit different direction for just a

12     moment.           Are you aware of the pretrial confinement

13     review of Mr. Justice?

14             A.      I am.

15             Q.      And are you aware that several people who

16     were interviewed for that review spoke on his

17     behalf favorably?

18             A.      Yes, sir.

19             Q.      Do you know whether the people who spoke

20     favorably on his behalf were aware of the materials

21     on his phone when they made those statements?

22             A.      I know of at least two of those members who

23     spoke and wrote affidavits on his behalf, in fact,

24 l did not know of any of the racist or IED

25     manufacturing techniques or anti-law enforcement


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 109 of 198

                                                                      109



 1     rhetoric which he had saved on his phone.

 2                     MR. STANFORD:     Pass the witness, Your Honor.

 3                     CROSS-EXAMINATION BY MR. GORENCE

 4             Q.      Agent Sorenson, it's slightly different

 5     given this environment that we're currently in, so

 6     not being able to see you, let me ask first on this

 7     report, when do you anticipate your report being

 8     finished and who does it go to at that point?

 9             A.      So the anticipation, sir, is -- it would be

10     hard for me to say because every investigative step

11     that we do opens another door.             So it would be

12     really hard for me to give you a strict timeline.

13                     But I can answer the second part of the

14     question, sir, which is who does it go to.             It goes

15     to my special agent in charge, and he would review

16     that.         He would send it up to our region, which is

17     our -- sort of a higher headquarters of ours, to

18     ask approval to publish.             If they bless the report,

19     he would sign it, and at that point it would be a

20     completed report.

21             Q.      Okay.     Was it -- did you know -- Airman

22     Justice was arrested on February 19th of this year,

23     was he not?

24 l           A.      He was.

25             Q.      And he was initially held in custody until


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 110 of 198

                                                                       110



 1     that hearing that you've referenced which was on

 2     February 25th, right?

 3             A.      That's correct.

 4             Q.      And that is a reviewing officer.     In this

 5     case, it was Colonel David A. Carlson.             He was the

 6     pretrial confinement review officer, was he not?

 7             A.      He was, sir, that's true.

 8             Q.      And tell me, was -- that hearing consumed

 9     the better part of that day, didn't it?

10             A.      I don't -- I don't know how long it took,

11     sir.         I know that I was a part of it.      I was the

12     first witness called, and then after that I was

13     excused so I'm not sure about how long that took.

14             Q.      Okay.     So you testified before Colonel

15     Carlson?

16             A.      That's correct, sir.

17             Q.      And that was under oath?

18             A.      It was.

19             Q.      I don't know the process under the Uniform

20     Code of Military Justice.             Is that transcribed or

21     is that recorded, as well, your statement before

22     Colonel Carlson?

23             A.      There is a court officer.     It's very similar

24 l to federal court, from what I understand.               I do

25     believe that there is either a written


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 111 of 198

                                                                            111



 1     transcription or an audio recording of the event,

 2     sir.

 3             Q.      Okay.       So that would be a completed

 4     statement under oath that you've given previously

 5     with the same subject matter as this, correct?

 6             A.      If a report was finalized by that court

 7     officer, then I suppose it would be, yes.

 8             Q.      Well, the court officer, I mean, you

 9     understand Colonel Carlson did not adopt your

10     recommendation nor the prosecutor's recommendation

11     under the standard that he was a danger to himself

12     or others or a flight risk and released him.                  He

13     disagreed with your assessment.                You would agree

14     with that, right?

15             A.      That is true.        That did happen.

16             Q.      Okay.       Well, and what I'm getting at is, I

17     want to get your statement in front of him.                  I take

18     it that you say you're the case agent.                  You've at

19     least collected that information from what would be

20     the military detention hearing, have you not?

21             A.      I'm not sure I understand what you're trying

22     to ask, sir.

23             Q.      Okay.       Well, the hearing exists.     There's

24 l some sort of record of it, either a transcript or a

25     recording.                Have you -- have you collected it as


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 112 of 198

                                                                      112



 1     the case agent?

 2             A.      No, sir, I have not taken that as a part of

 3     my investigation.

 4             Q.      Well, how does one go about obtaining what

 5     is your prior statement that exists in some form?

 6     We have your report which is still not -- let me

 7     ask you this.             Did your report go to Colonel

 8     Carlson even though it was a draft?

 9             A.      No, sir, it did not.

10             Q.      Okay.     How does -- where is the record of

11     the hearing before -- I don't need the whole

12     hearing.            I just want your testimony before Colonel

13     Carlson.            Who has possession of that, that

14     statement of yours?

15             A.      I would imagine that would be kept with the

16     377th air base wing legal office, sir.

17             Q.      Well, you certainly can obtain it as the

18     case agent with the Office of Special

19     Investigations, can you not?

20             A.      Are you asking me if I have the ability to

21     obtain the document?

22             Q.      Yes.      If you're going to be collecting all

23     the information on a case, which is my

24 l understanding of a case agent even in the military

25     context, part of that would be all of the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 113 of 198

                                                                          113



 1     information presented to Colonel Carlson when he

 2     disagreed with you so profoundly.

 3             A.      Right.

 4                     MR. STANFORD:     I'm going to object to that.

 5             A.      So I think I understand --

 6                     THE COURT:     Hold on, hold on.     Hold on, Mr.

 7     Sorenson.

 8                     THE WITNESS:     Oh, okay.

 9                     MR. STANFORD:     Your Honor can read the

10     report.           It's one of the exhibits.       And at the end

11     of it, Colonel Carlson, who is neither an attorney

12     nor a judge, does not disagree profoundly with

13     Special Agent Sorenson.             That is a

14     mischaracterization.

15                     Second of all, for all we know, this is the

16     report.           Mr. Gorence actually gave it to me.       He

17     had it before I did.             Mr. Sorenson's statement is

18     contained within this report.                So he's just stated

19     he doesn't know whether there was a recording or

20     whether there was a transcript.                He doesn't know.

21     He's being asked to speculate who might have it,

22     what it is, where it is.             He doesn't know.     But we

23     have the statement right here.

24 l                   THE COURT:     Well, okay.     Rule 26.2 pertains

25     to a statement in the witness' possession.                It can


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 114 of 198

                                                                      114



 1     include a substantially verbatim, contemporaneously

 2     recorded recital of the witness' oral statement

 3     contained in any recording or any transcription of

 4     a recording.

 5                     Mr. Sorenson, do you possess any

 6     substantially verbatim, contemporaneously recorded

 7     recital of an oral statement that you've made that

 8     relates to your testimony here today that's

 9     contained in any recording or any transcription of

10     a recording?

11                     THE WITNESS:     Did that pertain specifically

12     to the confinement hearing, ma'am, or are you

13     asking me in general throughout the entire

14     investigation?

15                     THE COURT:     Do you -- do you have in your

16     possession a contemporaneously recorded or

17     substantially verbatim transcript or recording of

18     an oral statement you have made that relates to the

19     testimony you've provided here in court today?

20                     THE WITNESS:     The recordings that I

21     currently have, ma'am, is a recording of the

22     interview between me and Airman Justice and a

23     recording of an OSI agent and Airman Justice's

24 l spouse.             Those are the two recordings I have and

25     that is it.


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                                                                         115



 1                     MR. GORENCE:        Your Honor, I am requesting

 2     that, although rule 12 still applies, I have a

 3     statement of the defendant that has to be turned

 4     over.         I'm asking for that.         Two, the Court's

 5     reading of Rule 26.2, just for the record in case

 6     there's an appeal, is a little crimped.                 The

 7     reality is possession is also constructive

 8     possession.               The law is very clear that a case

 9     agent who chooses not to obtain something but has

10     it in his constructive possession; i.e., his own

11     statement which is recorded before a colonel who

12     I'm going to say -- I've seen the report.                 The

13     report disagrees and finds that he's not a danger

14     or flight risk, so I'm asking --

15                     THE COURT:        I'm not bound by anything that

16     happened in the Air Force.

17                     MR. GORENCE:        Of course not.   But I'm just

18     saying the characterization, he's offered an

19     opinion here.               A full colonel in the Air Force

20     disagreed.                Of course you're not bound by it, but

21     the idea that just because he chooses not to obtain

22     his tape-recorded statement which he has access to,

23     he's in constructive possession of it and I'm

24 l entitled -- I would like to see the transcript.                     It

25     is clearly a statement he's made.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 116 of 198

                                                                      116



 1                     So, if the Court wants to rule that he

 2     doesn't physically have it in his quarantined

 3     hands, that is not the law.

 4                     THE COURT:     No, no, that's not my -- that is

 5     not what I'm ruling.             I'm asking him if he

 6     possesses any statements, and he has just described

 7     what he possesses.             Now, back to the questions that

 8     Mr. Stanford asked, or maybe you asked, about who

 9     has those statements or how -- whether he could

10     obtain them, it sounded like it was a differing

11     unit.         He doesn't have control over the hearing

12     officer's statements, does he?

13                     MR. GORENCE:     I thought he said he did.

14             Q.      Let me ask you, Special Agent Sorenson, with

15     regard to your status as an agent in the Office of

16     Special Investigations, do you have the ability to

17     get only your statement, your tape-recorded or

18     transcribed statement, that you made to Colonel

19     Carlson?            Is that within your ability as a special

20     agent?

21             A.      Honestly, sir, I've never done that before,

22     so I don't know what the legal grounds would be as

23     far as him being able to release that to me.             But

24 l if it is lawful for them to give that to me, I do

25     believe I have the ability to, pending that


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 117 of 198

                                                                        117



 1     knowledge.

 2                     MR. GORENCE:     Well, I'm asking for it, Your

 3     Honor, particularly if there's appellate review.

 4     I'm entitled to it.             I've never heard of a special

 5     agent not being able to get -- and I've done a lot

 6     of OSI investigations with regard to prosecuting

 7     them in terms of when I was sitting over there.

 8                     THE COURT:     Okay.   Well, the question is

 9     whether it's in his possession or constructive

10     possession, and if the hearing was recorded by a

11     separate branch and he would -- such as the court

12     and he would have to go in and make a special

13     request for his recorded testimony today, that's

14     not within his possession.

15                     MR. GORENCE:     I disagree.

16                     THE COURT:     Okay.

17                     MR. GORENCE:     And I just want to say, I

18     think I'm entitled to my own client's statement

19     under Rule 12 if it exists, which it clearly does.

20     He's got that.            I'm entitled to that even in a

21     detention hearing, although the rule triggers after

22     arraignment, but they have it already.              Next, I

23     think I'm entitled to his tape-recorded statement,

24 l and especially he says he can't get it.                He hasn't

25     even tried to get it.             So I'm asking for both.      But


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 118 of 198

                                                                        118



 1     I understand the Court can rule on it, but I

 2     believe I'm entitled to both.

 3                     THE COURT:     Okay.   So I am going to deny

 4     your request for both of those statements.

 5                     MR. GORENCE:     I also would ask, in the event

 6     of a de novo appeal, that at least -- because I

 7     believe Agent Sorenson would testify again, I'm

 8     going to call him, that he might labor to actually

 9     ascertain whether he has the constructive power as

10     a case agent to obtain all information which would

11     be the evidence, and it is evidence we're talking

12     about, that was taken by Colonel Walton.

13                     THE COURT:     Well, that's something that I

14     will let you and the government work out.

15     Certainly, Mr. Stanford, if there's -- prior to any

16     hearing on an appeal, if there's an ability to --

17     if Mr. Sorenson obtains that or has constructive

18     possession of that statement, then it would need to

19     be produced, and certainly the parties can confer

20     and you can come to some agreement for him to get

21     the material even if he doesn't possess it within

22     the meaning of Rule 26.2, but I'm not going to

23     order it yet.

24 l                   MR. STANFORD:     I have an idea.   What if I

25     just ask him nicely?             Special Agent Sorenson, would


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 119 of 198

                                                                       119



 1     you mind looking into whether or not you can obtain

 2     that transcript or recording?             And if you can't,

 3     would you ask what method I could use to get it?

 4                     THE WITNESS:     Yes, sir, I'd have no problem

 5     doing that.

 6                     MR. STANFORD:     Thank you.

 7             Q.      Agent Sorenson, you indicated you did a

 8     criminal history check on Airman Justice.              You saw

 9     that he has no convictions of any type, correct?

10             A.      I did see -- I didn't see any prior criminal

11     convictions, no.

12             Q.      Okay.     And in terms of any disciplinary

13     actions directed against him while he's been in the

14     Air Force for the last five years, I've seen -- one

15     has to do with not wearing his beret when he was

16     wearing a helmet, and that's part of the report

17     actually that went to Captain Walton, correct?

18             A.      Yes, sir, I believe that's true.

19             Q.      That doesn't involve violence in the

20     slightest, obviously.             I read it correctly, right?

21             A.      The fact of him wearing a helmet instead of

22     his required head gear, no, I don't believe that

23     involved violence.

24 l           Q.      Okay.     And it was required.   I mean, he got

25     a reprimand, but it was the idea of whether he was


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 120 of 198

                                                                          120



 1     actually on active duty and needing his helmet or

 2     whether he should have been in a beret, but the

 3     point is you're not using that to form any basis of

 4     dangerousness in the slightest, are you?

 5             A.      The fact that he -- no.     So that particular

 6     disciplinary action, sir, no, I didn't calculate

 7     that into whether or not he's a danger to society.

 8             Q.      Okay.     Well, it's part of the government --

 9     it's an attachment to the government's motion to

10     detain, so I wanted to clarify that.             It bears no

11     reference to the relationship to the idea that he's

12     a danger to the community or flight risk.                No, I

13     think we've got that established.

14                     Next, there appeared to have been an

15     allegation of shoplifting in 2016.             Are you

16     familiar with that?

17             A.      I am familiar with that, sir, but it's a

18     little more than an allegation.             I mean, he

19     received nonjudicial punishment for that action.

20             Q.      What I want to get to -- but he wasn't

21     pros -- he didn't get a criminal conviction.                It

22     was handled simply with a warning of some sort by

23     the Air Force, right?

24 l           A.      That is -- that is incorrect, sir.        Article

25     15 is nonjudicial punishment.             It is definitely


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 121 of 198

                                                                      121



 1     more than a warning.             He lost rank for it.   He had

 2     forfeiture of pay for stealing approximately $300

 3     worth of ammo from Sportsmen's Warehouse.

 4             Q.      Okay.

 5             A.      But it's definitely more than a warning.

 6             Q.      Okay.     Thanks for clarifying that.   But that

 7     certainly doesn't make him a danger or a flight

 8     risk, does it?

 9             A.      I think it just shows a propensity to

10     violate the law.

11             Q.      Okay.     Now, you keep referring to these

12     devices, and I want to talk about the three that

13     were found at the house, the silencers.             Have you

14     looked at the Title 18 definition, 18 United States

15     Code, of a silencer?

16             A.      Yeah.     The United States Code 922, sir?

17     Yes, sir, I have looked at that.

18             Q.      Okay.     That's the statutory definition in

19     terms of what it actually has to do in terms of

20     suppressing sound, and then there are corresponding

21     regulations with regard to the degree of sound

22     suppression, right?

23             A.      I'm unsure of that, sir.     What I do know is

24 l 18 United States Code 922 gives the legal

25     definition of what constitutes a firearm


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 122 of 198

                                                                       122



 1     suppressor.

 2             Q.      Okay.     And have you done any tests in any

 3     way to see if these devices actually suppress sound

 4     in any way?

 5             A.      No, sir.    All that I've done is read the law

 6     and seen what the pieces were with each of these

 7     firearm silencers, as well as consulted with the

 8     experts at the ATF, and we all came to a conclusion

 9     that the devices that we found met the criteria as

10     laid out in 18 United States Code 922, and they

11     constituted firearm silencers.

12             Q.      Okay.     Actually, I just want to use your

13     experience because Agent Kempton, I take it, is the

14     person you talked to at ATF, correct?

15             A.      He's one of the agents I've worked with,

16     yes.

17             Q.      Okay.     Well, you know, I take it, given your

18     Glynco training, I would assume, that to actually

19     be able to testify that something is a silencer,

20     someone has to say that it suppresses sound, right?

21                     MR. STANFORD:     We're pretty far afield of

22     dangerousness and flight risk.             Whether or not it's

23     a silencer or not, he obviously believes it.             Going

24 l any further, that's an issue for trial or a

25     (inaudible) hearing which we're not in.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 123 of 198

                                                                       123



 1                     THE COURT:     Well, although the defendant

 2     waived his preliminary hearing and probable cause

 3     has been found to support the charges, one of the

 4     factors that the Court has to consider in 3142(g)

 5     is the weight of the evidence, and so I will allow

 6     this questioning a little bit more.

 7                     MR. GORENCE:     I understand.   I just want --

 8             Q.      The fact of the matter -- we'll get into all

 9     three.          You don't know one wit as to whether any

10     one of them suppresses the mere decibel.              You would

11     agree with that?             You don't know a thing, do you,

12     as to whether or not they really act as a

13     suppressor?

14             A.      I don't agree with that, sir.      So I've done

15     multiple witness interviews of people who have gone

16     shooting with Airman Justice and said that he

17     refers to these items, which during the (inaudible)

18     interview he referred to as muzzle breaks, but he

19     referred to his friends that are shooting with him,

20     he refers to them as silencers and he shot through

21     them.         And multiple of the witnesses I have

22     interviewed have said that they have greatly

23     reduced the sound, as well as I've seen a video

24 l that he made of the rifle that we found in his

25     truck out at the W, which is the west storage area,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 124 of 198

                                                                       124



 1     that he had -- one of the firearm silencers that we

 2     found affixed to that muzzle, and he discharged it,

 3     and I can greatly tell a difference because, being

 4     a law enforcement officer, having many, many hours

 5     of firearm training, shooting rifles and handguns,

 6     what the muzzle shot sounds like and that shot was

 7     definitely suppressed.             So I would say I do know.

 8             Q.      Okay.     Let's go -- if you have the exhibits

 9     in front of you, Agent Sorenson, I think you're

10     talking about -- if you would go to document 9.1,

11     page four of 44.

12             A.      It will take a second to find it, sir.      I

13     have a digital copy so it may not correspond

14     directly to exactly what you asked me.             Let me

15     describe what I think it is and tell me if I'm

16     looking at the right thing, okay?             Make sure we're

17     on the same page at least.

18                     All right.     So page four of 44, I'm looking

19     at an individual holding a rifle with the

20     suppressor affixed to it as well as my coworker's

21     license plate.

22             Q.      Okay.     Let's start with the license plate.

23     You see it says Subaru of Melbourne?

24 l           A.      I do see that.

25             Q.      Okay.     And I take it you know that Airman


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 125 of 198

                                                                      125



 1     Justice is from Melbourne, Florida?

 2             A.      I do know that.

 3             Q.      Okay.     And although it's a Colorado plate,

 4     you can see that on the bottom the

 5     www.subaruofmelbourne, that actually is the

 6     dealership in Melbourne, Florida?

 7             A.      Okay.

 8             Q.      Well, I mean, I take it you say it

 9     coincidentally or happens to be someone else in the

10     office of OSI?

11             A.      It is a special agent's license plate, yes,

12     sir.

13             Q.      Okay.     And in terms of the characterization

14     you've drawn, there actually is a different link in

15     terms of why Airman Justice might be interested in

16     just taking a photograph of coincidentally a

17     license plate from Colorado that just happens to be

18     from his hometown.             Would you at least admit that

19     that's an alternative and probably more likely

20     scenario?

21             A.      So this is taken in OSI's parking lot.

22     We've never interviewed Airman Justice before.             I'm

23     not sure what his reason for coming into our

24 l parking lot just to take a picture of a license

25     plate from his hometown would be, so I would say


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 126 of 198

                                                                          126



 1     that would be a little bit odd, but, sure, I'm

 2     guessing -- I guess it's possible.

 3             Q.      Okay.       Can you tell -- it's actually

 4     taken -- this photograph is taken through a

 5     windshield.               He's driving.    Again, it doesn't

 6     necessarily mean it was taken in the OSI lot, does

 7     it?

 8             A.      Well, this particular picture, you can

 9     see -- in the top left-hand corner you can see

10     right through that car, and you can see that

11     there's a tree as well as a street sign.                 Those

12     match within our parking lot.

13             Q.      The street -- I don't see a street sign.

14     What are you talking about?

15             A.      You should see -- you should see the post

16     with the rod with the holes in it right in front of

17     the tree.

18             Q.      We don't have -- I'm looking at -- it's

19     actually at page four of 44 and then page five of

20     44, and it's just a --

21                     THE COURT:       I see what he's talking about up

22     here in the top left through the windshield.

23                     MR. GORENCE:       Okay.

24 l           Q.      Let me ask you, this particular individual,

25     I don't need his name, he's actually never had a


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 127 of 198

                                                                       127



 1     threat in any way, correct, directed at him by

 2     Airman Justice?

 3             A.      It's actually a female, sir, and, no, she's

 4     never met him before.

 5             Q.      Okay.     And there's be no attempted contact

 6     at any time?

 7             A.      To my knowledge, no.

 8             Q.      Okay.     I'm just saying, in terms of this

 9     being threatening in some way, I take it she

10     doesn't have anything to do with this entire case,

11     does she, the investigation of Airman Justice?

12             A.      She is a big part of this case.     She

13     interviewed his spouse.             She helped us in the

14     search of his residence.             She's done records

15     reviews with me.            She's been involved in many ways

16     throughout this case.

17             Q.      Do you know when this photograph was taken?

18     Did it predate all of that or can you tell one way

19     or the other?

20             A.      It was taken on October 21st of 2019.

21             Q.      Okay.     So it greatly predates any of the --

22     the commencement of your investigation?

23             A.      Well, I'm not sure that gives me any peace.

24 l Even the fact that it's us, I mean, it's still

25     intermingled with all the anti-law enforcement and


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 128 of 198

                                                                       128



 1     anti-government, and if there's anybody on the Air

 2     Force base that is a figure of law enforcement and

 3     the government, that would be the Office of Special

 4     Investigations.

 5             Q.      Okay.     But my question is the photograph was

 6     taken before there was any idea of the commencement

 7     of an investigation against Airman Justice,

 8     correct?

 9             A.      Well, yes, sir, because we hadn't caught

10     (inaudible) yet.

11             Q.      Well, had you received the Homeland

12     Security, the HSI lead at that point?

13             A.      No, sir.

14             Q.      And in fact, we'll get into the documents.

15     These muzzle extensions were ordered in December of

16     2019, correct?

17             A.      The muzzle extensions?     I'm not exactly sure

18     what you're referring to.

19             Q.      Well, what you call the two silencers were

20     purchased for $42 on a site called Wish.com, right?

21             A.      Yes, there was three different ordered, yes.

22             Q.      Well, there were two, and you're saying

23     there was -- let me get back to the photograph.                 I

24 l want to stay on that before I jump off.               So page

25     four of 44, that's actually Tech Sergeant McGahau,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 129 of 198

                                                                          129



 1     is it not?

 2             A.      I think that might be, sir.

 3             Q.      What was the name you said before?        It was a

 4     different name.             You didn't have the name right.

 5             A.      Right, it was Taboada.

 6             Q.      Well, it's not Taboada.       It's McGahau.

 7     Would you agree with that, you were wrong?

 8                     THE COURT:     Well, wait a minute.     He was

 9     testifying about --

10             A.      Actually --

11                     THE COURT:     Hold on, Mr. Sorenson.     When he

12     was testifying about the prior person's name who he

13     couldn't recall, he was talking about a YouTube

14     video.

15             Q.      I think that was slightly different from

16     this, this being recorded.               But he said the shooter

17     is a tech sergeant and he gave a different --

18                     THE COURT:     Well, but you haven't

19     established this is a photo of the video, the

20     YouTube video.

21                     MR. GORENCE:     Okay.

22             Q.      If you have page four of 44, let me start,

23     do you remember testifying about this earlier?

24 l           A.      Yes, sir.     I think I understand the question

25     you're asking.            So the video that was made --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 130 of 198

                                                                         130



 1             Q.      I'm not asking the video.       I want to start

 2     with the photograph.               Do you recognize the

 3     photograph?

 4             A.      I do recognize the photograph.

 5             Q.      Okay.       And you're saying this came from

 6     Airman Justice's phone, right?

 7             A.      Yes, sir.

 8             Q.      Okay.       Who is the person who is depicted in

 9     the photograph?

10             A.      That appears to be Sergeant McGahau.

11             Q.      Okay.       And have you interviewed Sergeant

12     McGahau?

13             A.      No.       So he had been sent PPS to Langley Air

14     Force Base, Virginia, and due to the travel

15     restrictions of this virus, we are unable to go

16     interview him at this time.

17             Q.      Well, have you tried to call him

18     telephonically?

19             A.      It's just an agency policy of ours to do

20     interviews either over Face Time or in person when

21     possible, and at this point he's a pretty key

22     witness so I'm trying to wait to do an in-person

23     interview.

24 l           Q.      Okay.       So maybe I misunderstood you, but I

25     thought you indicated that this person said that


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 131 of 198

                                                                       131



 1     this particular device operated as a sound

 2     suppressor when he fired it.             Are you retracting

 3     that?

 4                     THE COURT:     He didn't say that.

 5                     MR. STANFORD:     Objection.   He's not

 6     retracting anything.

 7                     THE COURT:     He did not testify to that.

 8             Q.      Okay.     Well, maybe I'm -- okay.   Great.     You

 9     said someone indicated that -- I thought it was on

10     this photograph -- that it operated as a sound

11     suppression device.             If I'm wrong, please clarify.

12             A.      Yeah, so I said I've done multiple witness

13     interviews of people who have shot with him.              I've

14     interviewed the airman twice and I've interviewed

15     Tech Sergeant Taboada, both of which told me that

16     he had a sound suppressor affixed to his rifle, and

17     that is what Airman Justice referred to it as, and

18     that they fired it and that it did suppress the

19     muzzle report of the rifle.

20                     Now, even in this photo that you're showing

21     me, that is Sergeant McGahau, or however you say

22     his name, but there are other people present during

23     that and multiple people had held and fired that

24 l rifle.            And Tech Sergeant Taboada was one of them

25     depicted in the video which I referenced earlier.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 132 of 198

                                                                        132



 1             Q.      Okay.     Thank you.   Actually, on the picture,

 2     you can actually look in the right-hand corner, it

 3     looks like someone is taking a video of that.                 You

 4     can see kind of a hand with it looks like a phone.

 5     Do you see that?

 6             A.      I can see a hand with a phone.      Whether he's

 7     making a video, I don't know.

 8             Q.      Well, you didn't find a video of this on

 9     Airman Justice's phone, did you?

10             A.      That's correct, sir.      We found video on

11     YouTube.db.

12             Q.      Okay.     And you've given how it was

13     hashtagged, but you don't have any evidence --

14     given that there were multiple people there, you

15     don't have the idea that this was posted by -- I

16     mean, you don't have any fact actually, other than

17     it was somebody that posted it with his name, that

18     he was the one that posted it, do you?

19             A.      I suppose the user, the YouTube user tab was

20     C. Justice 2016.             Now, whether or not someone else

21     that has the same friends and the same guns that he

22     has and posted it and their user ID is his last

23     name and first initial, then I suppose it could be

24 l somebody else.

25             Q.      Well, how many people were there shooting


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 133 of 198

                                                                       133



 1     the gun?

 2             A.      I don't know how many people were shooting

 3     the gun, but there were probably five or six people

 4     there.

 5             Q.      Now, you indicated that HSI said that there

 6     was -- and this is important -- the sear pin, the

 7     idea of a device that can transform a firearm to

 8     fully automatic, and you indicated that this was

 9     part of your initial lead from HSI?

10             A.      That was part of a shipment manifest which

11     they relayed the contents of that to us.

12             Q.      Okay.

13             A.      That was one of the items that was shipped

14     to Airman Justice.

15             Q.      Okay.     Well, are there documents that

16     actually reflect that?             Are you in possession of

17     those with the idea that there was a sear pin

18     ordered and shipped?

19             A.      So I think we briefly discussed this

20     earlier, but Homeland Security wants to protect

21     their database and the way that they see this from

22     people for their own confidential reasons.             So, for

23     that purpose, they were not able to provide us a

24 l copy, but they did verbally tell us what was on

25     that manifest.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 134 of 198

                                                                   134



 1             Q.      Well, in this case there's allegations that

 2     he possessed a sear pin, and yet you know that one

 3     was not found at his residence, correct?

 4             A.      That's correct, we didn't find one at his

 5     residence.

 6             Q.      And residence, car or anywhere else, a sear

 7     pin was never found?

 8             A.      That's correct.

 9             Q.      And no one who you've interviewed,

10     particularly these shooting buddies of his, also in

11     the Air Force, no one has ever said he had a fully

12     automatic weapon that was being fired at a range in

13     any way.            They never saw it, correct?

14             A.      That's not correct, sir.    So I did interview

15     a witness who said he did suspect that Airman

16     Justice may have an automatic weapon and he bases

17     that on the fact that he was a military member for

18     several years and had fired automatic weapons

19     before and said it nearly matched the (inaudible)

20     rate of a generally understood automatic firearm.

21             Q.      Okay.     Who's that?

22             A.      That would be Tech Sergeant Taboada.

23             Q.      Taboada?

24 l           A.      That's correct.

25             Q.      How do you spell that?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 135 of 198

                                                                      135



 1             A.      T-A-B-O-A-D-A.

 2             Q.      Now, Airman Justice has access to and is

 3     entrusted with fully automatic weapons in his

 4     normal job duties and responsibilities, correct?

 5             A.      He is no longer, sir.     He's been essentially

 6     removed from that and placed working in the chapel.

 7             Q.      I understand that, but what I'm getting at

 8     is prior to that -- which obviously happened when

 9     he was arrested.            But prior to February 19th, for

10     as long as he was in the 377th security section, he

11     had access and used fully automatic weapons in his

12     job, did he not?

13             A.      He was never in armory, sir, if you want to

14     get signed out for daily use, but he would not be

15     able to just have general access at any given time.

16             Q.      Okay.     But he trains on them and is

17     certified with fully automatic weapons?

18             A.      I believe he is.

19             Q.      Okay.     After Colonel Watson -- Carlson,

20     excuse me, Colonel Carlson released Airman Justice,

21     you know he didn't attempt to flee in any way, did

22     he?

23             A.      Well, that -- that's true, sir.     He remains

24 l on the installation.

25             Q.      Right, and he worked every day as required


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 136 of 198

                                                                        136



 1     with the job he was tasked with, right?

 2             A.      From what I understand.

 3             Q.      And he didn't engage in any acts of

 4     violence, correct?

 5             A.      Not to my knowledge.

 6             Q.      Okay.     And just generally with regard to

 7     what was found at the house, there was, you said,

 8     no sear pin.              There's no photograph of a sear pin

 9     on his -- or a fully automatic weapon on his phone

10     in any way, right?

11             A.      That's incorrect, sir.      There's multiple

12     pictures of how to modify firearms to fully

13     automatic on his phone.

14             Q.      I understand those, and you can get those on

15     Google.           Those are schematics.     I'm asking for the

16     hardware.             And again, there's pictures of a coat

17     hanger, but you know those are just screen shots

18     off of Google, are they not?

19             A.      So, during the search of his residence, he

20     had a vice that looks exactly like the one in the

21     photo that that auto sear is placed on.

22             Q.      I didn't hear.      He had a what?

23             A.      A vice.

24 l                   MR. GORENCE:      What did he say?

25                     MR. STANFORD:      He said vice.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 137 of 198

                                                                      137



 1             A.      It's a piece of hardware that you hold stuff

 2     in place while you work.

 3             Q.      Okay.     You're talking about in his garage

 4     there's sort of a quasi workbench?

 5             A.      There is a workbench and it has the same

 6     vice that's in the photo attached to it.

 7             Q.      And you're saying within the vice there is a

 8     device that would function as an auto sear?

 9             A.      Directly on top of the vice there is a

10     device that would make an AR-15 rifle fully

11     automatic.

12             Q.      Okay.     I just want to understand.   So this

13     is something that was actually found within his

14     garage on top of that vice?

15             A.      No, sir, we did not actually find it.

16             Q.      Okay.     You're saying it's a photograph?

17             A.      It's a photograph saved to his phone, that's

18     correct.

19                     MR. GORENCE:     Do you have that?

20                     (Discussion off the record.)

21             Q.      Just for the record, you don't have to go

22     through and show me what photograph.             I take it

23     it's in the -- it's one of the 44 images in what

24 l has been attached as Government's Exhibit A, and in

25     our break I want you to show me because I don't


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 138 of 198

                                                                          138



 1     know which one that is.

 2                     I want to talk for a second about you said

 3     the other materials that were found in his

 4     residence.                You said there was -- you said several

 5     helmets.            Is that what you said?

 6             A.      Yeah, there were armored helmets.

 7             Q.      Okay.       And he's issued an armored helmet as

 8     part of his job duties and responsibilities, is he

 9     not?

10             A.      That's true.        He's issued one, but there

11     were three separate ones.

12             Q.      Okay.       And have you checked with his

13     supervisor as to his ability to have had three or

14     are you saying he stole them?

15             A.      I have checked with his supervisor and he

16     doesn't have an amount of three, so we actually

17     have his document that shows everything he was

18     issued which he signed for and there's only one

19     helmet on that checklist.                So how he obtained the

20     other three is yet to be determined, but it wasn't

21     issued by the Air Force.

22             Q.      Okay.       Now, the gas mask, he's also issued a

23     gas mask, is he not?

24 l           A.      At home station, sir, generally airmen

25     aren't issued gas masks, and if they are, they're


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 139 of 198

                                                                      139



 1     issued one.

 2             Q.      Okay.

 3             A.      There were two gas masks stored next to his

 4     gun locker in his house.

 5             Q.      Okay.     But he is not an ordinary airman with

 6     regard to his 377th job duties and

 7     responsibilities.             I take it you've checked to see

 8     if they're actually issued a gas mask, have you

 9     not?

10             A.      That may be true, sir.     He might be issued a

11     gas mask, but he's not issued two.

12             Q.      So you say one, but how do you know he

13     doesn't have two different types or whatever?

14             A.      So the Air Force only issues one type of gas

15     mask.         They're universal.      We don't have multiple

16     types, and on his list of issued items, there is

17     not a gas mask listed.             There's definitely not two

18     gas masks and we found two during our search.

19             Q.      Okay.     If you go to page nine of 44 --

20             A.      One second, sir.

21                     MR. STANFORD:     I'm using the docket, Your

22     Honor.          I thought we were using the docket.

23                     MR. GORENCE:     It's document 9-1.   We've been

24 l using number 44.              This would be within the motion

25     to detain Exhibit A, and it's page nine of 44.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 140 of 198

                                                                     140



 1             A.      I'm on the page, sir.

 2             Q.      Okay.     You see there's a picture.   It says

 3     "New year, new me"?

 4             A.      I do see that picture.

 5             Q.      Okay.     And this came from, as you've

 6     indicated, Airman Justice's phone?

 7             A.      That's correct.

 8             Q.      And that's a gas mask, right?

 9             A.      It is.

10             Q.      And this tag you can see that this was

11     actually -- on this photograph it's got a tag.              It

12     was sent to Airman Maron, Kaley Maron, and you know

13     who she is, do you not?

14             A.      I do.

15             Q.      Okay.     And so this was actually Airman

16     Justice taking a picture of himself in his own gas

17     mask and sending it to one of the work colleagues

18     who ultimately just moved to Dover Air Force Base,

19     right?

20             A.      That's what it appears to be.

21             Q.      Okay.     So this doesn't look like -- I mean,

22     the idea that it's a terrorist, it's Airman Justice

23     in his own government-issued gas mask sending it to

24 l a friend, you know, and he put a tag line, "New

25     year, new me."             Nothing nefarious about that in any


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 141 of 198

                                                                          141



 1     way, is it?

 2             A.      So I'm unfamiliar with the tag you're

 3     representing, sir.               I don't see a tag on this

 4     image.

 5             Q.      I don't.      But I'm saying on the phone

 6     extraction it shows that he sent it to her, doesn't

 7     it?

 8             A.      No.       The phone extraction did not show that,

 9     sir.

10             Q.      Okay.       So this is the photograph.     You

11     haven't seen where it was sent to?

12             A.      No, sir.      The photograph was just saved to

13     his saved photos on his phone.

14                     MR. STANFORD:       Your Honor, we never

15     indicated that that photograph depicted terrorism.

16     We didn't mention it in any way in our motion, and

17     no one has testified that this depicts terrorism.

18                     MR. GORENCE:       We're going to go through

19     every photograph, Your Honor.                 It's very extensive.

20                     THE COURT:       Well, let's hurry up and do it.

21     It's 2:15 so let's go through -- if we're going

22     through every one of them, let's go through every

23     one them.

24 l                   MR. GORENCE:       We will.    Okay.   Your Honor,

25     but I just want to know, in terms of there was


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 142 of 198

                                                                       142



 1     testimony about 200 pieces of headsets, was it --

 2     excuse me, 166 headsets.             Do you recall that?

 3             A.      Yes, sir, I do.

 4             Q.      I take it you've determined that those

 5     headsets were discarded government property?

 6             A.      I've determined that they are sent to the

 7     government redistribution center.             They were not

 8     discarded.

 9             Q.      Okay.     And how did you -- what does that

10     mean, they were sent to some redistribution center?

11     What's that?

12             A.      So there is a security forces warehouse in

13     the security support squadron which takes in all

14     old and used equipment, and they give it to a

15     redistribution office which is the acronym DRMO,

16     which is the Defense Redistribution Management

17     Office, and they take that equipment and they

18     redistribute it across the government to anyone who

19     may be able to use it.             And if they do not use it,

20     then they wholesale it unless it is deemed unfit

21     for use.            Then it is destroyed.

22             Q.      Okay.     You indicated that Airman Justice has

23     a new job duty with regard to, in essence,

24 l maintenance on base.               He has that job as long as

25     this procedure is -- or I should say this


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 143 of 198

                                                                           143



 1     proceeding as well as the OMI proceeding is

 2     unfolding, correct?

 3             A.      You said OMI proceeding.         I'm not --

 4             Q.      I'm sorry, OSI.         I've got another murder

 5     case.         It's next week.          It's often I get confused,

 6     I'm sorry.                OSI.   The point is I just want the

 7     judge to know that while the OMI proceeding is

 8     still underway, as well as this criminal

 9     proceeding, Airman Justice has that job on base,

10     does he not?

11             A.      He does have a job with the chapel on base.

12             Q.      Okay.        Similarly, while both these

13     proceedings are unfolding, he and his wife are

14     allowed to live on base as he has previously and

15     since Colonel Carlson released him.                 They are

16     allowed to live on base, right?

17             A.      Yes, sir, they would be allowed to live on

18     base.

19             Q.      Okay.        Now, if Judge Khalsa were to release

20     Airman Justice under the conditions of Colonel --

21                     MR. GORENCE:         I need to write this down.

22             Q.      -- Carlson or even modified that to include

23     an ankle bracelet so that he could not leave the

24 l base, would you agree that the risk of flight would

25     be heavily curtailed?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 144 of 198

                                                                     144



 1             A.      So what I would say, sir, is Colonel Carlson

 2     was unaware of all the manufacturing methods for

 3     IEDs, as well as the checklist for him to be able

 4     to flee during that hearing, as well as anything

 5     that was found on the phone because we had not yet

 6     received the warrant to search the phone at the

 7     time of that hearing, so Colonel Carlson couldn't

 8     consider anything that was found on the phone

 9     during that hearing.

10                     But what I would say is that, if he were

11     released to the base with an ankle bracelet, I do

12     not believe that would prevent him from fleeing

13     because there would be nothing that would keep him

14     from base or keep him from leaving the base.

15             Q.      Okay.     Well, he doesn't have access to

16     weapons at that point given his new job status,

17     right?

18             A.      He doesn't have access to government-issued

19     weapons.

20             Q.      Well, I'm saying if he's living on the base

21     and can't leave and can't get access to

22     government-issued weapons, the risk of obtaining

23     one is -- well, it's not going to happen on the

24 l base.           You can agree with that?

25             A.      So, when you're saying weapon, that's kind


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 145 of 198

                                                                       145



 1     of vague.             Are you specifically referring to

 2     firearms, sir?

 3             Q.      Well, yes.     I guess there's a kitchen knife

 4     in the kitchen, but I'm saying a firearm or

 5     explosive, he can't do that given his current job

 6     status while he's on the base?

 7             A.      So I would disagree with that, sir.       There

 8     are weapons in other people's houses.             There's

 9     friends that he has weapons with.             There's weapons

10     inside the base exchange which his spouse would not

11     be prevented from purchasing a weapon there.                So I

12     wouldn't say it would be impossible for him to

13     obtain a firearm on base.

14             Q.      Well, you know she lives on base with a man,

15     a child that's going to be one later this month.

16     You know that?

17             A.      I do know that.

18             Q.      And you know that she doesn't have any

19     criminal history and has been cooperating fully in

20     this investigation.             Two questions, but she doesn't

21     have a criminal history of any kind, right?

22             A.      So it's not OSI policy to review criminal

23     history of witnesses, sir, so I haven't reviewed

24 l her history.

25             Q.      With regard to the -- if you looked at -- I


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 146 of 198

                                                                       146



 1     want to go to -- okay.             Pages -- I think it starts

 2     at page 27 of 44.

 3             A.      Okay.     Give me one second, sir.     Forgive me,

 4     it's taking a second for the digital document to

 5     load the pages.

 6                     All right.     I'm on page 27 of 44.

 7             Q.      Okay.     Now, this document -- you can see,

 8     this is what you're talking about is chemical

 9     formulas that have to do with theoretically making

10     an explosive.             Not theoretically.   It's kind of

11     information about that, correct?

12             A.      So these are two of the approximate 42 that

13     were saved to his phone.             These are actually two

14     that were reviewed by an FBI explosives expert who

15     opined that these methods would actually work in

16     creating explosives.

17             Q.      Okay.     And these are actually screen shots,

18     are they not?

19             A.      Yeah, right, they're screen shots of the

20     three (inaudible) with the photo icon.

21             Q.      And you're saying these screen shots

22     actually existed on Mr. Justice's phone?

23             A.      That's correct, sir.     So, during my search,

24 l I opened his photos.               There was an album that was

25     listed all gun stuff, so naturally I started my


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 147 of 198

                                                                          147



 1     search there.               I opened that folder, and the first

 2     approximate 42 photos was these IED manufacturing

 3     methods.

 4             Q.      Okay.       Well, I don't know about IED.      They

 5     just talked about -- it doesn't say anything about

 6     an IED in here anywhere, does it?

 7             A.      So these MTCs and TATP and Molotov

 8     cocktails, sir, are used by terrorist groups all

 9     around the world to make IEDs, so I think it's a

10     fair assessment to say that they're manufacturing

11     methods for making and IED.

12             Q.      Okay.       What I'm talking about as an IED is

13     an improvised explosive device.                But what we're

14     talking about is just chemicals for the energetic

15     material, right?

16             A.      Right.        This is the method with which to

17     make the explosives, the primary explosive for an

18     IED.         That would be correct, sir.

19             Q.      Let me go -- so you're saying that he didn't

20     create this, but you're saying that there's

21     information to believe that he took a screen shot

22     of someone else's post?                Do I have that right?

23             A.      There's not information, sir.        The photos

24 l were, in fact, saved to his phone so it's

25     knowledge.                They were saved to his phone, so --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 148 of 198

                                                                         148



 1             Q.      Okay.     Here's the one I want.     If you would

 2     go to page 30 of 44, and I'm going to want to go

 3     from that series on out.                Start at 30 -- I see.     Go

 4     to page 30, would you?             And it ends at --

 5             A.      I am on page 30 right now.

 6             Q.      Okay.     Now, in this case, on the image on

 7     the left, this Instagram shot is different than the

 8     one on the right with regard to --

 9                     (Discussion off the record.)

10             Q.      Okay.     Let me go to 38.     That's the one I

11     wanted.

12             A.      38?

13             Q.      Yes.

14             A.      Okay.

15             Q.      Now, this Instagram -- again, I'm not -- if

16     you look at it, it says "Your Story"?

17             A.      I'm sorry, I'm trying to get the page.          The

18     document images, it's taking a second for my laptop

19     to load the images.             Okay.     I'm on page 30 now or

20     38, sir, yes.

21             Q.      Okay.     And, again, I'm trying to relate this

22     as Mr. Justice is telling me, where it says "Your

23     Story," that is not his profile, Airman Justice's

24 l profile in any way, is it?

25             A.      No, sir.    The Free Rope Rides is just one of


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 149 of 198

                                                                      149



 1     the groups that he follows.

 2             Q.      Yeah, I'm talking about the top left, when

 3     it's got an Instagram.              Someone has got this as an

 4     Instagram and they're following this, their

 5     profile, and it's not Airman Justice's profile on

 6     Instagram in any way because it doesn't have --

 7     it's not his picture.

 8             A.      Oh, okay.     What I can tell you, sir, is

 9     we've gone to his Facebook page.              We go inside the

10     Instagram account --

11             Q.      Yes.

12             A.      -- and Airman Justice does indeed follow

13     this page.

14             Q.      You're saying you've gone -- maybe it's not

15     all the detail.             So you've gone back to his

16     Facebook and you've seen that he actually threads

17     through this Rope Rides Free?

18             A.      So not his Facebook, sir.       We've gone on to

19     Instagram with an OSI account and gone to this

20     page, and Airman Justice is listed as one of the

21     followers of this page.

22             Q.      Okay.     Gotcha.   Okay.   If you go back to --

23     I just want to go through these pictures quickly.

24 l The judge has kind of admonished me to do that

25     anyway.           So if you would go back to page one --


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 150 of 198

                                                                             150



 1             A.      Page one?

 2             Q.      Yes.

 3             A.      Okay.       I am on page one.

 4                     THE COURT:        You're talking about page one of

 5     the motion or --

 6                     MR. GORENCE:        The page one of 44, Your

 7     Honor.

 8                     THE COURT:        Oh, the photos.

 9             A.      Oh, page one of 44.         I'm on page one of the

10     document.             All right.     Page one of 44.

11                     THE COURT:        One of 44 is just the thing

12     that -- it just says photo album --

13                     MR. GORENCE:        Okay.

14                     THE COURT:        -- by Sorenson, Nathaniel, MSA,

15     USAF, AFOSI.

16             Q.      All right.        We've already talked about page

17     two.         Page three -- I take it you compiled the

18     photographs that you thought were significant in

19     this case?                Is that it, Agent Sorenson?

20             A.      That is correct, sir.

21             Q.      Okay.       I just want to go through it.      So

22     page three, it's got a picture of the truck.                   You

23     see that in the left-hand side with weapons?

24 l           A.      Yes, sir.

25             Q.      Yeah.       And this is actually Airman Maron.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 151 of 198

                                                                        151



 1     We talked about her before.

 2             A.      That's correct.

 3             Q.      Have you interviewed her?

 4             A.      So she -- similar, sir, she's at Dover Air

 5     Force Base.               So what's being done is the captain at

 6     Dover Air Force Base is going to conduct the

 7     interview on our behalf, being that we can't travel

 8     there because of the travel restrictions.

 9             Q.      Okay.       Well, at least in this, she's

10     participating in what looks like a shooting

11     activity with Airman Justice.               There's nothing --

12     there's no weapon in this truck that is prohibited

13     in any way, is there?

14             A.      There is a firearm silencer in the truck,

15     sir.

16             Q.      Okay.       You're saying the same device that we

17     talked about before on the .22?

18             A.      Yes, sir.

19             Q.      Okay.       So I just want to go through.   Other

20     than that, there's nothing you would say is

21     incriminating in this photograph?

22             A.      Nothing else that I can see, sir.

23             Q.      Okay.       Number -- down on the right it says,

24 l "In a free society you can own both."                 Obviously,

25     some people believe in marijuana legalization, and


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 152 of 198

                                                                       152



 1     the top is just the Second Amendment.              Maybe it's

 2     fully operational.             I don't know.   But there's

 3     nothing about that that indicates that someone is a

 4     terrorist, does it?

 5             A.      Well, I think what the photo insinuates,

 6     sir, is that, quote, unquote, in a free society you

 7     can smoke marijuana and own a submachine gun.

 8             Q.      Well, you can definitely smoke -- I mean,

 9     that's a national debate.             Nothing about the

10     marijuana that you thought that's constituting

11     anything illegal, is there?             It's a political

12     debate.

13             A.      Right.     So I don't think that my opinion on

14     marijuana is truly relevant to how I described the

15     photo.          I just described the photo as what it said,

16     sir.

17             Q.      Okay.     I'm just trying to get -- these have

18     been characterized as anti-government, anti-law

19     enforcement or promoting some sort of violent

20     behavior.             Do you think this depicts that?

21             A.      I don't think that this photo in general is

22     anti-government, anti-law enforcement or violent in

23     nature.           I just think that what it is is, because

24 l it was based here in Airman Justice's phone, Airman

25     Justice's view of a free society, he believes that


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 153 of 198

                                                                          153



 1     machine guns and marijuana should be owned by the

 2     public, is kind of how I'm taking this.

 3             Q.      And that's legitimate political debate.

 4     You'd agree with that, right?

 5             A.      I suppose it could be.

 6             Q.      Okay.       I think we've gone over four and

 7     five.         Actually, five and six have a picture,

 8     that's just a tailpipe.                It's actually a tailpipe.

 9     I guess it collects oil in some way, oil catcher on

10     the back of a tailpipe?

11             A.      Yeah, I'm unfamiliar, sir.        I've never seen

12     anybody put a pipe on the end of their tailpipe to

13     catch oil.                I mean, I actually think it would trap

14     your exhaust gasses and that would cause your

15     engine to not run.                It wouldn't have anywhere to

16     go.       It's odd.

17             Q.      Okay.       Well, do you know what this is?      It's

18     put in here to support detention, so I kind of want

19     to get a record of it.                So do you even know what

20     this depicts one way or the other?

21             A.      The red cylinder with the brown substance in

22     the bomb bottom of it?

23             Q.      Yeah.

24 l           A.      I don't know what that is, sir.

25             Q.      Well, if you don't even know what it is, why


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 154 of 198

                                                                       154



 1     would you collect it as if it's something

 2     incriminating?             I just want to know, you know, what

 3     is it?

 4             A.      I suspected it to be a possible explosive

 5     substance being that there was other videos and

 6     photos on his phone about how to manufacture these,

 7     so I think for that purpose.

 8             Q.      Okay.     And that's a wild guess and you have

 9     nothing to back that up, right?

10             A.      The 42 other images as well as the three

11     videos explaining how to make explosive material is

12     what I base that off of, sir.

13             Q.      Okay.     On the right of page six, this is

14     again a screen shot of what is widely disseminated

15     on the internet?

16             A.      Right.     That's a screen shot of a device

17     that would make an AR-15 fully automatic.

18             Q.      And if you look at page seven, the same

19     thing?          It's the same thing, screen shots off the

20     internet, measurements that really go to the figure

21     on the right side of six as well as supposedly

22     clips that would work that way, as well, right?

23             A.      Right.     So these are kind of -- regardless

24 l of where they were retrieved from, whether it be

25     the internet or otherwise, specifications on how to


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 155 of 198

                                                                        155



 1     create a device that would make an AR-15 fully

 2     automatic.

 3             Q.      Okay.       But anybody -- the point is that

 4     these are -- they're not illegal to look at,

 5     possess, trade or have on your phone in any way

 6     because they're on the internet, they're widely

 7     disseminated and the government hasn't seen fit to

 8     classify them in any way, right?

 9             A.      I suppose that could be true.

10             Q.      I don't want you to suppose.        You know that

11     to be true, right?               This is public information.

12             A.      The documents are, sir.       I guess what I was

13     confused about was your speculation about the

14     government's need to regulate them or something of

15     that nature, so that's why I answered in that

16     fashion.

17             Q.      Well, I mean, the law is the law.        But

18     you're not saying it's remotely illegal or actually

19     it's one's First Amendment right to look and screen

20     shot anything that's publicly available.                It's not

21     classified or contraband.               These images are not

22     contraband.               You'll agree with that?

23             A.      That's true, sir.

24 l           Q.      And the same when you go to page eight, more

25     schematics with regard to -- these are, again, off


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 156 of 198

                                                                         156



 1     of some website on a Lightning Link.                These are

 2     publicly available documents for anybody to look as

 3     of right -- as an American under their First

 4     Amendment, right?

 5             A.      Yes, sir.

 6             Q.      The same with page nine.        We've talked about

 7     that schematic.               It's the same concept.     And we've

 8     talked about this picture of a gas mask, and you

 9     don't know actually who took it or how it exists,

10     but nothing about those, again, a publicly

11     available document and a picture of an individual

12     in a gas mask who has access to a gas mask, right?

13             A.      I'm not sure I understand what you're asking

14     me, sir.

15             Q.      Okay.       Well, I'll take -- I'll break it

16     down.         On page nine on the left-hand side, this

17     basically follows the Lightning Link site with

18     regard to publicly available information regarding

19     firearms.             That's what that is.

20             A.      Okay.

21             Q.      Well, no, you're the one who collected it.

22     Do you know what it is?                I'm asking you.    You make

23     it sound like I know.

24 l           A.      Well, no, sir.        You haven't asked me

25     questions.                You told me what something was, so, I'm


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 157 of 198

                                                                          157



 1     sorry, I didn't hear --

 2             Q.      Well, it's called leading and I thought I

 3     did it with intonation.                But I'll break it down.

 4     Do you recognize what is on the left-hand side of

 5     page nine?

 6             A.      Yes, that's a photo that was on Airman

 7     Justice's cell phone.

 8             Q.      Right.     And that photo is a photo that's

 9     been -- it's been -- what do you call it -- it's a

10     screen shot that goes along with what was on page

11     eight, the Lightning Link screen shot, correct?

12             A.      Right.

13             Q.      Okay.     And again, publicly available

14     information that every American has a right to read

15     and possess under their First Amendment, right?

16             A.      Yes, sir.     That's true.

17             Q.      Okay.     We've already talked about the

18     right-hand side of page nine.                Okay.   Page ten, if

19     you'd go to that.

20             A.      Okay.     I'm there.

21             Q.      Okay.     The left-hand side has some sort of

22     meme about if you don't like the way things work in

23     America?

24 l           A.      That's correct.

25             Q.      You collected this.        Is there something


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 158 of 198

                                                                     158



 1     about this that would make someone violent or a

 2     terrorist or is this basically political

 3     expression?

 4             A.      So, based upon the picture that I'm reading,

 5     sir, "Then move to Somalia, vote Carter," and then

 6     there's the blue path which the little person in

 7     the photo is walking on, "Teach doubt in authority,

 8     engage in black markets, hide income, disobey,

 9     resist, mock, delegitimize the system," I would say

10     that's not an opinion.            Those would be acts to

11     either hide money from taxes, to disobey the law,

12     to resist the law, to mock and delegitimize it and

13     to teach others to doubt the authority, so I would

14     say it's a little more than a stance in politics.

15             Q.      Well, it doesn't say anything illegal.      One

16     can -- take each one of those statements.             You can

17     engage in a black market.            That's not necessarily

18     illegal.            You can hide income.   It doesn't say

19     engage in tax fraud.            You can disobey in this

20     country, can't you?

21             A.      I'm sure you can.

22             Q.      You can resist and you can mock and you can

23     delegitimize the system.            It sounds like a current

24 l political campaign to me, at least one that I can

25     identify.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 159 of 198

                                                                       159



 1                     THE COURT:     Right.   Why don't -- let's try

 2     to keep commentary to a minimum.

 3                     MR. GORENCE:     Yes, sorry, Your Honor.

 4             Q.      This doesn't constitute a talisman or let me

 5     say a beam to the future that someone is going to

 6     be engaged in violent criminal behavior, does it,

 7     or are you able to opine that if they have this on

 8     their phone they're going to engage in terrorism?

 9             A.      I would say this in and of itself, sir, does

10     not constitute that somebody is a terrorist.

11             Q.      Okay.     On the right-hand side, what does

12     that show, the schematic?

13             A.      That would be a Lightning Link for a device

14     which makes an AR-15 fully automatic.

15             Q.      Okay.     Again, this is a screen shot of

16     something that's publicly available to any

17     American, right?

18                     THE COURT:     Well, that's mischaracterizing

19     this.         This appears to be a screen shot of an

20     Instagram.

21                     MR. GORENCE:     Oh, I thought he said it was

22     the link again that we talked about before.

23             Q.      Anything classified in this?

24 l           A.      I don't believe so.

25             Q.      Okay.     Page 11, you have these in terms


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 160 of 198

                                                                         160



 1     of -- I just want to go through.               The left is a

 2     picture.            "When you think you ran over a dog but

 3     it's just a politician," and it looks like someone

 4     is unhappy.               That's fair political comment, isn't

 5     it?

 6             A.      I suppose that is a stance, but to me it

 7     looks like the individual in the picture is Robert

 8     Downey, Jr., and he's like happy it's a politician

 9     and not a dog, so that's how I view this picture.

10             Q.      Okay.       But would you agree it's fair

11     political comment, not an indication that someone

12     is going to engage --               because that's what we're

13     here about.               The government is alleging this is a

14     potential domestic terrorist.               So would you agree

15     that is political comment?

16             A.      I don't think it's a comment, sir.          I think

17     it's, at best, a not very good joke.

18             Q.      Okay.       Well, let's just leave it as a joke.

19     It has nothing to do with someone being indicative

20     of future violent conduct, does it?

21                     THE COURT:       We're going to be here all day

22     if we go through each one and ask those same

23     questions of each photograph.               So why don't we do

24 l this a different way.                 Why don't you ask him if

25     there are any photographs taken alone that are


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 161 of 198

                                                                       161



 1     significant in and of themselves.

 2                     MR. GORENCE:     Okay.

 3                     THE COURT:     Because clearly the testimony

 4     has been it's the combination of circumstances that

 5     have caused the conclusions to be drawn by the

 6     various law enforcement agents that have testified.

 7                     MR. GORENCE:     Yes, Your Honor, and I'm

 8     saying it's part of the record and I get to go over

 9     it.

10             Q.      Let me go back because they kind of are

11     interspersed.             I do see and I'll acknowledge one is

12     racist, one and only one, but let me ask you, which

13     of these items that you collected in the 44 pages,

14     most of them have two images, which ones of those

15     would you consider would constitute an image that

16     you said was anti-government, anti-law enforcement

17     or -- what was the other one -- or racist or

18     indicative of future criminal behavior.             Tell me

19     which one.

20             A.      If you wouldn't mind giving me a minute to

21     look through them so that I could appropriately

22     guide you.

23                     MR. GORENCE:     While we're doing that, Your

24 l Honor, could we take a five-minute break?               I need

25     to use the restroom.             We've been at it for two


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 162 of 198

                                                                        162



 1     hours.

 2                     THE COURT:      We can take a break, but I'm

 3     going to put an end to some of these individualized

 4     questions pretty soon because we're not going to go

 5     past 5:00.

 6                     MR. GORENCE:      No, I understand, Your Honor.

 7                     THE COURT:      A lot of this is becoming

 8     unnecessary.              The Court can read what these say and

 9     what they don't say, and I don't need -- and I

10     have, in fact, read everything.              So we'll take a

11     five-minute break.

12                     (A recess was held.)

13                     THE COURT:      Sorenson, are you on the phone?

14                     THE WITNESS:      Yes, I am, Your Honor.

15                     THE COURT:      All right.   We're back on the

16     record.           Mr. Gorence, you may proceed.

17             Q.      (By Mr. Gorence)      I think you heard the

18     Court, Agent Sorenson, that instead of going

19     through one by one, why don't you tell me which

20     ones you found significant with regard to your

21     opinions that are either anti-government, racist,

22     anti-law enforcement or that would show that he's a

23     danger or a flight risk.              And I understand the

24 l Christchurch -- let me just -- that manifesto,

25     that's online, as well, correct?


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 163 of 198

                                                                       163



 1             A.      I'm unfamiliar with the one you're speaking

 2     of.       He had a couple of different ones.

 3             Q.      Okay.     And those photographs are also

 4     online.           Those are snapshots of things that are out

 5     there?

 6             A.      I imagine so, yeah.

 7             Q.      Okay.     You don't have any information off

 8     the phone that he's actually sent these to anyone

 9     or communicated with anyone to engage in other

10     criminal activity of a concerted action --

11     concerted nature?             You haven't seen anything like

12     that, have you?

13             A.      Actually, I have, yes.

14             Q.      Okay.     Tell me about that.   What have you

15     done?         Explain that.

16             A.      Sure.     So he had text messages between him

17     and a team member about their plan for their

18     standoff with law enforcement if it ever came to

19     that, so I would say he has talked to other people

20     about this.

21             Q.      Okay.     So you're saying -- and I see Z.S.

22     was actually referred to in the criminal complaint.

23     He's a fellow airman in the 377th, correct?

24 l           A.      That's true.

25             Q.      And you're saying -- and again, these -- you


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 164 of 198

                                                                           164



 1     called them -- the information on his phone, you

 2     called it a bug-out.                That has to do with basically

 3     a pandemic or some sort of, you know, idea that you

 4     have to take care of your family.                That's what

 5     those are, aren't they?

 6             A.      I'm not familiar -- I'm not too sure about

 7     that, sir.                I think it's a general plan.    It says

 8     the point is SHTF, which is stuff hits the fan, or

 9     some other profane term to say it.                So I think it's

10     left up to Airman Justice's interpretation of what

11     stuff hitting the fan means, and if that means

12     possibly spending many years in federal prison

13     because of his allegations, that might very well

14     constitute that, and he has established a checklist

15     to be able to bug out quickly if need be.

16             Q.      Now, this checklist -- and I don't see it

17     in -- it's not copied in your list of 44 images, 44

18     pages, right?

19             A.      Right, because it's not -- it wasn't a

20     photograph, sir.               It was in his notes app,

21     something he made himself.

22             Q.      You're saying there are handwritten notes?

23             A.      No, there's a notes app on the Samsung

24 l phone.

25             Q.      Oh, notes on the phone, okay.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 165 of 198

                                                                         165



 1                     THE COURT:     All right.     Hold on one second.

 2                     MR. STANFORD:     We would, of course, provide

 3     that in discovery if it comes to that.                Again, this

 4     doesn't hinge on this today.                He's viewed it

 5     personally himself.             He's looked at these things on

 6     his own.

 7                     MR. GORENCE:     I'm not asking for -- I want

 8     to understand what it is.

 9             Q.      Okay.     There are notes on the phone and they

10     have to do with dealing with some sort of a crisis

11     when S hits the fan.             Is that what it is?

12             A.      I think that's accurate, sir, yeah.

13             Q.      Okay.     It doesn't say escape after a violent

14     incident, does it?             It's just general survivalist

15     literature?

16             A.      Right.     That's a little oddly specific, but

17     it is general in terms of stuff hitting the fan.

18     There's also in the notepad sort of an unofficial

19     will and testament, kind of what to do after --

20     when and if he passed away, which is a little odd

21     for a 27-year-old to have in a note app on his

22     phone instead of a real living will.                But those

23     were both in the note application of his phone.

24 l           Q.      Was that shared with his wife, they wanted

25     some sort of codification after they had a child in


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 166 of 198

                                                                       166



 1     terms of -- there was nothing in there other than a

 2     regular will, right, all to mom and the child?

 3             A.      So I'm unsure of who he shared it with, sir.

 4     I know it was in the note application of his phone.

 5             Q.      Okay.     Is it a normal will?   He doesn't

 6     say -- there's no suicide note, no martyr note, no

 7     manifesto of any kind about upcoming criminal

 8     activity, right?

 9             A.      It's just a document written apparently by

10     him about things he would like to have happen if he

11     were to pass away.

12             Q.      Okay.     Is there anything in there about this

13     is going to be after a violent terrorist death?

14             A.      That's not specifically mentioned.

15             Q.      Okay.     It looked like a normal will, all to

16     his wife and all to his child?

17             A.      It doesn't look like a normal will being

18     that it's in the note application of a cell phone.

19             Q.      Okay.     Well, I understand maybe if you're

20     recording it in some way and getting it notarized,

21     but I'm saying does the content look like a normal

22     will?

23             A.      More or less.

24 l           Q.      Okay.     Now, the Court's question is why

25     don't you just point out -- I won't go through one


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 167 of 198

                                                                     167



 1     by one, but point out whatever is in there that you

 2     think is supportive of your opinions that they are,

 3     as I said, anti-government, anti-law enforcement,

 4     racist, anything else.

 5             A.      So I wouldn't have (inaudible) this document

 6     that he didn't believe in the totality of all of it

 7     kind of combined, that it didn't show that in

 8     general, but if you're asking me to point out

 9     specific ones that I think stand out above the

10     rest, then I'll start on page 23 of 44.

11                     This shows two memes, as you called it,

12     which the first one reads, "How black people gonna

13     tell white people they can't say the N word?

14     That's our word.             No, it's literally our word.   We

15     invented it specifically to call you it."

16             Q.      I agree, that's racist.

17             A.      The next image over on the same page says,

18     "When your Muslim neighbor keeps waking you up in

19     the middle of the night beating his wife," and then

20     you see an image.             It has an AR-15 in the

21     background and a hand holding the white paint pen

22     which will correlate to the other images where he

23     has the names of Arian generals and mass shooters

24 l written in white paint pen on an AR-15.

25             Q.      Okay.     Next.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 168 of 198

                                                                        168



 1             A.      Would be page 29 of 44 where it's a little

 2     bit blurred out because it's a thumbnail image.

 3     "The oddities of the Christchurch shooting."               Like

 4     I was asked earlier how I got the active shooter

 5     training.             One of the traits of future active

 6     shooters is to study previous active shooters to

 7     see where they went wrong and things that this next

 8     one can improve upon by learning from the others

 9     mistakes.

10             Q.      This is on page 19, did you say?

11                     THE COURT:     29.

12             A.      29.

13             Q.      I misheard him.      Sorry.   Now, that was --

14     it's hard to read on my copy, but this is a screen

15     shot?

16             A.      Yes, it appears to be a screen shot of the

17     Christchurch shooting oddities and then a list of

18     things that were odd about that shooting.

19             Q.      Okay.

20             A.      And what I can tell you is on Airman

21     Justice's actual cell phone these words are

22     readable.             When I saved it to this document, for

23     some reason the thumbnail image is stretched out

24 l and makes it quite blurry and hard to read.

25                     But the next one would be on page 44, the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 169 of 198

                                                                          169



 1     last page.                And on that page, the two images there,

 2     the one on the left says, "How dare you talk about

 3     cops like that?               My brother died in the line of

 4     duty," and then you see an image, and the response

 5     selected is, "You're a little bitch and your

 6     brother was, too."                So obviously calling law

 7     enforcement officers profane language and making a

 8     joke about their death and the loss of a loved one

 9     in the line of duty.

10                     And then the image on the right is two

11     individuals and says, "My family claiming how sweet

12     I am," and then shaking hands, "me knowing I'm on a

13     few watch lists and will be labeled a domestic

14     terrorist soon."

15             Q.      Now, this was -- who is the guy on the

16     right?          He's a comedian, isn't he?        I don't even

17     know who that is.

18             A.      Yes, I believe he is a comedian and actor.

19             Q.      Okay.       So this is somebody else and this is

20     a screen shot of just what's kind of a joke?

21             A.      I believe you could think it's a joke, but

22     it's also specific.

23             Q.      Hold on one second.        The photographs from

24 l the house, I want to -- I'm going to finish on

25     this.         The majority of the firearms were locked in


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 170 of 198

                                                                          170



 1     the safe that was shown, correct, all but five?

 2             A.      I believe that's correct, sir.

 3             Q.      Okay.     Because they were taken out.     And

 4     then there was two holstered handguns.                They were

 5     holstered and secured, placed high up on a cabinet

 6     on a ground floor.             Correct?

 7             A.      That is incorrect.        So they were holstered.

 8     They were not -- they were not placed high up.

 9     They were placed about 15 inches off the ground on

10     a shelf.

11             Q.      Okay.     On a shelf.     The point being they

12     were on the ground floor close to the front door.

13     And then there was a handgun found in the bedroom

14     upstairs, in a dresser, correct?

15             A.      There was two handguns found upstairs, sir.

16             Q.      Okay.     And they were in a nightstand or

17     dresser or where?

18             A.      I believe they were both in the nightstand

19     on each side of the master bed.

20             Q.      Okay.     And then the other was the rifle that

21     was in the car in the back seat and that was on the

22     street, correct?

23             A.      There was one other in the house, sir.           So

24 l there was an AR-15 with a loaded magazine rested up

25     against his master bedroom wall facing the window,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 171 of 198

                                                                      171



 1     if you will.              And that window overlooks the avenues

 2     of approach to his house as well as it looks

 3     directly at a school that's approximately 350 feet

 4     away.

 5                     And then the last one that was outside of

 6     the space was in his vehicle, and that's the one

 7     that was parked in the national security area with

 8     the (inaudible).

 9             Q.      Now, that gun was unloaded, the one in the

10     vehicle, correct?

11             A.      It had a bunch of ammo affixed to the side

12     of it, and it's a break action weapon.              It was

13     folded but all that had to happen was to grab one

14     of the pieces of ammo off the side of it, put it in

15     the chamber and then close the breach and then it

16     would have been loaded.

17             Q.      Okay.     So it was -- ammunition was close at

18     hand.         But you know the definition.       It wasn't

19     loaded because it wasn't in the chamber or in the

20     magazine.             You know that.   That's the definition of

21     a loaded firearm.             So we can agree that it was

22     unloaded with ammunition nearby?

23             A.      There was ammunition affixed to the weapon.

24 l           Q.      Okay.     And when you say the AR-15, again,

25     that was lawfully possessed and it wasn't fully


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 172 of 198

                                                                          172



 1     automatic, right?

 2             A.      It was lawfully purchased but possession at

 3     his on-base residence, no.             He had not obtained the

 4     authorization to be able to store those there.

 5             Q.      Okay.     We're going to talk on that last, but

 6     that weapon had a magazine but it wasn't loaded

 7     with any cartridges either in the receiver nor in

 8     the magazine, right?

 9             A.      There was ammo in the magazine, sir.         The

10     chamber was empty, but there was ammo in the

11     magazine.

12             Q.      Oh, okay.     One second.   Now, finally, this

13     question about the regs are very different with

14     regard to a private residence and dormitories,

15     right?          You called the regulations nebulous?

16             A.      I don't remember calling them nebulous, sir,

17     but they're not that different.             There's really

18     maybe a slight difference in the fact that in a

19     dormitory you are mandated to store your weapons in

20     the armory, but in an on-base residence you are

21     only required to obtain the permission to store

22     your weapons in your house.             And if you don't

23     obtain that from the base command, then you are

24 l required to store them in the armory.                So it's

25     really not that much different.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 173 of 198

                                                                          173



 1             Q.      And I'm just asking.        You're saying it's

 2     widely known.               It's not on the lease agreement, so

 3     I'm wondering where is that communicated because he

 4     has these accessed.                So tell me where that

 5     regulation, if it exists, how is it communicated to

 6     an airman who is leasing a duplex on the base?

 7             A.      Sure.       So the regulation does exist, sir.

 8     It's not necessarily if it exists.                It's definitely

 9     a fact, and it's ordered by the 377th air base wing

10     commander.                And with airmen in process installation

11     they go to what's called a newcomers' briefing, and

12     in that newcomers' briefing you are -- there's an

13     individual who will brief you on the processes of

14     storing your personal firearms on base.

15                     And the people that give that briefing on

16     that process are also the security forces member,

17     so Airman Justice's colleagues.                So people in his

18     same status with the same knowledge and training

19     that he has provide the briefing to others so that

20     they know what they need to store their weapons on

21     base.

22                     So Airman Justice not only would have known

23     but he would have possibly had the responsibility

24 l to teach others the same thing.                  So it's definitely

25     briefed more than once, and also squadron


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 174 of 198

                                                                       174



 1     commanders are given monthly briefings where

 2     they're supposed to send out either through e-mail

 3     or to do what's called a call, so they'll bring all

 4     their members in and give them monthly briefings on

 5     certain things.             And that's one of the dockets that

 6     we will go to them every now and again to insure

 7     that their members are staying within the rights or

 8     staying within the regulations as established on

 9     base.

10                     MR. GORENCE:     I have no further questions,

11     Your Honor.

12                     THE COURT:     Okay.   Any redirect?

13                     MR. STANFORD:     Yes, brief.

14                     REDIRECT EXAMINATION BY MR. STANFORD

15             Q.      Agent Sorenson, could Airman Justice make

16     and auto sear using a coat hanger?

17             A.      He could.

18             Q.      Did he, in fact, have schematics for that?

19             A.      He did.

20             Q.      Given all the firearms and ammunition and

21     the preparation checklist he made, do you think

22     it's possible Airman Justice has stashed other

23     firearms or weapons either around his residence or

24 l off base?

25                     MR. GORENCE:     Your Honor, that's clearly


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                                                                      175



 1     speculation in terms of could have.              They've had a

 2     lot of time to investigate any other access, so, I

 3     mean, anybody could have done anything, but there's

 4     really no basis for that and it's rank speculation.

 5                     THE COURT:     Why don't you ask him if there's

 6     any evidence that points to whether he has done

 7     that or not.

 8                     MR. STANFORD:     That's okay.   I'll withdraw

 9     it.       I don't think there is any evidence that he

10     has stashed anything.

11             Q.      But you're hearing the question, Agent

12     Sorenson.             Do you have any reason to suspect that

13     he's got other weapons stashed anywhere?

14             A.      The one thing that's raising suspicion for

15     us is that in his garage he had multiple keys to

16     Master locks and to other things that didn't

17     correlate with a lock at his house.              So we suspect

18     that he may have a storage unit.             We've checked all

19     the logical ways that we have to figure that out

20     and haven't been able to identify anything yet.

21                     But based on the fact that he had all these

22     keys with no locks to match them makes me think

23     there's possibility something locked elsewhere that

24 l he has the key to, so that's something that we're

25     still trying to figure out.


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                                                                         176



 1             Q.      Okay.       Can I get you to look at one more

 2     photograph.               It's page 15 of 44 on Exhibit A.

 3             A.      Yes, sir.       Give me one second.     Okay.

 4             Q.      Can you give me your assessment of that

 5     picture in light of Mr. Gorence's question, his

 6     request that you name the pictures that you found

 7     disturbing or threatening to government or police

 8     or others?

 9             A.      Yes, sir.       So there's two pictures here.

10     Would you like me to explain both or one or the

11     other?

12             Q.      Sure, both would be fine.

13             A.      Okay.       The one on the left, what they appear

14     to be doing it an (inaudible).

15                     THE COURT:       What page are we talking about?

16     I'm sorry?

17                     MR. STANFORD:       15 of 44 on Exhibit A, Your

18     Honor.

19             Q.      Just a second, Special Agent.          Let the judge

20     turn to that page.

21                     THE COURT:       Okay.    I have it.

22             Q.      Okay.       We're good.

23             A.      Okay.       So the top of the picture on the left

24 l is apparently a (inaudible) machine milling out the

25     receiver of an AR-15, and next to it the caption


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 177 of 198

                                                                         177



 1     says, "What I appear to be doing."               The lower image

 2     is "What I'm actually doing," and this is a

 3     military tactic called the L-shaped ambush, and

 4     what this is is to outflank the enemy, potentially

 5     box them into the firing position so that you can

 6     overwhelm them and win the fire fight.               So I'm not

 7     sure what the correlation between those two images

 8     is, but that's the description of that.

 9                     The image on the right, it appears to be

10     like a round table, maybe it's a mockery of the

11     Knights of the Round Table or something of that

12     nature, and it says, "Hey, police," and it has all

13     these different groups, whether it be dog owners or

14     (inaudible) or hippies.               It's just a list of a

15     bunch of different types of groups all sitting

16     around the round table hating the cops.               So that

17     was my interpretation of those images, sir.

18             Q.      Okay, thank you.

19                     MR. STANFORD:     Your Honor, I have no further

20     questions of Agent Sorenson.               Can we cut him loose?

21                     THE COURT:     Yes.    I presume -- yes.

22                     MR. STANFORD:     Thank you, Agent Sorenson,

23     very much.

24 l                   THE WITNESS:     Of course, sir.

25                     THE COURT:     Do you need us to call back the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 178 of 198

                                                                         178



 1     agent who you were cross-examining?

 2                     MR. GORENCE:     No, Your Honor.

 3                     THE COURT:     Okay.     And is there any other

 4     witness for the government?

 5                     MR. STANFORD:     No, Your Honor.

 6                     THE COURT:     Is there any other witness or

 7     any witness for the defense even referenced?

 8                     MR. GORENCE:     Could I have one second?

 9                     THE COURT:     Yes.

10                     (Discussion off the record.)

11                     MR. GORENCE:     Your Honor, my client would

12     like to testify, and I need to get -- I thought we

13     went over all this stuff and I need -- I need a

14     couple of minutes in private with him before I

15     can -- again, it's his choice, but I have not fully

16     counseled him on that yet.

17                     THE COURT:     Yes, we will definitely give you

18     the opportunity to do that --

19                     MR. GORENCE:     Okay.

20                     THE COURT:     -- because that's a significant

21     decision if he's going to make that choice.

22                     MR. GORENCE:     Yeah, I need to explain that

23     in greater detail as far as cross-examination.

24 l                   THE COURT:     Okay.     Why don't we -- so the

25     options are that everybody else can clear the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 179 of 198

                                                                        179



 1     courtroom except the marshals and --

 2                     MR. GORENCE:     The marshals, again, that's

 3     fine.

 4                     THE COURT:     So we'll clear the courtroom,

 5     and then if you could just let us know when to come

 6     back.         And then is Mr. Justice planning to -- does

 7     he want me to appoint him free counsel?

 8                     MR. GORENCE:     He does, Your Honor.    I was

 9     retained by Mr. Justice --

10                     THE COURT:     Right.

11                     MR. GORENCE:     -- only on a very limited --

12     they don't have the resources for what this type of

13     case would entail with investigators and experts,

14     and I explained that.             They wanted somebody

15     immediately and that's all the family could afford.

16                     THE COURT:     Okay.    Well, I've reviewed this

17     financial affidavit.             Sir, it appears that you

18     qualify for free counsel, and so I will -- based on

19     the request that I'm hearing from Mr. Gorence, I'll

20     appoint an attorney to represent you free of

21     charge.           That attorney will be appointed to your

22     case probably tomorrow.

23                     THE DEFENDANT:     Thank you, Your Honor.

24 l                   THE COURT:     And then, certainly, if

25     circumstances change and you find that you have the


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 180 of 198

                                                                       180



 1     resources to appoint counsel, if that comes about,

 2     you certainly have the freedom to appoint -- or to

 3     hire an attorney at any point in time.              All right.

 4     So we will take this recess.

 5                     (A recess was held.)

 6                     THE COURT:     Okay.   We're back on the record.

 7                     MR. GORENCE:     Mr. Justice will not testify.

 8     Do you want arguments or a proffer, which I'd like

 9     to do very briefly?

10                     THE COURT:     Sure.   Do you want to make

11     argument?

12                     MR. GORENCE:     I'll follow Mr. Stanford.

13                     MR. STANFORD:     Yeah, I just have some brief

14     remarks, Your Honor.             Can you hear me okay?

15                     THE COURT:     I can hear you.   Carla, is the

16     recording picking it up?

17                     COURT CLERK:     I believe so.

18                     THE COURT:     Why don't you -- why don't you

19     just sit.

20                     MR. STANFORD:     Your Honor, the evidence

21     adduced here today has demonstrated that the

22     defendant had plans to make silencers and kits to

23     convert his pistol into a machine gun and then he

24 l ordered those items.               He had a plan and acted on it

25     by attempting to import them.              He also reviewed


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 181 of 198

                                                                         181



 1     instructions for making homemade explosives, and we

 2     don't know what steps he may have taken in regards

 3     to acting on those plans.

 4                     The fact that he didn't flee after being

 5     released by the Air Force prior to trial is not

 6     impressive for a couple of reasons.             Number one,

 7     he's shown a habit of preparing and planning.               I

 8     think it's unlikely -- I think he's clever, and I

 9     think it's unlikely that he would just randomly try

10     to flee.            I think he was waiting for the most

11     advantageous time to act.

12                     The other reason it's not impressive is

13     because the Air Force, when they reviewed his

14     detention, they didn't know that all this stuff was

15     on his phone.             That hearing occurred absent all of

16     these things.             And so I believe that he thought he

17     had not been detected for that stuff, and so it's

18     possible that the motivation was not as intense as

19     it may be now.

20                     We know he ordered 30 other silencers and

21     other gun parts.            He had almost 7,000 rounds of

22     ammunition, body armor that he wasn't supposed to

23     have and some other government-issued equipment

24 l that he wasn't supposed to have.

25                     Without spending any time, you know,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 182 of 198

                                                                        182



 1     belaboring the obvious, what was on his phone was

 2     very disturbing.              What comes to mind, Your Honor,

 3     is the growing number of cities that have seen

 4     active shooter events are all asking themselves the

 5     same question constantly, how did we miss this,

 6     what could we have noticed better, what didn't we

 7     know that we should have known?               Well, in this

 8     case, we don't know for sure what his plans were,

 9     but we sure know that what he had was very

10     disturbing.               And I would submit to the Court that

11     it's possible that we have interrupted a very

12     dangerous event from occurring.               And the United

13     States' position is that Mr. Justice should remain

14     detained so that we can maintain safety from

15     whatever plan he may have been considering.

16                     THE COURT:       All right.   Mr. Gorence.

17                     MR. GORENCE:       Your Honor, this is atypical.

18     You have someone in the end, he's really charged

19     with safeguarding nuclear weapons and he's done

20     that five years without a problem.                What he wanted

21     to testify -- and, again, I'll just proffer -- he

22     has never shoplifted in his life.                He comes from a

23     very -- I met his mother now, extensively talked to

24 l both of his parents and his wife -- very

25     conservative, very religious, and it has imbued


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 183 of 198

                                                                        183



 1     certain characteristics on Mr. Justice in terms of

 2     being profoundly pro-United States, pro-law

 3     enforcement, and we'll touch on that in a second,

 4     and which caused him to enlist in the Air Force.

 5     He was an excellent student.               Started then college

 6     right afterwards but felt called to go into the

 7     military.

 8                     The incident with the beret, and you can see

 9     there's an explanation from his standpoint why that

10     made him more action-ready, and again a difference

11     in terms of what he really thought his mission was

12     24/7.

13                     The shoplifting is really disturbing because

14     he was with two colleagues and someone put it in

15     his bag and wanted to do this as a gag, which is

16     why he wasn't prosecuted, but the other officer

17     would have been in trouble for this, quote, gag.

18     He's never stolen -- again, you can look at his

19     background.               I mean, it's just atypical that all of

20     a sudden you're in the military and you're going to

21     go to a place and steal $300 worth of ammunition

22     and he's with his friends.

23                     Because his hobby is guns.       He shoots all

24 l the time.               It's 3,000 rounds in the affidavit.    The

25     agent misspoke, and it was too long to get into it,


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 184 of 198

                                                                      184



 1     but there's 3,000.          The vast majority are .22 if

 2     you look at them,22 because that's actually the

 3     cheapest thing you can shoot by far if you get into

 4     shooting, compared to very expensive rounds.             And

 5     the vast majority of those guns are .22s because he

 6     likes to go out and shoot.

 7                     And, again, I don't do that myself.     I know

 8     something about firearms, but I don't engage in

 9     that as a hobby, but it's really the only thing on

10     his salary to go out and shoot, and it's not

11     atypical to keep them -- you can see that plastic

12     tub.        That's the most.    The other ones are all in

13     boxes.          Most of those are shotgun shells.     Some of

14     them are rifles, a couple of them are .232, but

15     they're all in the cabinet pictures.

16                     But anyway, getting back to someone who has

17     never engaged in criminal conduct, and what we

18     really get to and would like to express and with

19     his job performance evaluations that we don't have,

20     but I'm going to proffer, with the exception of the

21     one year where he got just dinged over a practical

22     joke that he didn't want to get his friend in

23     trouble, that's the only blemish he's ever had in

24 l his entire life.

25                     We get to this and we'll talk about -- maybe


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 185 of 198

                                                                            185



 1     they'll be silencers.                Maybe they're not.    They're

 2     sold as barrel extensions.                That's the website that

 3     they were.                And, yes, they have an appearance that

 4     makes them look different, and I will tell you

 5     there's nothing to be hidden by it in the

 6     slightest.                He uses his own name.    He says these

 7     are cheap kind of interesting apparatus.                  They're

 8     not kits in terms of kits to build your own.                  He

 9     doesn't have that.                There are three, two that he'd

10     ordered, one that he'd had for a long time and

11     ordered that on a website and used that only on a

12     .22 rifle.

13                     And, Your Honor, the situation -- and I want

14     to talk -- because the one really disturbing thing

15     is that he says he ordered -- and those three are

16     in his name and receipts and all of that.                  He has

17     never ordered a kit that would make something fully

18     automatic.                I know there's testimony.    We haven't

19     seen the documents.                It wasn't part of what was

20     charged by Sorenson on the base.                  He doesn't have

21     one.        There's no picture of one.            And that will be

22     disputed because, again, if someone really had a

23     machine gun part or it looks like you're shooting

24 l one and it's unauthorized, it carries very

25     different penalties, whereas silencers came within


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 186 of 198

                                                                     186



 1     eight votes of passing -- and, again, Mr.

 2     Stanford -- I had a silencer case with Judge

 3     (inaudible) -- I tried that with Mr. Bowles

 4     actually for three weeks in Las Cruces a couple of

 5     years ago -- with a person who had been in the

 6     military who wanted them because they're really

 7     with regard to hearing.           That's the biggest reason.

 8     And there was a push for a law to make most

 9     silencers not illegal because there is a whole

10     different aspect to target shooting, hunting, where

11     you don't want to have the sound of the gun.           There

12     are legitimate reasons.

13                     There are also is to make guns look cool,

14     but again, be that as it may, the issue in this

15     case and what the government is arguing is that we

16     have a want-to-be terrorist, and yet Mr. Justice is

17     the most rigid, law enforcement related person --

18     and I'll get into this, where he actually does have

19     training in guarding nuclear weapons, is what he

20     wanted to say, where they have many active shooting

21     drills.           Not someone who comes on to Kirtland Air

22     Force Base, but the idea that there is a shooter

23     with regard to some proximity of what he's supposed

24 l to guard with such obvious zeal given the

25     importance of the weapons systems at stake.           But


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 187 of 198

                                                                       187



 1     they train, and in the context of that he has

 2     looked at multiple cases of what people have done.

 3                     And the real issue in this case, I would

 4     say -- it's like that movie where you're trying to

 5     divine or go in through some sort of MRI or brain

 6     scan what someone's future intent is, and all I

 7     would say is, when you look at all of these things,

 8     a couple of them are racist being passed around by

 9     cops.         I don't know if he's a racist but he's not a

10     felon.          He certainly has a political point of view,

11     I believe, but again most of those are like that.

12                     The chemical stuff is all what is online.

13     There's not one shred of ever going to a place to

14     buy one aspect of that.             There's not one iota of

15     information that he's coordinating with someone to

16     actually obtain machine guns or to do something of

17     violence.             There's not -- if someone has got an

18     interest in following what other people in criminal

19     activity in large part so he can insure, if this

20     happens at my Air Force facility, that he takes

21     some -- from what I've heard, I don't have them

22     yet, but his performance appraisals are --

23     actually, he has undue zeal.             And maybe if there's

24 l something in these things it's about this undue

25     zeal.


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 188 of 198

                                                                         188



 1                     But again, if you look at things online,

 2     some of them are screen shotted, there's just not

 3     one thing that takes that into what I would say is

 4     a conspiracy in terms of what you're looking at and

 5     place that in terms of a concrete objective to make

 6     it happen.                Buy something -- the silencers, I get

 7     the silencers, but I dispute the sear pin.                But

 8     there's not one thing that takes us outside the

 9     recreational shooting that he does all the time.

10     It's his hobby with everybody else that are all

11     military people, as well.

12                     Again, I don't know if all these other

13     people are going to get in trouble for firing the

14     silencer because they possessed at the same time,

15     but that's really what's happening.                Maybe there's

16     going to be a lot of careers derailed as a result

17     of this silencer.               But no one has machines guns

18     that they're not supposed to have.                No one is

19     stockpiling weapons of mass destruction in any way.

20     It's really just looking at stuff.

21                     Finally, the weapons in the house, secured,

22     and, yes, he is a firm believer in the Second

23     Amendment.                He'll tell you that on this idea that

24 l it was well known, he said everybody has weapons

25     and he said I didn't know I had to register them in


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 189 of 198

                                                                     189



 1     some way.             When he started before he was married --

 2     because he got married -- he started here single,

 3     lived in the dormitory as a result.             He had

 4     weapons, and he goes, yes, I had to store them in

 5     the armory that was in the basement of each one of

 6     those dormitories and they were always stored that

 7     way.        Once I got the house, never told, never said

 8     anything because I had the same -- I acquired new

 9     weapons.            But he had multiple weapons beforehand.

10     And this will all come out at trial, but now I'm

11     just proffering, and I think part of the reason

12     that the colonel found that he's not a danger of

13     flight risk and the reality is, if someone was a

14     terrorist and they had the opportunity to leave --

15     and he did on the 25th when he was released -- they

16     would have taken off.

17                     He's got substantial ties with a brand new

18     baby.         His wife is here, family.      He's got one

19     sister in Florida, as well.             I mean, he's got

20     really substantial ties.             No ties to any terrorist

21     organization and he's never done one thing in

22     furtherance of what they're really talking about

23     other than having an interest and putting things on

24 l his phone.

25                     Again, it would be so different, I would


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                                                                       190



 1     suggest, if there was some ISIS-related

 2     communication, some white nationalist group

 3     membership, all these things -- if he's in

 4     Charlottesville.             If he had been marching in

 5     Charlottesville, took R&R to go there, we'd have a

 6     different situation, and, again, because that's

 7     not -- we could call it political because it

 8     wasn't.           It was violent.

 9                     THE COURT:     We have testimony that the

10     Instagram page that he was getting a lot of these

11     instructions on how to make IEDs was a page that's

12     known to be white nationalist.              I think I heard

13     that.         We have a manifesto of a shooter.       We have a

14     photograph or two of magazines with the names of

15     other shooters, other murderers who have engaged in

16     this type of behavior.              And so when you say there

17     was no step that was taken, I'm not sure that any

18     of those people killed anyone prior to the day that

19     they committed their active shooting, but they did

20     stockpile weapons.             They did study other people,

21     other active shooters' writings.

22                     MR. GORENCE:     His job involves preparing

23     against shooters.             That's all I'm saying, Your

24 l Honor.            There is a very distinct difference

25     between -- and again, not that I'm an expert, but,


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                                                                    191



 1     well, the individual in Christchurch who videotapes

 2     that live and creates documents about what he's

 3     going to do beforehand and has -- -- from that

 4     website, if you look at it, he basically said he

 5     was going to go over and do this and bought fully

 6     automatic weapons and all of his Instagram account

 7     all but said this was going to happen.

 8                     We don't have that here other than someone

 9     who has an interest, and one could say it's a

10     job-related interest because he is -- and again,

11     we'll get the records but he has -- especially on

12     short notice on this, but he actively trains for

13     shooting incidents.          He has defended against one

14     that was called out while he was on duty on the

15     base.         A call went out with regards to what was

16     believed to be an active shooter.          Turned out not

17     to be, but he trains for, prepares for and actually

18     engaged against on one occasion.          So the idea that

19     there's some deification of anything, I don't see

20     it that way other than this is sourced material.

21                     Tellingly, Your Honor, there's all these

22     guns and magazines.          Are any of them modified in

23     any way so that they have names of these murderers?

24 l That would be the kind of thing -- I mean, does he

25     actually have the paint?          Has he done anything to


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 192 of 198

                                                                          192



 1     his own weapons?

 2                     THE COURT:        Well, the only thing we heard

 3     about was the rifle in his vehicle that had a

 4     silencer on it.

 5                     MR. GORENCE:        Well, that's the one we've

 6     seen with regard to an alleged silencer that he's

 7     had all along.                What I'm saying is, is there any

 8     indication that these are going to be used for

 9     future criminal activity as in let me paint my

10     magazines?                Again, if that was the case or he says

11     I'm going to paint my magazines and he's got these

12     posts to other people -- these are just open

13     websites to people available anywhere, but not

14     one -- I would submit there's not one concrete step

15     taken other than he has and has always had a fair

16     number of firearms which he's lawfully entitled to

17     do.       He's not a felon.

18                     I can see the storage issue, and, as I'm

19     pointing out, he was unaware they had to be

20     registered.               And he said back in 2015 I was well

21     aware of what I had to do at the dormitory, and

22     that's the only briefing he ever got.                He says, if

23     you had a gun, you could not store it in a dorm.

24 l You had to put it down.                  When he got done with

25     that, he said it's his understanding, and he had


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 193 of 198

                                                                         193



 1     the same guns, he didn't have to put them in an

 2     armory.

 3                     And, actually, this idea that you had to

 4     take -- again, at trial, if this comes out we'll

 5     bring his 377th flight commander because he knew

 6     all the time.             I've shot with him.   He knows I have

 7     these guns in the house.             So, again, I don't have

 8     it yet, but this was no secret that he had guns and

 9     he was shooting with all of his Air Force

10     colleagues and they weren't getting the guns out of

11     an armory.

12                     And again, his security classification, one,

13     it is rare for airman to have it, but his has a

14     secret -- and I don't know how they designate it in

15     the Air Force, but it had multiple modifications

16     because of his access to nuclear weapons.                It did

17     require a background check.             It did require

18     whatever the Air Force -- there's a process for it,

19     and it wasn't affected by this alleged shoplifting

20     nor anything else, and I think it's a testament

21     that he has it for five years.

22                     There's no idea that he's now been

23     radicalized on base to do anything.             That's never

24 l what's happened.              So I believe, as I said, that

25     while both of these cases play out, the Article 31


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 194 of 198

                                                                       194



 1     and this case, Your Honor, hard to imagine with an

 2     ankle bracelet, living with his wife and his

 3     daughter on base doing his work, earning a salary

 4     that he's supposed to be making, well, he is making

 5     to support his family which he would continue to

 6     earn while that's happening, with -- there can be

 7     whatever reporting requirements because kind of the

 8     test is what happened after he got charged, not

 9     just with flight but anything else.             A true

10     domestic terrorist is going to do something so that

11     he's not in custody.             And there are, I think, very

12     effective ways on the base to insure that he

13     doesn't leave.             He'll stay on the base and do his

14     job, come back to his wife and child.

15                     Can't leave with an ankle bracelet.      They

16     can post -- there's only several gates.             He's not

17     going to climb over.             He's not going to be taking

18     off, and he clearly wouldn't have access to

19     firearms.             I think that accommodates most danger

20     and flight.

21                     THE COURT:     I have a question about that

22     because one of the exhibits to this motion -- I

23     can't remember what it was, but it was the release

24 l order and the conditions that were set.               One of the

25     conditions was a mental health evaluation and that


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 195 of 198

                                                                       195



 1     Mr. Justice not leave Kirtland Air Force Base until

 2     that investigation had been completed, and I heard

 3     testimony that he went to the airport.             Do you have

 4     anything further about that?

 5                     MR. STANFORD:     That would be in violation of

 6     that order, Your Honor.             And to my knowledge, the

 7     order has not been lifted that he not leave the

 8     base, and, clearly, going to Albuquerque Sunport is

 9     outside the confines of Kirtland Air Force Base.

10                     MR. GORENCE:     Your Honor, I don't know.

11     That was kind of an offhand thing.             He's never been

12     to the airport.             He's never been off base since he

13     was released.             And he did have the mental health

14     report and cleared -- that was done by who?

15                     (Inaudible)

16                     MR. GORENCE:     Commander of mental health at

17     Kirtland, and he passed that, completed that.                And,

18     again, this idea that he was at the airport --

19     again, maybe I guess there's testimony we can do

20     that on a motion to reconsider, but he said he's

21     never left the base and can't leave the base after

22     that.         So I wasn't sure if that was after the

23     release order or before, but this testimony is

24 l coming in now about -- I guess he's heard that from

25     the FBI, and I don't know what the basis was, but


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 196 of 198

                                                                       196



 1     my client did not.             If we have to we'll get those

 2     records and there will be a motion to reconsider if

 3     that's the lynchpin, but he's done everything that

 4     was required and passed that mental health

 5     evaluation, passed that he had no mental health

 6     issues.

 7                     THE COURT:     All right.   Is there anything

 8     further?

 9                     MR. GORENCE:     No, Your Honor.

10                     THE COURT:     All right.   Mr. Justice, come up

11     to the podium, please.

12                     Sir, after considering the factors set forth

13     in 18 United States Code Section 3142(g), the

14     information presented at the detention hearing,

15     this motion to detain pending trial, the pretrial

16     services report, I conclude that you must be

17     detained until your trial in this case because I

18     find by clear and convincing evidence that you're a

19     danger to the community and that no condition or

20     combination of conditions of release will

21     adequately mitigate that dangerousness.

22                     I find that you pose some degree of flight

23     risk.         The weight of the evidence against you in

24 l this case is strong, and you're subject to a

25     lengthy period of incarceration if convicted, and


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     Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 197 of 198

                                                                   197



 1     so there are certainly some circumstances that are

 2     different from the circumstances you were facing

 3     when you were released on the Air Force release

 4     order, but I'm not basing my finding on flight

 5     risk, although I do find that there is some degree

 6     of flight risk.

 7                     All right.     Anything further?

 8                     MR. STANFORD:     No, Your Honor.

 9                     MR. GORENCE:     No, Your Honor.

10                     THE COURT:     We're in recess.

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Case 1:20-cr-01210-JAP Document 24 Filed 05/14/20 Page 198 of 198
